                              feJu
          8:24-cv-00290-SMB-PRSE           Doc # 8    Filed: 09/03/24
                                                     (_,cf1
                                                                                    Page 1 of 153 - Page ID # 160




                           PONACA TRIBAL COURT
          UNITED STATES DISTRICT COURT for the District of Nebraska

          IN THE DISTRICT COURT OF SARPY COUNTY, NEBRASKA

                                                      CASE NUMBER CI 24-1315

                                     FEDERAL CIVIL COMPLAINT 8:24-CV-00290

                                   Tribal court under federal investigation hate crime




                                              1. MOTION TO amendment complaint
                                                  SECTION 3 WHEREFORE, THE
                                                        _,,.----
                                                  PLAINTIFF RESPECTFULLY
                                                  REQUESTS THE FOLLOWING
                                                  RELIEF 29-3001. Postconviction relief;
                                 /:              •motion; limitation; procedure; costs .
                              .l   ·>.-. :. · 2~ ·.M9tion subpoenc1. for production of
                             •• .J::,···: • • :do.~i'nnents frotilall.defendants
                                              .       . .          .


                                                3 ~ Motion to ovenule •dismissal or transfer
                                                    to fedei-al jurisdiction .
                                                      •     ,.             ·•1       .,



,.:·,,•
 . ·;:     -:
                                              . 4~ Motion to arr.est ·warrants
                                             - 5~ Mdtiori
. ?~."·     :
                                                             to subihit' USB drive as exhibit 2
                               ·-.:...        • •• pr66tl1fburt{~d::: .'· ·. •• •          ••
                                   <-:·-
                                    ;.--




                                                                                 .. .-.
                                                                       '    .      . .
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YU KIEL. SOTO-ELLIOTT BY LAW 20-152 WILL NEED JAPANESE/ AMERICAN/ NATIVE
AMERICAN INTERPERT SIGN LAUNGUAE

Sisseton- Wahpeton Oyate Lake reservation ID federal #347_*00017214 enrolled

News reporter ID #84265ELU8536SOT Human Rights federal ID #H63nuwtb/ CERT FEMA #

Plaintiff




Vs.



State of Nebraska in official capacity

County Attorney Office in official capacity

City of Bellevue in official capacity

Bellevue police department in official capacity,

Papillion Police Department in official capacity

Sarpy County Jail in official capacity,

Aimee C Bataillon in official capacity and city of Bellevue law firm office

Bellevue Officer J Haggis in official capacity,

Officer D. Batara in official capacity,

LT Howard Banks in official capacity,

Sargent McDaniel in official capacity,

Auto Body authority towing and impound INC in official capacity

Honda Cars of Bellevue Dealership C/0 Caitlin Staub sales consultant, Stephania Clapper

DEFENDANT
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I YUKIE LOLA NASHAIA SOTO-ELLIOTT am the plaintiff and my mailing address i wish to
provide to the courts is PO Box 641503 Omaha NE 68164 if the judge shall need my
Physical Address i shall only give it to the Judge due to native American protection custody

The Defendants is Nebraska, and their mailing address is last known to be location is and
can be serviced by the FBI, BIA, U.S Marshall, Sheriff's department, Certified mail USPS,
Privet Service.

City of Bellevue in official capacity 1500 wall street Bellevue NE 68005

Bellevue police department in official capacity, 1500 wall street Bellevue NE 68005

Papillion Police Department in official capacity 1210 golden Gate drive #1420 Papillion NE
68046

Sarpy County Jail in official capacity, 21 O golden Gate drive #1420 Papillion NE 68046

Aimee C Bataillon in official capacity and city of Bellevue law firm office , 1500 wall street
Bellevue NE 68005

Bellevue Officer J Haggis in official capacity, 1500 wall street Bellevue NE 68005

Officer D. Bafaro in official capacity, 1500 wall street Bellevue NE 68005

LT Howard Banks in official capacity, 1500 wall street Bellevue NE 68005

Sargent McDaniel in official capacity, 1500 wall street Bellevue NE 68005

Auto Body authority towing and impound INC in official capacity

Honda Dealership




I Declare the Following:



The Jurisdiction with the Ponca Tribal courts, UNITED STATES DISTRICT COURT for the
District ofNebraska,IN THE DISTRICT COURT OF SARPY COUNTY, NEBRASKA is proper
because of the following: The plaintiff is a member of the Sisseton Wahpeton Oyate Lake
Travers Enemy Swim District and lives within the Ponac Serice Are and is with the Program
of the Domestic Violence program out of Omaha Nebraska area the case manager before
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going on about my case i need to have you understand i am disabled and the judicial ADA
laws are there to protect me as well as i know that i do thing backward or different but i
need a interpret for this case please as well as my statement to you your honor please take
the time to read it i am disabled and will need a American sign langue interpret

On MAY 29, 2024, my own council tribe headquarters and all 7 districts voted yes to and
told me to file in this court and determined what happen a HATE Crime on sex, gender, and
disability.

Good day to the judge and jury please understand i am disabled as well as the ADA laws as
self-reprehensive is Gana be backwards so please take the time to yes it may not be word
right or correct how the professional want it to be but however the judicial laws for
disabled people as well protect that discrimination due to this sensitive case matters i do
not have much money due to my disability so there for please take the time to understand i
am just jumping through the loops to comply with the tort claim act law

I come now to the courts thatthis case is notfrivoluse, ill manner, wrong actions or anyway
shape or fomer I have file formal complaints and all defendants refuse to follow all the
laws of the land there for I have and am filing in all three court houses just in case of
jurisdiction problems thus the bodily injury that was caused to the plaintiff is set for surgely
in October as well as the on May 29 2024 at 10am with the Sisseton wapaton oyata i have
filed Tort Claim Act, Cease and desist order letter, FIOA and Made complaints formerly on
the date on December 13th , 2023, January 28th, 2024, February 2024, March 1, 2024, April
30th, 2024, May 2024 the plaintiff started back in 2023 to follow the correct step has given
the defendants all plenty of time in this matters to cease and desist all harassing profiling
actions on her as well as a Nebraska state tort claim attachment as well the defendants all
to this day have failed to comply as well break the laws of city, state, federal laws in this
action this now is to ask the judge to move forward to this action is now passed a notice
and to file a lawsuit against all defendants in their full capacity for their actions.have not
only caused damages but also bodily damages as well as more as the complaint will show
the proof of burned the defendants area aware of a lawsuit at the time is still active and
was served by legal law of subpoena tort on case number in Douglas County Cl 23-9723
thus the defendants kept intimidation the plaintiff to cause her to fear for her life and on
the date in full question did assault and attempted to murder her due to her disability the
city of Bellevue of Nebraska Title VI of the Civil Rights Act of 1964 and related statutes,
which prohibit discrimination on the basis of race, color, national origin or limited English
p rofic ie ncy. LlltP-S_;ilb_pJle'iLIB.Wa.g.o~.d..G.01.:i_e_s..0_1.1._rr~e.s/ ad atit le-vi- re_smJ..[C.B..S_

The defendants also broke the city laws also works to ensure that individuals with
disabilities have equal access and opportunities to our programs and services in
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accordance as well as state of Nebraska law 28-111.Enhanced penalty; enumerated
offenses. Any pe~son who commits one or more of the following criminal offenses against
a person or a person's property because of the person's race, color, religion, ancestry,
national origin, gender, sexual orientation, age, or disability or because of the person's
association with a person of a certain race, color, religion, ancestry, national origin,
gender, sexual orientation, age, or disability shall be punished by the imposition of the next
higher penalty classification than the penalty classification prescribed for the criminal
offense, unless such criminal offense is already punishable as a Class 18 felony or higher
classification: Manslaughter, section 28-305; assault in the first degree, section 28-308;
assault in the second degree, section 28-309; assault in the third degree, section 28-31 0;
terroristic threats, section 28-311.01; stalking, section 28-311.03; kidnapping, section 28-
313; false imprisonment in the first degree, section 28-314; false imprisonment in the
second degree, section 28-315; sexual assault in the first degree, section 28-319; sexual
assault in the second or third degree, section 28-320; sexual assault of a child, sections
 28-319.01 and 28-320.01; arson in the first degree, section 28-502; arson in the second
•degree, section 28-503; arson in the third degree, section 28-504; criminal mischief,
section 28-519; unauthorized application of graffiti, section 28-524; criminal trespass in
the first degree, section 28-520; or criminal trespass in the second degree, section 28-521.
What makes matter worse is the defendants also broke the federal law Bill summary: HB
185 (PN 3501) would amend 18 Pa.C.S. § 2702 (a) to classify any attempt to cause, or
intentionally or knowingly cause, bodily injury to a person on the autism spectrum or with a
physical or intellectual disability as an aggravated assault, graded as a felony of the
second degree and punishable by up to 10 years' incarceration and $25,000 in fines.

The courts and the untied stats of America does not take kind to government corruption
nor dose the courts of any take kind to violation of any civil rights, violation of human rights,
violation of ADA laws the United States president, supreme courts, congress men and
woman, Bar Assocation prohibt such things which the laws says H.R.9029 -Anti-
Corruption and Public Integrity Act as well as FACT SHEET: U.S. Leadership in the Fight
Against Global Corruption

The plaintiff can show not only physical proof of videos and audio recordings but also has
34 witnesses as well as medical doctors to testify, medical records, as the plaintiff has to
have go have surgery with DR Figgy agine to refix the bodily injury assault that the
defendants did or is still allowed and covering up this action.

The defendants also refuse to follow the state law of FOIA Under the Nebraska Public
Records Law§ 84-712 et seq., I am requesting an opportunity to inspect or obtain copies of
 public records that [Describe the records or information sought with enough detail for the
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public agency to respond. Be as specific as your knowledge of the available records will
allow. But it is more important to describe the information you are seeking.



As this date as well, what makes the matters worse the video of that was posted went vi rial
over 33.9 million views and likes as well will show the hate crime action was effective
immediately when the defendants took it upon themselves to refuse interpret and
assaulted the plaintiff the defendants the lied to make a case

18 U.S.C. §249 says, "Whoever willfully causes bodily injury to someone or, through using
a firearm, a firearm, a dangerous weapon, or an explosive or incendiary device, attempts to
cause bodily injury to anyone, because of the actual or perceived race, color, religion, or
national origin of any person, shall be fined and imprisoned for up to ten years or life in
prison if death results or the offense includes kidnapping, aggravated sexual abuse or an
attempt to kill." 18 U.S.C. 249 makes it a felony to commit either of the acts above against
victims based on their actual or perceived association with the following:

Their specific race, color, religion, or national origin in general; OR

Their religion, national origin, gender, sexual orientation, gender identity, or disability IF the
action involves crossing state lines or affects interstate or foreign commerce. This
provision covers hate crimes across state boundaries where individual state laws would
only cover crimes within their respective state WHAT ARE THE RELATED FEDERAL LAWS?

18 U.S. Code Chapter 13 lists the federal statutes dealing with civil rights violations, which
include the following:

18 U.S.C. § 241 -this stature makes it a crime to conspire to injure, suppress, threaten, or
intimidate any person in the United States into being unable to exercise or enjoy their
constitutional rights;18 U.S.C. § 248-this statute prohibits blocking access to
reproductive health services using threats or force, intentionally causing injury or
damaging clinic property.

WHAT ARE THE PENALTIES FOR VIOLATING 16 U.S.C. 249?

The penalties for violating 18 U.S.C. § 249 will depend on the specific circumstances of
each case, but they can be pretty severe. In general, anyone who is convicted of a federal
hate crime under this law can be sentenced to:

Imprisonment for up to 10 years; or

A fine of up to $250,000.
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However, in certain conditions, the maximum sentence for this hate crime may be
extended to life imprisonment. This is the case if the crime involves any of the following:

Kidnapping;

Attempted kidnapping;

Aggravated sexual assault;

Attempted aggravated sexual assault;

Attempted murder; The death of anyone as a result of the crime;



THE PLAINTIFF has 5 videos off unit 187 Relliott community emergency respond tea ml
relliott company critic worldwide news Inc/ Elliotts ministry vehicle. As well witness that
recorded the whole time, she was on the ground then the officers refused a ASL interpret
this is where it went into a hate crime as well 8$ 6 wittiness that watch the assault happen.
As well the plaintiff in free will in her summary of proof of burden to bring forward the
lawsuit shall copy and paste her medical records as well as a surgery date has been set in
October 2024 by DR Figgy after the officers ruptured the left breast.

PLEASE WATCH THE FLASH DRIVE VIDEO OF ALL VI DOES IN THE MATTERS TO SHOW
PROOF OF BURNED AS WELL PLEASE




            SUMMARY OF ARGUMENT of findings to help show proof of the
following allegations are made to why the plaintiff is sued on the
defendants



    1. The plaintiff in the matter can show proof what officers are should by law to-do
       httpJ1:Jiwww.Le.xi.p_otc.amLr.e.s.w.Jn:-,._e13.lb1ogL.firn1:re_fipoJ1_d.e_rn-=..an.d:ibJ;l-d..Etafl
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   2.   The plaintiff in the matter can show proof what officers are should by law to-do
        hllp.s: //www. nad. o.r.gLre..s._Q\.JI.Ces/j ust ic e.LJ,lQl ice-aod-law-e of orce_l1lli.iltl
   3. The plaintiff in the matter can show proof what officers are should by law to-
        do http_s.~cJ}i~_,_a_cl a. gQv/ IJ u_n.1bDlLpc.a/h um b_old.J.attD. htm#_;::--:te.xt=I n%2D_a %2.Q.sj
        01ple 0/Q20J3LlC0JJnter%?C3:'b20such.m%2Da%2_Dconfn✓-'3sloJJo/o20of%20wroJJg_d_oing

   4. The plaintiff in the matter can show proof what officers are should by law to-do
        1lt1ps://www.av.aLmeLbla.gt_s_o~t11H.::.p_ r.o h lm:.WLt!1:-\ aw-6.lJiOLcmo1.::.th.e..=d.e..af..::
        _G_QJJJ __ffiUl1i1~

   5. The plaintiff in the matter can show proof what officers are should by law to-do
        b.11:p_s.;Jlwww. na_clDJ:g/ re..s..QLJ.Ie.-e.sllu.. sJj_c_eLp..0lic..e-=..a.n_d - · ta.w.:.
        entorcement/cQmmunLcatkm-=..acces.s-vvitl1-policB--anrJ:-LaJN:-entmcemeJ1t/
   6. to show proof of the Tort Claim Act law that would protect Sovereign immunity to
        where the laws would not allow anyone with any kind of immunity to be sued to
        show proof of burned how the tort claim act laws that they defendants will try to
        hide behind has and is revoked due to bodily injury and hate crime On this date of
        April 30th 2024 at 930am the plaintiff meets with Dr figgy and the surgery was okay
        as the medical record of copy and paste shows right hear -' ,>! e , '· t·

Maggie Y Yang at.4/30/2024 9:30 AM

 Chief Complaint
 Gender dysphoria

 S/p Bilateral Breast Augmentation with Silicone Implants - 4/10/24

 OPERATIVE FINDINGS:
 Right Breast

 Implant
 SN: 27244606
 Ref: SSX-800

 Left Breast

 Implant
 SN: 27116732
 Ref: SSX-800

 History of Present Illness
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 Yukie L N Soto-Elliott is a 41 y.o. adult who presents postoperatively from above-mentioned
 surgery on 4/10/24. She is doing fine. Her left breast pain has improved. She does feel that
 right breast sits higher. No fevers or chills. Prineo fell off.

 Physical Exam:


  Vitals:
                 04/30/24 0902
  BP:            140/83
  Pulse:         89
  Temp:          36.4 °C


 Gen: alert and oriented x3, in NAO
 Resp: breathing comfortably on room air, in no respiratory distress
 Right breast: Incision intact, no drainage. Skin is intact without necrosis or blistering. No
 surrounding erythema, underlying fluid collections, or signs of infection.
 Left breast: Incision intact, no drainage. Skin is intact without necrosis or blistering. No
 surrounding erythema, underlying fluid collections, or signs of infection. My left breast dropped
 slightly since surgery.

 Assessment and Plan
 Yukie L N Soto-Elliott is a 41 y.o. adult who is s/p bilateral breast augmentation with silicone
 implants. She gave presents today for follow up. She is overall doing well. We again discussed
 that right breast would drop some and will match the left breast overtime. No other issues.

 - Continue to wear a sports bra without underwire.
 - Wear bandeau as discussed.
 - 10 lb weight and ROM restrictions for 4 weeks post-op.
 - Can shower, no submerging in water. Avoid scrubbing at incision vigorously.
 - Follow up when 4 weeks post-op.
 - Call if there are any issues and there is someone on call overnight and weekends.

 Patient agrees to the plan going forward and their questions were answered during the visit.

 Maggie Y Yang, PA-C

     7. On the date of April 30th the defendants refused to allow proper communication while
        Jermy 3601 interpret watch and had to report to his supervisors of the illegal handcuff
        behind and the plaintiff did not understand full what was going on and the Defendants
        rushed the doctor of Bellevue UNM and would not wait for DR Figgy to oversee what
        happen since he was the surgical doctor they went on their own seeing of malpractice
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       but did put in the medical file to follow up with primary and surgical doctors ED Provider
       Notes
 Andrew R Barnett at 4/30/202412:51 PM

 Bellevue Medical Center

 HISTORY OF PRESENT ILLNESS



 History obtained from:Patient Spouse Parent Nursing Home EMS Personnel Relative
 Caregiver Friend Police Medical Records PCP Interpreter

 Chief Complaint,,

 Patient presents with,,

 •, Medical Clearance,

  , , BPD requesting medical clearance; pt had a recent breast augmentation and wants her
 incisions examined.

  Yukie L N Soto-Elliott is a 41 y.o. adult who arrived by Police presented to the emergency
 department for medical clearance before incarceration. Patient presents with police after
 being pulled over and arrested. During arrest patient was placed prone, is concerned for
 damage to breast implants. Per patient history patient had implants placed on April 10,
 and an appointment with plastic surgery follow-up today. Per patient history at follow-up
 appointment today there were no acute complications or concerns.



 PAST MEDICAL/ SURGICAL/ FAMILY/ SOCIAL HISTORY




  Past Medical History: ,

  Diagnosis,, Date

  •, Alcohol abuse,

 , •, Allergy,

  •, Anxiety,
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 •, Arthritis,

 •,Asthma,

 •, Attempted suicide (HCC),

 •, Bipolar 1 disorder (HCC),

 •, Borderline personality disorder (HCC),

 •, Cancer (HCC), Skin cancer

 •, Carpal tunnel syndrome of left wrist, 09/2009

  , Good Sam Kearney,

 •, Depression,

 •, Hearing loss,

  •, History of incarceration, 2019

  •, Hypertension,

  •, MRSA (methicillin resistant staph aureus) culture positive,

  •, OCD (obsessive compulsive disorder),

  , Germophobia,

  •, Otitis media,

  •, Positive PPD, treated,

  •, PTSD (post-traumatic stress disorder),

  , from stepmother beating him and from war in Iraq/Afghanistan,

  •, RLS (restless legs syndrome), 03/2010

  •, Sleep apnea,

  , doesn't use CPAP,



  Past Surgical History: , ,

  Procedure,, Laterality, Date
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 •, AMPUTATION OF FINGER OF RIGHT HAND, Right, 2006

 , right middle and ring fingers,,

 •, ARM SURGERY, Left, 2006

 , Screws and wires, ,

 •, BREAST AUGMENTATION, Bilateral, 4/10/2024

  , Procedure: BREAST AUGMENTATION SILICONE; Surgeon: Figy, Sean C, MD; Location:
 NM FSC OR; Service: General Surgery Plastic; Laterality: Bilateral;, ,

 •, GASTRIC BYPASS, , 02/09/2023

  , RY surgery per pt,,

 Family History, , ,

 Problem, , Relation, Age of Onset

 •, Lung cancer, Mother,

 •, Cancer, Mother,

 •, No Known Problems, Father,

 •, No Known Problems, Sister,

 •, No Known Problems, Brother,

 •, No Known Problems, Son,

 •, Lung cancer, Maternal Grandmother,

 •, Liver cancer, Maternal Grandmother,

 •, Liver cancer, Maternal Grandfather,



 Social History



 Socioeconomic History, , ,

 •, Marital status:,, Divorced

 •, Number of children:,, 2
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 •, Years of education:,, 13

 Occupational History,,,

  , , Comment: dishwasher at Cheesecake and Golden corral,

 Tobacco Use, , ,

 •, Smoking status:,, Former

  , , Types:, Cigars

  , , Quit date:, 12/4/2017

  , , Years since quitting:, 6.4

 •, Smokeless tobacco:,, Never

 Va ping Use, , ,

 •, Vaping status:,, Never Used

 Substance and Sexual Activity,,,

 •, Alcohol use:,, No

  , , Comment: soberfor 10years,

  •, Drug use:,, Not Currently

  , , Comment: morphine and oxy,

  •, Sexual activity:,, Not Currently

 Social History Narrative, , ,

  , Dog in the home. Best friend has cat. , ,



  Social Determinants of Health



  , Interpersonal Safety Screen



  REVIEW OF SYSTEMS/ PHYSICAL EXAM
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 Vitals (Arrival)

 T: 37.1 °C (98.8 °F}- BP: 151/104 (MAP: 120)- HR: 105- RR: 22 (SpO2: 93 %)



 Review of Systems Respiratory: Negative for shortness of breath. Cardiovascular:
 Negative for chest pain. Gastrointestinal: Negative for abdominal pain, nausea and
 vomiting. Musculoskeletal: Negative for back pain. Skin: Negative for wound.
 Neurological: Negative for headaches. , Physical ExamVitals and nursing note reviewed.
 Constitutional: General: She is in acute distress. Appearance: Normal appearance. She is
 well-developed. She is not diaphoretic. HENT: Head: Normocephalic and atraumatic.
 Eyes: Pupils are equal, round, and reactive to light. Neck: Vascular: No JVD.
 Cardiovascular: Rate and Rhythm: Normal rate and regular rhythm. Heart sounds: Normal
 heart sounds. No murmur heard.No friction rub. No gallop. Pulmonary/Chest: No
 respiratory distress. Pulmonary effort is normal. Normal breath sounds. No wheezing or
 rates. Abdominal: General: Bowel sounds are normal. There is no distension. Palpations:
 Abdomen is soft. There is no mass. Tenderness: There is no abdominal tenderness. There
 is no guarding or rebound. Musculoskeletal: Cervical back: Normal range of motion.
 Skin:General: Skin is warm and dry. Findings: No rash. Skin location: lnframammary
 incisions noted bilaterally. Skin well-approximated without suture tear of new laceration.
 Breasts symmetrical. Neurological: Mental Status: She is alert.




  Procedures



  MOM/ ED COURSE

  ASSESSMENT/ED COURSE:Patient presents following arrest for medical clearance for
  incarceration. Physical exam was benign showing intact inframammary sutures with well-
  approximated skin and no signs of implant rupture. Patient was cleared for discharge with
  plastic surgery follow-up as needed. DDX: Skin suture laceration, breast implant rupture,
  Labs, reviewed:Labs Reviewed-No data to display DISPOSITION:Discharge with plastic
  surgery follow-up as needed.
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 Radiology Tests Reviewed

 No procedures or tests found.



 Medications - No data to display, Lab tests reviewed and normal unless identified
 abnormal below:Labs Reviewed- No data to display



 Clinical Calculators



 ED PLAN SUMMARY



 Diagnosis



  , Diagnosis, Comment

  , Medical clearance for incarceration,




  Follow-up Information



  , Follow up With, Specialties, Details, Why, Contact Info

  , 1BED-1ST FLOOR BELLEVUE EMERGENCY DEPARTMENT, Emergency Medicine, , If
  symptoms worsen, 2500 Bellevue Medical Center Dr.Bellevue Nebraska 68123-1591402-
  763-3000
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 ED Disposition



 ED Disposition

 Discharge

 Condition

 Stable

 Comment

 Plan of care discussed with Yukie L N Soto-Elliott and questions answered. Both verbal
 and printed discharge instructions were provided. The patient is to seek outpatient follow
 up as noted in the discharge instructions. The patient verbalized understanding and ability
 to comply. The patient is discharged in stable condition. The patient was instructed to
 return to the emergency department for worsening symptoms.



   Radiology Overread Andrew R Barnett, MD Keenan, Christopher David,
 MBAResident04/30/24 1259 I Andrew R Barnett, MD, personally interviewed and examined
 this patient. I discussed the findings, diagnostic studies, interventions, and treatment plan
 with Christopher David Keenan. I agree with the assessment, management, and
 disposition as presented by the resident/APP in the documentation above. Unless
 otherwise indicated, I was present for the key portion of performed procedures. Andrew R
 Barnett, MD5/3/2024 9:21 PM Barnett, Andrew R, MD05/03/24 2123

  ED Notes

 Nurse Atalia Kat 4/30/2024 12:17 PM

  Bed: E16-0Expected date: Expected time: Means of arrival: Comments:Sarpy
  countyKemp, Atalia N, RN04/30/241217




     8. The plaintiff went to CHI primary doctor to follow up and as well the DR Pond
        finding is this on her medical chart
          Joslyn E Pond at 5/2/2024 10:20 AM
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   Subjective:

  Subjective
  Patient ID: Yukie Lola Nashaia Soto Elliott is a 41 y.o. adult.




   Chief
   Complai
   nt
   Patient
   presents
   with
    •   Foll
        ow-
        up




  HPI
  Yukie Lola Nashaia Soto Elliott is a 41 y.o. adult presenting today for: Follow-up.



  She states she was assaulted by police officers on 05/30/2024 around 11 o'clock. She was
  pulled over by the cops in a parking lot for reckless driving and also states that somebody
  called her in for impersonating a police officer. They asked for a diving license while
  reaching out to get her driving license they suddenly slammed her to the ground even
  though she was not resisting. She mentions that she was not resisting and was laying on
  the ground. She also asked for an interpreter and they kept refusing. Then her cochlear
  implant turned off. She states they said "she is not have hard-of-hearing". She was
  handcuffed tightly till 02:11 PM. They took her to UNMC around 12 PM and UNMC
  examined her incision as she recently had breast augmentation, Because as per patient,
  police officers had put pressure on her more than 10 lb. After that officers took her to the
  jail and also took her hearing aids and her implants at jail. Today, she mentions last night,
  the FedEx nurse took her heart rate and it was around 60s-70s. She has tingling in her
  hand and has no feeling on her fingertips from "they cut her right wrist severely"(as per
  patient). She has pain in the frontal lower aspect of her rib. She has numbness and tingling
  in left wrist. She is planning to see ENT for her hearing issue.

   Elevated blood pressure
   Her blood pressure today was measured to be elevated at 140/80 and 12ono on recheck.


   Review of Systems
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  Constitutional: Negative for chills, diaphoresis, fatigue and fever.
  Respiratory: Negative for shortness of breath.
  Cardiovascular: Negative for chest pain.
  Gastrointestinal: Negative fofabdominal pain, diarrhea, nausea and vomiting.
  Musculoskeletal: Positive for arthralgias and myalgias (pain in the frontal lower aspect of
  her rib).
  Neurological:
  Positive for numbness and tingling in left wrist




   Objective:

  Objective                                   ,
  BP 120/70 I Pulse 65 I Temp 36.2 °C {97.1 °F) {Temporal) I Wt 89.5 kg (197 lb 4.8 oz) I
  SpO2 97% I BMI 28.31 kg/m 2

  Physical Exam
  Constitutional:
  Appearance: She is well-developed.
  HENT:
  Head: Normocephalic.
  Eyes:
  Conjunctiva/sclera: Conjunctivas normal.
  Chest:
  Comments: Breast implants appear to be healing well.
  She has the incisions underneath that both breasts appear to be healing well.
  Musculoskeletal:
  Cervical back: Neck supple.
  Comments: Tenderness to palpation over the frontal lower aspect of her ribs;
  however, no bruising noted
  Pain with rotation of the left wrist. The right side was normal.
  Numbness to the fourth fingers, but her thumb was normal. Left upper extremity
  weakness. Decreased grip strength on the left side
  Skin:
  General: Skin is warm and dry.
  Neurological:
  Mental Status: She is alert and oriented to person, place, and time.
  Comments:.
  Psychiatric:
  Behavior: Behavior normal.
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  Assessment
  1. Assault



  2. Rib pain on right side



  3. Deafness, unspecified laterality



  4. Elevated blood pressure reading


  - Her repeat blood pressure is 120/70.

  5. Left hand pain

  - Ambulatory referral to Orthopedic Surgery
  - XR Hand Minimum 3 Views Left; Future

  6. Left wrist pain


  - Ambulatory referral to Orthopedic Surgery
  - XR Wrist Minimum 3 Views Left; Future

  7. Numbness and tingling

   - Ambulatory referral to Orthopedic Surgery
   - XR Wrist Minimum 3 Views Left; Future
   - XR Hand Minimum 3 Views Left; Future
   - Will notify patient regarding the radiology comments on the X-ray.

   - Advised to avoid pushing, pulling and lifting weight over the 10 lb.
   - Advised to keep strengthening
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  Attestation
  The patient indicates understanding of these issues and agrees with the plan. I reviewed
  the patient's medical information and medical history. I have reviewed the past medical,
  family, and social history sections including the medications and allergies listed in the
  above medical record.

  Signature
  I, Amit Kumar, am scribing for and in the presence of Joslyn E Pond, APRN.
  Electronically Signed by Amit Kumar on 5/2/2024 at 4:10 PM.

   I have reviewed the notes written by Amit Kumar, I concur with her/his documentation.




   Electronically signed by Joslyn E Pond, APRN on 5/6/2024 at 6:59 AM.

   - A total of 40 minutes was spent with the patient as well as in review of records.




 MA Lenzy L at 5/2/2024 10:20 AM

   Patiet, Yukie does consent to Joslyn E Pond, APRN's use of Augmedix at today's visit.

   Electronically signed by Lenzy Lomeli-Agraz, MA on 5/2/2024 at 9:58 AM




     9. The plaitiff wentto see a nerver specialist from follow up the defendants beating
         her          -:,;,,,::·MA Tracy Cat 5/7/2024 8:20 AM

   Patient, Yukie does consent to Gangadasu Sagar Reddy, MD's use of Augmedix at today's
   visit.

   Electronically signed by Tracy Cubrich, CMA on 5/7/2024 at 8:50 AM




  Gangadasu Reddy at 5/7/2024 8:20 AM

   Gangadasu Reddy MD, MS, FACS
   Hand surgery and Microsurgery
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  CHI Health




  CHIEF COMPLAINT
  Left wrist pain and bilateral hand paresthesias, left worse than right



  HPI
  Yukie Lola Nashaia Soto Elliott is a 41 y.o. adult, ambidextrous, employed at FedEx
  presenting to clinic today for consultation regarding bilateral hand paresthesias, left worse
  than right and left wrist pain following encounter with police officers on 4/30/2024. During
  her encounter she states she was handcuffed tightly and was slammed to the ground even
  though she was not resisting. Since being handcuffed she has had the numbness and
  tingling in bilateral hands. She states on the left hand the entire hand feels numb into the
  forearm. She states she needs to wear a robot on the left forearm for work and is unable to
  do so due to the pain and paresthesias. She was seen by her primary care where x-rays did
  not reveal any fractures or dislocations. She has an extensive history of surgery to bilateral
  hands including plate and screw fixation of left ulna and radius roughly 20 years ago at the
  VA, amputation of right long and ring fingers from a crush injury with a concrete wall in
  2008, stab wound to left thumb that required surgical intervention. She states she is not
  having any pain or paresthesias prior to most recent injury on 4/30/2024. She has not tried
  any treatments.




   MEDICATIONS


   Outpatient
   Encounter
   Medications as
   of 5/7/202




   PMH


   Past Medical History:
   Diagnosis                                                                      Date
    •   Adjustment disorder
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   •    Alcoholism (HCC)
   •    Anxiety
   •    Asthma
        pep
   •    Autism
   •    Bipolar disorder (HCC)
   •    Depression
        dr. bonnie psychiatrist
   •     Drug addiction in remission (HCC)
   •     Frequent patient in emergency department
   •    GSW (gunshot wound)
   •     Headache
         migraines
   •     Hx MRSA infection                                                               2010
         back neck skin-tatoo-drainded in er local
    •    Hyperlipidemia
    •    Hypertension
    •    Obsessive-compulsive disorder
    •    Polysubstance abuse {HCC)
    •    PTSD (post-traumatic stress disorder)
    •    Skin cancer                                                                     2010
         back and chest-melanoma
    •    Sleep apnea
         has sleep study update in June-no longer has previous cpap-recalled not using
    •    Suicide attempt (HCC)
    •    Transgender



   PSH


   Past Surgical History:
   Procedure·                                                          Laterality        Date
    •    FINGER AMPUTATION                                             Right
         index and ring finger
    •    FRACTURESURGERY
         left arm-plates and pins
    •    PRESOPHAGOGASTRODUODENOSCOPY                                  N/A               6/1/2022
         TRANSORAL DIAGNOSTIC
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        Procedure: ESOPHAGOGASTRODUODENOSCOPY WITH BIOPSIES; Surgeon: Kalyana C
        Nandipati, MBBS; Location: ACH BMMC GI; Service: Gastroenterology
    •   PR LAP GASTRIC BYPASS/ROUX-EN-Y                      N/A                2/9/2023
        Procedure: ROBOTIC GASTRIC BYPASS AND EGO; Surgeon: Ka/yana C Nandipati, MBBS;
        Location: ACH IMC OR; Service: Robotics-General




  FH


   Family History
   Problem                                Relation             Age of Onset
  ••    Alcohol abuse                     Mother
    •   Drug abuse                        Mother
    •   Lung cancer                       Mother
    •   Anxiety disorder                  Father·
    •   Bipolar disorder                  Father
    •   OCD                               Father
    •   Post-traumatic stress disorder    Father
    •   Diabetes                          Father
    •   Brain cancer                      Maternal
                                          Grandmother
    •   Colon cancer                      Maternal
                                          Grandfather



  SH
  Education and Employment
  Employment: Employed

  Living Conditions
  Marital Status: Married Comments: previously divorced
  Children: Yes Comments: has 2 children/ doesn't see them because of ex wife
  Occupants In Home: Lives with spouse

   Safety
   Domestic Violence: No
   Feel Safe In Home and With Partner?: Yes

  Patient Devices
  Glasses: Yes
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  Contacts: Yes

  Lifestyle
  Religious Affiliation: Mormon
  Exercise: Daily

  Review of Systems
  Constitutional: Negative.
  HENT: Negative.
  Eyes: Negative.
  Respiratory: Negative.
  Cardiovascular: Negative.
  Gastrointestinal: Negative.
  Endocrine: Negative.
  Genitourinary: Negative.
  Musculoskeletal: Bilateral hand paresthesias. Left wrist pain.
  Skin: Negative.
  Allergic/Immunologic: Negative.
  Neurological: Negative.
  Hematological: Negative.
  Psychiatric/Behavioral: Negative.

  Review of systems was reported by patient.

  PHYSICAL EXAM

  BP(!) 143/84 I Pulse 62 I Ht 177.8 cm (5' 10") I Wt 89.4 l<g (197 lb) j BMI 28.27 k9/m 2

  Yukie Lola Nashaia Soto Elliott is a pleasant 41 y.o. adult patient.

  Abdomen: soft/NT/ND
  Pulmonary/Chest: Effort normal. No respiratory distress.
  Constitutional: Appears well-developed.
  Neurological:Alert and oriented X 3.
  HENT:
  Head: Normocephalic and atraumatic.
  Neck: No C-spine tenderness.
  Throat: No TMJ ankylosis or restricted jaw movement.
  CVS: B/1 radial artery pulsations palpable
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  Both upper extremity examination:
  Skin is clean, dry, and intact.
  No open wounds.
  Well-healing scar to volar aspect of left forearm from prior surgery.
  Amputation of right long and ring fingers near the level of the DIP joint.
  Well-healing scar to radial aspect of left thumb from prior stab injury.
  Flexors and extensors intact to all digits.
  Able to make a fist and extend digits fully without difficulty.
  Patient reports decreased sensation to entire left thumb and the tips of the left index, long,
  ring, and small finger. She also reports decreased sensation to entire dorsal aspect of left
  hand, and left distal forearm.
  Patient reports decreased sensation to dorsal aspect of right thumb from the MP joint to the
  radial aspect of the right wrist.
  Positive Tinel's over left cubital tunnel.
  Negative Tinel's over left carpal tunnel.
  Negative Tinel's over right cubital tunnel.
  Positive Tinel's over right carpal tunnel.
  Unable to complete Durkan's and Phalen's due to current paresthesias.
  Digits are warm and well-perfused.




  Radiographic studies:
  3 views of x-rays of left wrist and hand:
  DISCUSSION:
  3 views of the left wrist and 3 views of the left hand demonstrate no acute fracture or
  dislocation. Mineralization and joint spaces are normal. Prior ORIF of the radius. The
  hardware is incompletely imaged and incompletely evaluated.

  IMPRESSION:
  No acute radiographic abnormality of the left wrist and left hand.




  ASSESSMENT:
  Yukie Lola Nashaia Soto Elliott is a 41 y .o. adult patient with bilateral hand paresthesias
  and left wrist pain following encounter with police officers in which patient reports she was
  handcuffed tightly and thrown to the ground. Xrays shows no acute fractures or dislocations.
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  PLAN
  Anatomy and diagnoses were discussed in full detail with Yukie Lola Nashaia Soto Elliott.
  Treatment modalities were also discussed including conservative versus operative
  interventions. Conservative treatments discussed include bracing, activity modification, use
  of anti-inflammatory medications, occupational therapy, EMG studies.

  We will refer patient to neurology for bilateral upper extremity EMG studies.
  In the meantime wear bilateral wrist braces. These were provided to patient today in clinic.
  Patient stated she cannot take ibuprofen due td history of stomach surgery. She was
  advised to take Tylenol if tolerated as needed for pain.
  We will call patient once we receive results of the EMG study.

  Ms. Soto Elliott indicates understanding of these issues.,She participated in decision making
  and agrees with the plan.

  CHI Clinic Surgical Risk Optimization Policy:
  Patients who use nicotine, have BMls more than 40, and uncontrolled diabetes are at
  increased risk for surgical complications. Surgical risks associated with nicotine use, high
  body mass index, and poor glycemic control related with a diagnosis of diabetes were
  discussed, if relevant. If these risk factors were present, patient was advised to decrease
  nicotine use, lose weight if BMI more than 40, and control blood glucose to obtain
  hemoglobin A 1c less than 8 in diabetics.



  Patient was instructed to contact my office if there are any new concerns or questions.

  Electronically signed by: Megan Kucks, PAC, 5/7/2024 8:27 AM

   Hand Surgery attending note

  I, Gangadasu Reddy MD, have personally interviewed and examined the above patient. I
  have reviewed and agree with the documentation of the care provided by Megan Kucks,
  PA-C including the patient's medical history, findings on the physical examination, and any
  laboratory or other testing results. I personally developed the patient's assessment and
  treatment plan.

   She presented with bilateral hand paresthesias.
   Of note, she had multiple surgeries on her both upper extremities in the past.
   Unable to elicit durkin's and Phalen's test on both carpal tunnels due to constant hand
   paresthesias.
   Status post amputations of right long and ring fingers.
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  S/p ORI F of left radius and ulna fractures.
  Positive Tinel's sign over left cubital tunnel. Negative on the right.
  Will obtain bilateral upper extremity electrodiagnostic studies and follow-up with her after
  that.




  Electronically signed by: Gangadasu Sagar Reddy, MD, MS, FAGS 5/7/2024 12:37 PM




  Dragon dictation software was used for generating this document. It may contain
  typographical errors.


    1O. The plaintiff went in on may 21 2024 follow up after being beaten by the defendants
        and violated        o., • ..>> ,Sean C Figy at 5/21/202411:05 AM

  Chief Complaint
  Gender dysphoria

  S/p Bilateral Breast Augmentation with Silicone Implants - 4/10/24

  OPERATIVE FINDINGS:
  Right Breast

  Implant
  SN: 27244606
  Ref: SSX-800

  Left Breast
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  Implant
  SN: 27116732
  Ref: SSX-800

  History of Present Illness
  Yukie L N Soto-Elliott is a 41 y.o. adult who presents postoperatively from above-
  mentioned surgery on 4/10/24. She is doing,fine. Since her last appointment, she had a
  reported altercation at the place where she was placed facedown on the ground. She
  notes that since then her left breast is fallen pretty significantly compared to the right.


  Physical Exam:


   Vitals:
                  05/21/24 1041
   BP:            (!) 155/90
   Pulse:         64
   Temp:          36.5 °C


  Gen: alert and oriented x3, in NAO
  Resp: breathing comfortably on room air, in no respiratory distress
  Right breast: Incision intact, no drainage. Skin is intact without necrosis or blistering. No
  surrounding erythema, underlying fluid collections, or signs of infection.
  Left breast: Incision intact, no drainage. Skin is intact without necrosis or blistering. Left
  breast with significant drop compared to right.

  Assessment and Plan
  Yukie L N Soto-Elliott is a 41 y.o. adult who is s/p bilateral breast augmentation with
  silicone implants. She presents today for follow up. After her last visit, unfortunately she
  had an altercation with the police which appears to have ruptured her left breast
  inframammary fold. The implant is now fallen pretty significantly.


  I have asked her to stop wearing the bandeau. She can wear a supportive bra. I do think
  that she will require revision surgery of her left breast in order to reset the inframammary
  fold. This will require placement of a bio resorbable mesh in order to reset the fold and
  position the implant in a better position on the chest wall. Like to do this 3 months after her
  injury to allow for inflammation to calm down. She will follow-up in a few weeks time to
  further assess her healing and discuss her revision surgery.
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       11. The plaintiff went in on may 21 2024 follow up after being beaten by the
            defendants and violated THE ADA LAWS BUT AS WELL AS THE STATE OF
            NEBRASKA TORT CLAIM ACT LAWS HAS BEEN REVOKED AND BEING WATCH
            FOR THE CRIMES THAT ARE FOUNDED IN THE MATTERS THE PLAINTIFF ALL
            HER LIFE HAS BEEN DISABLED AS WELL AS IN 2007-2015 THE PLAINTIFF
            WASAWARED OF THE STATE OF NEBRAKSAAS MENTAL ILL IN CUSTER
            COUNTY BROKE BOW THERE FOR THE STATE VS DEPARTMENT OF JUSTICE
            AS WELL IS PROTECTING THE PLAINTIFF RIGHTS

  U.S. Department of Justice

  Civil Rights Division

  Disability Rights Section 4 Constitution Square 150 M St., N.E. Washington, DC 20002




  May 14, 2024

  By First Class Mail and Electronic Mail




  1

  control their own lives. People with SMI can get jobs where they work alongside people
  without disabilities, doing the same work for the same pay.

  Nebraska offers covered services that people with SMI need to live and work in the
  community, including permanent supportive housing, Assertive Community Treatment
  (ACT), case management, peer supports, and supported employment. The community-
  based services that Nebraska covers can help people live independently, manage their
  mental health symptoms, build relationships, and find and keep jobs. But Nebraska
  severely limits access to its community-based services. Instead, the State over-relies on
  segregated settings like assisted living facilities and day program facilities. In segregated
  settings, people with SMI are grouped together and supervised by paid staff and have little
  outside contact with people without disabilities.

  There are many Nebraskans with SMI w:ho used to live in their own homes and hold jobs
  in the community. But without community-based services-like case management or job
  coaching-they were forced to enter segregated settings to get the help they needed. Many
  of these people now live in segregated settings, like assisted living facilities (ALFs),
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  surrounded only by other people with disabilities. Many also spend their days in
  segregated day programs. Once people enter ALFs and day programs, Nebraska offers
  them little help to get out. One person, who has been institutionalized in an ALF and day
  program for more than a decade, descnbed what leaving would mean to her: "Freedom."

  Nebraska fails to ensure that individuals with SMI know about and can access the State's
  covered services in the community even though these services are more therapeutic and
  cost- effective than institutionalization. For Nebraskans with SMI, a lack of access to
  community- based services, including crisis services, can trigger unnecessary admissions
  to hospitals or ALFs. When individuals experience mental health crises in Nebraska, law
  enforcement are often the first responders because the State has failed ensure access to
  necessary community-based crisis services.

  Work is a critical part of mental health recovery. Even people with high behavioral health
  needs can get and keep jobs with the right services. Nebraskans living in the State's ALFs
  are overwhelmingly interested in working if they could get the help they need. But without
  community-based services, including supported employment services to connect them to
  and support them in workplaces, these individuals instead languish in day programs, with
  no path to employment. They want to--and can-do much more.

  Nebraska is violating Title II of the ADA by failing to serve adults with SMI in the most
  integrated setting appropriate to their needs. 42 U.S.C. § 12132; 28 C.F.R. § 35.130(d).
  Nebraska's administration of its behavioral health system results in unnecessary
  segregation in several ways. First, the State uses restrictive service authorization criteria to
  limit the services an individual with SMI can receive in the community, including
  supported employment services and permanent supportive housing. Second, the State has
  underdeveloped its workforce necessary to provide access to community-based services.
  Thus, even when authorized, Nebraskans with SMI often cannot receive the services they
  need to avoid unnecessary segregation. Third, Nebraska fails to ensure that its agencies and
  State-licensed service providers and contractors provide covered services in integrated
  settings. Finally, the State

  2

  makes it difficult for licensed community-based service providers to serve individuals with
  SMI. Nebraska can reasonably modify the behavioral health services that it already offers
  so that people with SMI can live and work in their communities.

  II. Investigation
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  The United States Department of Justice (the Department) opened this investigation in
  response to complaints that Nebraska over-relies on segregated service settings to serve
  people with SMI, in violation of Title II of the ADA. In June 2021, we notified the State
  that we had opened a statewide investigation into whether Nebraska serves people with
  SMI in the most integrated setting appropriate to their needs.

  During our investigation, we interviewed Nebraskans with SMI and their families in rural
  and urban areas across the State. We met these individuals where they live and spend their
  days: in assisted living and other residential facilities, day programs, hospitals, and the
  community. We interviewed behavioral health service providers across the State, including
  in the Lincoln Regional Center, Nebraska's psychiatric hospital. We interviewed
  behavioral health staff in hospitals, crisis centers, secure and unlocked residential facilities,
  and day programs. We interviewed community-based providers, including supported
  employment providers. We also met with corrections staff and law enforcement in multiple
  counties.

  The State facilitated our interviews of relevant state agency officials at every level. We
  spoke with the heads of the agencies that administer services for people with SMI,
  including Nebraska's Division of Behavioral Health; Division of Medicaid and Long-Term
  Care/and Vocational Rehabilitation.,we also interviewed staff from the behavioral health
  regions, Medicaid Managed Care Organizations, and the Offices of Public Guardian and
  Public Counsel. We interviewed the administrator of the State's new 988 suicide and crisis
  lifeline. Finally, we requested and revieweq, information from the State about its
  administration of the behavioral health service system.

  Ill. Nebraska's Behavioral Health Service System

  Nebraska's behavioral health service system includes facility-based and community- based
  services for adults with SMI. The primary state agency charged with overseeing this
  system is the Division of Behavioral Health (DBH) within the Department of Health and
  Human Services. DBH contracts with six regional behavioral health authorities (the
  Regions) and three

  The Division of Behavioral Health is a division within Nebraska's Department of Health and Human
  1


  Services.

  •The Division ofMedicaid and Long-Term Care is a division within Nebraska's Department of Health and
  Human Services.

  •Nebraska Vocational Rehabilitation is within Nebraska's Department of Education. 92 Neb. Admin. Code§
  72-001.02.
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  3

  Medicaid Managed Care Organizations (MCOs) to administer services to individuals
  receiving publicly-funded behavioral health services.

  Nebraska state law requires DBH to make sure there are enough community-based 4
  behavioral health services statewide to help people with SMI find work and live
  independently. But approximately 5,000 Nebraskans with SMI live in facilities, many in
  state-licensed ALFs. ALFs serve primarily o,r exclusively people with disabilities. 5 People
  with SMI live in ALFs throughout the State, but at least nineteen facilities primarily house
  individuals with SMI. Approximately 1,000 adults with SMI reside in those nineteen
  ALFs.

  Nebraska also has twenty-two Medicaid and State-funded day program facilities for people
  with SMI across the State, often located near ALFs. Nebraska's largest day program
  facilities can serve over 100 people. 6 Many ALF residents attend day program facilities
  during the day, alongside other adults with SMl. 7 Day programs vary, with some offering
  only supervision of adults and activities like crafts.

  Nebraska funds other facilities that provide more intensive behavioral health services. The
  State operates a 250-bed psychiatric hospital, the Lincoln Regional Center (LRC), which
  provides residential treatment for involuntarily-committed individuals. The State funds
  behavioral health services in private hospitals, mental health crisis centers, and hospital
  emergency rooms. In these intensive residential facilities, people can receive 24-hour
  behavioral health services, including symptom management, psychosocial rehabilitation,
  educational and vocational activities, skill acquisition and treatment, and programming on
  community living. 8 Thousands of Nebraskans with SMI enter these intensive facilities to
  receive behavioral health services each year. Although some people remain in these
  settings for years, many cycle through for shorter periods. On discharge, many enter ALFs,
  day programs, or both.

  •Neb. Rev. Stat.§ 71-811 ("The division shall coordinate the integration and management of all funds
  appropriated by the Legislature or otherwise received by the department from any other public or private
  source for the provision of behavioral health services to ensure the statewide availability of an appropriate
  array of community-based behavioral health services and continuum of care and the allocation of such funds
  to support the consumer and his or her plan of treatment.")

   '175 Neb. Admin. Code§ 4-006.07A ("To be eligible for admission to an assisted-living facility, a person
   must be in need of or wish to have available shelter, food, assistance with or provision of personal care,
   activities of daily living, or health maintenance activities or supervision due to age, illness, or physical
   disability.").
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  •Neb. Dep't of Health and Hum. Seivs., State of Nebraska Roster: Adult Day Services (Apr. 15,
  2024),https ://dhhs.ne.gov/1 icensurefOocumen ts/aclul tday. pdf.

  1471 Neb. Admin. Code § 35-004.08 (describing Day Rehabilitation); Neb. Dep't of Health and Hum. Seivs.,
  Div. of Behavioral Health, Nebraska Continuum of Care Manual for Mental Health and Substance Use
  Disorders 123- 24 (Dec.
  2023),https://dhhs.ne.gov/Behavioral%20Health%,20Documents/Continuum%20ofl%20Care%:20Manua1.pdf

  •471 Neb. Admin. Code§§ 35-004.09 (describing Psychiatric Residential Rehabilitation as a facility-based
  program that "provides skill building in community living skills, daily living skills, medication management,
  and other related psychiatric rehabilitation services as needed to meet individual client needs.") and 35-014
  (describing Secure Residential Rehabilitation as "a secure facility-based, non-hospital or non-nursing facility
  program ... [that] provides skill building and other related recovery oriented psychiatric rehabilitation services
  as needed to meet individual client needs").




  4

  Although Nebraska covers the community-based behavioral health services that could
  allow individuals with SMI to live and work in their communities, these services are far
  more limited than facility-based options. For example, the State has only three Assertive
  Community Treatment (ACT) teams. 9 lt also has few crisis response and stabilization
  services, such as peer- run crisis respite programs and mobile crisis teams, including teams
  that respond to mental health crises alongside law enforcement. 10 The State covers
  permanent supportive housing, which pairs rental assistance with community-based
  services, but its availability varies by geographic region. u Nebraska also has a Community
  Support service, which helps people with SMI to manage their mental health symptoms
  and daily life tasks while living at home, but the State makes it available only on a limited
  basis. 12

  Similarly, the State covers supported employment services that could help people with
  SMI get and keep jobs. 13 But the unavailability of these services to most people who need
  them means many people with SMI attend day programs in facilities instead. Nebraska has
  only six community-based supported employment providers statewide. In contrast, the
  State has twenty- two facility-based day program providers. Day programs do not typically
  include job training or help with finding work. 14

      IV . Findings

  Nebraska's administration of its behavioral health service system violates the integration
  mandate of Title II of the ADA. Although Nebraska's covered services include the
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  necessary services to support people with SMI in the community, the State has severely
  restricted the

  •Neb. Response to Dep't of Justice Request for Information (Aug. 12, 2022) (on file).
  10 Univ. of Neb. Pub. Policy Ctr., Nebraska's Regional Planning Discussion Summary 1-2 (July 2021),




  https://dhhs.ne.um·/Behavioral%20Health~lo20Documents/Regional%,20Planning.pdf.

   Neb. Rev. Stat. § 71-812 (establishing the Behavioral Health Services Fund for the provision of behavioral
  11



  health services, including housing-related assistance for very low-income adults with serious mental illness);
  Neb. Comm'n on Housing and Homelessness, Opening Doors: 10 Year Plan to Prevent and End
  Homelessness in the State of Nebraska 1 (Jan. 2015), https ://opponu niiy. nebrnsbuwv/wp-
  content/upl oads/2022i02/NC lfr!_ OpeningDoors_ Sta.teofNE 10YearP!antoPreventandEndHomelessness. pdf
  (noting that the State's Housing-Related Assistance Program "provides ongoing rental assistance to seriously
  mentally [ill] persons to be discharged from state psychiatric facilities but lacking safe and affordable
  housing"). See also, e.g., Region V Systems, Housing, ht1ps://region5svstems.ne1/how-we-help/housin12/
  (last visited Apr. 16, 2024) (describing housing and supportive services to individuals"

  ); Region 6 Behavioral Healthcare, Housing, httos://\,\.w,v.reQionsix.corn/programs/housing/ (last visited Apr.
  16, 2024) (describing its"

  ).

  12
       Neb. Medicaid State Plan, Methods and Standards for Establishing Payment Rates, Attachment 4.19-B,
  Item 13d (2021).

  "471 Neb. Admin. Code§ 35-013 (describing Assertive Community Treatment services, including
  employment services); Neb. Dep't of Health and Hum. Servs., Div. of Behavioral Health, Nebraska
  Continuum of Care Manual for Mental Health and Substance Use Disorders 143--44 (Dec. 2023},
  https://dhhs.ne.S!ov/Behavioral%20Health%20Documents/Continuurn%20oi%20Care%20Manua1.pdf.

  "471 Neb. Admin. Code § 35-004.0SA (describing Day Rehabilitation program components).




  with serious and persistent mental illness, who ar ndigent or have extremely low income, and who are
  discharging from an inpatient Mental Health Board




  commitment, or those that are at risk of an inpatient commitment"




  rental assistance program
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  that assists with access to decent, safe, and affordable housing to individuals who are recovering from a
  serious




  mental illness and have extremely low income"




  supply of these services such that very few people with SMI can access the services they
  need outside of facilities. As a result, Nebraskans with SMI frequently enter ALFs and
  segregated day programs because they are unable to live and work in integrated settings
  without necessary services. People with SMI who are not currently living in ALFs or
  receiving segregated day services may face serious risk of such institutionalization. Indeed,
  the State's MCOs often funnel people with SMI to ALFs to get their basic needs met.

  The State's overreliance on segregated settings extends to its day and employment
  services. ALFs often partner with, or operate, day programs for people with SMI,
  sometimes transporting residents in vans between the facilities at set times each day. As a
  result, many people with SMI spend their entire lives in segregated settings. And many
  Nebraskans with SMI who live in their own homes may nonetheless spend their days in
  segregated settings, because when they reach out to providers or case managers to get
  services during the day, they are more likely to be connected to day programs instead of to
  supported employment services. People with SMI leaving hospitals, jails, and other
  segregated settings are also at serious risk of unnecessary admission to day programs
  because the State does not make community-based alternatives available and readily
  accessible.

  Title II of the ADA prohibits public entities from subjecting qualified individuals with
  disabilities to discrimination. Public entities may not, based on disability, exclude qualified
  individuals from participating in, or deny them the benefits of, the entity's services,
  programs, or activities. 42 U.S.C. § 12132; 28 C.F.R § 35.130(a). When enacting Title II,
  Congress explicitly identified unjustified segregation of persons with disabilities as a
  "for[m] of discrimination." 42 U.S.C. §§ 1210l(a)(2), 1210l(a)(5). Title II includes an
  integration mandate which requires public entities to "

  28 C.F.R. § 35.130(d). The "most integrated setting" is one that "enables individuals with

  disabilities to interact with nondisabled persons to the fullest extent possible[.]" 28 C.F.R.
  pt. 35, app. B, at 711 (2020). Thus, a state vioJates the ADA when it administers and funds
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  services for people with disabilities-including behavioral health services-in a manner
  that unnecessarily segregates them. See 42 U.S.C. § 12132; 28 C.F.R. § 35.130(d).

  The Supreme Court has held that unjustified isolation is a form of discrimination
  prohibited by the ADA. Olmstead, 527 U.S. at 597. Public entities must provide
  community- based services to individuals with disabilities when (a) these services are
  appropriate, (b) the individuals do not oppose community-based treatment, and (c)
  community-based services can be reasonably accommodated, considering the resources
  available to the entity and the needs of other people with disabilities it serves. Id. at 607.
  The ADA's integratiori mandate applies not only to people with disabilities who are
  currently segregated, but also to those at serious risk of segregation. See Waskul v.
  Washtenaw Cnty. Cmty. Mental Health, 979 F.3d 426, 460-61 (6th Cir. 2020); Davis v.
  Shah, 821 F.3d 231,263 (2d Cir. 2016); Pashbyv. Delia, 709 F.3d 307, 321-22 (4th Cir.
  2013); M.R. v. Dreyfus, 663 F.3d 1100, 1116-17 (9th Cir. 2011), amended by697 F.3d
  706 (9th Cir. 2012); Fisherv. Okla. Health CareAuth., 335 F.3d 1175, 1181 (10th Cir.
  2003); Guggenbergerv. Minnesota, 198 F. Supp. 3d 973, 1026 (D. Minn. 2016) (finding
  that the Olmstead decision "supports a broad reading of the integration mandate,"
  including recognition of at-risk claims); Hiltibran v. Levy, 793 F. Supp. 2d 1108, 1116
  (W.D. Mo. 2011) ("Persons at risk of institutionalization may make an integration mandate
  challenge without having first been

  administer [their] services, programs, and activities i

  the most integrated setting appropriate to the needs of qualified individuals with
  disabilities.

  placed in institutions."). But see United States v. Mississippi, 84 F.4th 387, 398 (5th Cir.
  2023) (holding that the risk of institutionalization, without actual institutionalization, does
  not give rise to discrimination under Title II). A public entity must modify its policies,
  practices, or procedures when necessary to avoid disability discrimination, unless it can
  show that the modifications would fundamentally alter the nature of a service, program, or
  activity. 28 C.F.R. § 35.130(b)(7)(i).

  Below, we detail our findings relating to Nebraska's violation of Title H's integration
  mandate. In short, Nebraska relies on segregated ALFs and day programs to serve adults
  with SMI who would prefer to receive community-based services to help them live and
  work in integrated settings. Nebraska's limitations on community-based services mean that
  Nebraskans with SMI who are in the community or leaving hospitals or homeless shelters
  have little choice but to enter ALFs and day programs to get services. Community-based
  services are appropriate for these individuals, and Nebraska can reasonably modify its
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  system by expanding existing services so that Nebraskans with SMI can return to or stay in
  their own homes and work in the community.

  A. Nebraska Is a Public Entity and Its Assisted Living Facilities and Day Programs
  Serving Adults with SMI Are Segregated Settings.

  Title II of the ADA applies to the State of Nebraska because it is a "public entity" as
  defined by the statute. 42 U.S.C. § 12131(1). Title II requires public entities to ensure that
  their services, programs, and activities comply with Title II, even when operated by private
  entities through contracts or other arrangements. 28 C.F.R. § 35.130(b)(3). The State,
  through DBH, retains responsibility for complying with Title II when it contracts with,
  licenses, and funds private entities to coordinate or provide services. Id. § 35 .130(b)(1 ).

  The ALFs and day program facilities where Nebraska offers behavioral health services are
  segregated settings under Title II. 15 ALFs exclusively or primarily serve individuals with
  disabilities; the eligibility criteria for ALF admission require individuals to need help in
  various life domains, including personal care, activities of daily living, health maintenance
  activities, or supervision, "due to age, illness, or physical disability." 16 ln nineteen of the
  State's ALFs, all or nearly all residents have SMI. These ALFs range in size from ten to
  nearly 250 residents. 11 Some ALFs have physical layouts that resemble hospitals, with long
  corridors connected by central staff stations. ALF residents typically must share bedrooms,
  sometimes with three or more adults in one room. Common areas, like dining halls and
  other public spaces, are much like those in nursing facilities. Like nursing facilities, ALFs
  may offer organized group activities at pre-determined times, but with limited
  opportunities for interaction with people other than ALF residents and paid staff. The
  facilities impose limits on what residents can do and when, limiting privacy and autonomy.
  ALFs restrict outside visitors with set visiting hours and, because living spaces are
  communal and bedrooms are often shared, private spaces for visiting

  uSee 28 C.F.R. § 35. B0(d); 28 C.F.R. pt. 35, app. B, at 711 (2020). "175 Neb. Admin. Code § 4-006.07A

  11   Neb. Dep't of Health and Hum. Servs., State of Nebraska Roster: Assisted Living Facilities (Apr. 15,
  2024),https://dhhs.ne.gov/licensure/Documents/AU~%'20R.oster.pdf

  with non-resident guests are rarely available. In addition, residents generally do not have
  access to the kitchen and must eat at set times when meals are served in the dining halls.

  Day programs for people with SMI in Nebraska also bear the hallmarks of segregation.
  These day programs exclusively serve people with SMI and offer few opportunities to
  interact with people without disabilities other than paid staff Program participants' options
  for how to spend their days are restricted, with set schedules and activities each day. These
  facilities often post daily schedules of activities-some decorated with cartoon animals-
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  that may list art projects, movies, basic pre-vocational activities like resume writing, and
  group discussions on topics like stress management.

  Many ALFs partner with day progran1s or operate their own segregated day programming.
  ALFs offer ready access to day programs but rarely, if ever, refer their residents to
  supported employment services. Instead, ALFs and day programs incentivize a continual
  loop of segregation. For day program providers to be paid, state regulations require their
  participants to attend the program for a certain number of hours each weekday. 1s'fhis
  financial incentive leads ALFs that operate or partner with day programs to limit the
  daytime hours residents are permitted to spend in the ALF while offering transportation to
  the day program facility. Some ALFs post notices advising residents that they must leave
  the ALF for set hours on weekdays. Many ALF residents fulfill this requirement by lining
  up on weekday mornings to ride in a van that transports them together to a day program
  and brings them back as a group at the end ofthe day. At least one ALF offers two of the
  day's three meals at the day program facility, incentivizing residents to attend the day
  program to eat. Unsurprisingly, some ALF residents believe that participation in day
  programs is required to live in the ALF.

  B. Community-Based Services Are Appropriate for Nebraskans with SMI, and
  Most Prefer These Services.

  Community-based services are appropriate for Nebraskans with SMI who currently live in
  ALFs, attend facility-based day programs, or who are at serious risk of entering an ALF or
  day program. 19 ALF and day program providers agree that the people they serve could live
  and work in the community with appropriate services to meet their needs.

  Even people with the highest needs can find and keep jobs in typical workplaces. Providers
  have success stories of people with histories of mental health crises and hospitalizations
  who went on to have great careers with supported employment services. Many Nebraskans •
  with SMI who currently live and work in the community are at serious risk of entering
  ALFs and day programs because the State limits the services they need to stay at home

  "See 471 Neb. Admin. Code§ 3S-004.08A(6) (day rehabilitation "shall provide ... [a] scheduled program
  of services to clients for a minimum of five hours per day, five days per week").

  "See, e.g., Olmstead, 527 U.S. at 602, 607; Cota v. Maxwell-Jolly, 688 F. Supp. 2d 980, 994 (N.D. Cal.
  2010) (appropriateness prong satisfied where plaintiffs' individual plans of care documented their need for
  specific community services, which were "critical to their ability to avoid institutionalization, and to remain
  in a community setting"); see also U.S. Dep't ofJustice, Statement of the Department of Justice on
  Enforcement of the Integration Mandate of Title II of the Americans with Disabilities Act and Olmstead
  v. L.C. Q. 4 (June 22, 2011),https://\VW\Y.ada.go-,·/resources/o!msrtad-mandate-statement/ (listing types of
  evi4ence an individual can rely on to establish that an integrated setting is appropriate).
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  and at work long-term. By living and working in the community, these individuals show
  that community-based services are appropriate for them. 20

  Most Nebraskans with SMI would prefer to live and work in integrated, community- based
  settings. Indeed, Nebraskans with SMI across the State dream ofliving in their own homes
  and having jobs in their communities. Many of these people have work histories. They
  have pride in their work, and say they want to work again. People with and without
  previous work experience describe the jobs they would like to do in restaurants,
  construction, retail, or emergency medicine. Some people describe the businesses they
  would start, like selling their art online, if they had help with the process. Providers
                                                     '
  confirm that many people they serve prefer community-based         services.

  C. Nebraska Restricts Access to the Covered Community-Based Services that
  People with SMI Need to Live and Work in Their Communities.

  We found that Nebraskans with SMI enter ALFs and day programs because they do not
  have access to the community-based services they need to live and work in integrated
  homes and workplaces. Covered services include the daily supports and crisis interventions
  that individuals need to avoid entering ALFs and day programs, as well as the case
  management necessary to connect individuals with community-based options to live and
  work in the community. The State's administration of its behavioral health system severely
  restricts access to covered services that individuals with SMI need to manage their
  disability, both at home and at work.

  Nebraska has long been aware that people with SMI are "likely to remain in institutional
  environments longer than necessary,"21 the State has left "gaps in the services, supports, and
  residential options available for individuals with behavioral health needs," 22 and the State
  needs to "[i]ncrease the number of persons receiving supported employment services."23
  The State's

  20   E.g. Radaszewski ex rel. Radaszewski v. Maram, 383 F.3d 599, 612-13 (7th Cir. 2004); Townsend v.
  Quasim, 328 F.3d 511, 516 (9th Cir. 2003).

  "Neb. Dep't of Health and Hum. Servs., A Vision for Community Integration: Nebraska's Olmstead Plan
  12 (Dec. 13,
  2019),https://nebraskalegislature gov/Floor:Docs/ l 06/PDF/Agencies!Heal th_ancl_Hurnan _ Services __ Depart
  ment_of/708 _2 0 l 9 l 216-11 l 512. pdf (stating that people with disabilities are "more likely to remain in
  institutional settings longer than necessary, live in substandard environments, have high rates of recidivism to
  jails and prisons, and enter or return to homelessness").
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  "Neb. Legis. LR 296, State-Licensed Care Facilities Oversight Committee, Final Report ii (Dec. 15,
  2018),https://www.nebraskalegislature.gov/pdf/reports/comrnittee/select__special/lr296ilr296_2018. pdf. The
  State Senate Committee investigated the living conditions, treatment quality, and State oversight of ALFs
  that predominantly serve people with SMI. The resulting report found that DBH had violated state law by
  "leaving gaps in the services, supports, and residential options available for individuals with behavioral
  health needs." Id. The committee concluded that these failures resulted in "a segment of the population with
  serious mental illness [that] has turned to assisted living facilities to fill their housing needs." Id.

  "Univ. ofNeb. Coll. of Pub. Health, Nebraska Behavioral Health Needs Assessment 100-01 (Sept.
  2016),https://appl .unmc.edu/PublicAffairs/TodaySite/images/siteimagestBHStudy 1011.pdf (listing
  challenges to supported employment services, including the "need to increase the number of providers to
  improve access" and goals such as "[i]ncreas[ing] the number of persons receiving supported employment
  services"); U.S. Dep't of Health and Hum. Servs., Ctr. For Mental Health Servs., Substance Abuse and
  Mental Health Servs. Admin.,




  2019 Olmstead plan notes that Nebraska has failed to remedy barriers to integrated
  services, including barriers to supported employment. 24 For example, the State
  acknowledged that its supplemental income payment for low-income individuals was
  responsible for "ALFs becoming one of the primary residential options for individuals with
  serious mental illness (SMI)."25 The State pays ALFs an extra $438 for each resident who
  receives federal Social Security Income (SSI) and Social Security Disability Income
  (SSDI), but contributes only $5 toward independent housing. Nebraska also acknowledges
  its long waitlists for community-based housing services26 and the resulting lack of
  community-based housing opportunities for people with disabilities. Similarly, public
  comments summarized in the State's 2019 Olmstead plan conclude that "[t]he plan lacks
  focus on key areas including integrated employment. " 21

  We found these problems-and others-still exist in Nebraska. Nebraska restricts access
  to its integrated services in several ways. First, the State fails to authorize community-
  based services for many individuals with SMI. Second, the State has underdeveloped its
  community- based workforce. So, even when authorized, Nebraskans with SMI often
  cannot receive the services they need to avoid unnecessary segregation. Third, the State
  fails to ensure that its contractors (MCOs and Regions) connect people with SMI to
  community-based services. Finally, the State makes it difficult for licensed community-
  based service providers to navigate the State's system and serve individuals with SMI.

  1. The State Restricts Service Authorization and Fails to Maintain Community-Based
  Providers for Nebraskans with SM/.
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  Although Nebraska covers a variety of community-based services as part of its behavioral
  health system, including supported employment services, the State fails to make those
  services available to most Nebraskans with SMI who need and qualify for them.

  Employment Development Initiative: Fiscal Year 2011 & 2012 Projects 17-19 (June 6, _
  2013),https://www.nasmhpd.org/sites/defau!t/filesi2013 __,EDL pdf (Nebraska's self-report states: "[t]he goal
  has always been to increase employment opportunities for people with mental illness and/or substance use
  disorders in Nebraska,, but after a review "it was clear SE [supported employment] needs to be updated").

  "'Neb. Dep't of Health and Hum. Servs., A Vision for Community Integration: Nebraska's Olmstead Plan
  11-15 (Dec. 13,
  2019),https://nebraskalegislature.gov/FloorDocs/ l 06/PDF/Agencies/Health_ and _Human_Services __Depart
  ment_of/708_2 0191216-l l 1512.pdf.

  '-'Id. at 12.

  1•Nebraska's community-based housing services are funded through its Behavioral Health Services Fund. The
  Behavioral Health Services Fund is a cash fund "for the provision of behavioral health services," and certain
  funding is set aside "for housing-related assistance for very low-income adults with serious mental illness."
  Neb. Rev. Stat. § 71-812.

   Neb. Dep't of Health and Hum. Servs., A Vision for Community Integration: Nebraska's Olmstead Plan
  11



  51 (Dec. 13,
  2019),https://nebraskalegislature.gov/FloorDocs/l 06/PDF/ Agencies/Health_and_Human_Services__Depart
  ment_of/708_2 0191216-l 115l2ptlf.




  Limits on Community Support Services

  Nebraska routinely denies Community Support and instead authorizes people to attend
  facility-based day programs. For people who do receive Community Support, per State
  policy, the MCO or Region can only authorize a total of 36 hours over approximately 26
  weeks, or an average of 1.5 hours per week. 28 These restrictions mean that community
  living is widely unavailable to individuals who need more regular support than the
  maximum rate allows.

  Limits on Higher-Intensity Community-Based Services

  Even when people with SMI are authorized for community-based services, they often do
  not receive those services. Although Nebraska covers higher-intensity community-based
  services like ACT, it has under-developed its provider network. As just one example, the
  State currently has only three ACT teams. ACT is therefore unavailable to most
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   individuals who need it, with only 166 people throughout the state receiving the service in
   September 2022. 29 And although ACT is intended to be a long-term service,30 Nebraska
   routinely revokes authorization for the few people who receive the service once they start
   to improve. Nebraska also offers another higher-intensity service called Emergency
   Community Support (ECS), but ECS is short- term31 and only 145 individuals were enrolled
   in September 2022. 32 Similarly, Nebraskans with SMI report challenges obtaining
   permanent supportive housing. Without access to permanent supportive housing, people
   with SMI have few alternatives to ALFs.

   Limits on Supported Employment Services

   The State similarly restricts supported employment services. Instead of making these
   services broadly available, the State funnels Nebraskans with SMI into facility-based day
   programs, sometimes for many years. Direct service providers reported that integrated,
   competitive work experiences are crucial forth~ir clients' mental health recovery, but
   Nebraska's system makes it difficult to provide supported employment services. Day
   programs are more accessible, both in terms of the number of available providers and the
   State's willingness to authorize services, than supported employment. The State frequently
   denies supported employment services if the person is receiving any other services, like
   Community Support or Peer Supports, during the day. And across the board, providers
   have difficulty navigating the State's payment system for funding the services. In contrast,
   individuals

   "Neb. Medicaid State Plan, Methods and Standards for Establishing Payment Rates, Attachment 4.19-B,
   Item 13d, at la. Community Support services are billed in JS-minute units, up to a maximum of 144 units per
   180 days, i.e. 36 hours over an approximately 25.7-weekperiod (an average of 1.5 hours per week).

   "Neb. Response to Dep't of Justice Request for Information (June 16, 2023) (on file).

   "See U.S. Dep't of Health and Hum. Servs., Substance Abuse and Mental Health Servs. Admin, Ctr. for
   Mental Health Servs., Maintaining Fidelity to ACT: Current Issues and Innovations in Implementation 5
   (2023), https//store.samhsa.2.ov/sites/default/files/pep23-06-0 5-003 .pdf (describing ACT as "[t]ime-
   unlimited," where "[t]he ACT team provides services for as long as needed'' (emphasis added)).

   nNeb. Dep't of Health and Hum. Servs., Div. of Behavioral Health, Nebraska Continuum of Care Manual
   for Mental Health and Substance Use Disorders 25-26 (July 2022),
   littps://dhhs.ne.a.ov/Behavioral%20Hea!th~'o20Documents/Continmim%20ot%20Care%20Manua1.pdf.

   "Neb. Response to Dep't ofJusticeRequest for Information (June 16, 2023) (on file).

   receiving facility-based day program services can receive the service for extended periods
   of time, sometimes years.
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   Nebraska fails to provide facility-based day program participants with the information and
   help they need to transition to community-based jobs. Some day program participants who
   have expressed interest in working believe they have no choice but to stay in the facility all
   day. In theory, Nebraska offers benefits counseling to help individuals understand how
   they can work without jeopardizing their public benefits. Nebraska has long been aware of
   the need to "[a]ddress the misconception that persons with behavioral health disorders
   cannot work" and to provide benefits counseling. 33 But many people are unaware that
   benefits counseling exists, and providers tell them that they cannot work because they
   would lose access to benefits.

   Limits on Case Management

   Nebraska limits case management that people with SMI need to avoid unnecessary
   segregation in ALFs and day programs. Although case management is a covered service,
   Nebraska relies primarily on Community Support providers to perform some case
   management tasks, along with the other services they provide. This results in restricted
   case management hours for individuals with SMI because Nebraska limits Community
   Support services to an average of 90 minutes per week. This is not enough time to provide
   both necessary Community Support services and case management. 34

   Nebraska's limits on case management create a significant barrier to transitioning people
   with SMI from ALFs and day programs to integrated settings. Behavioral health providers
   across the State find the process of transitioning Nebraskans with SMI from facilities to
   community settings difficult and sometimes impossible. The State does not reimburse
   community-based providers for time spent transition planning for people with SMI living
   in ALFs. This leaves people with SMI and their families to find community-based services
   and housing opportunities on their own. People with SMI routinely discharge from
   institutions with no community-based services in place, making them at serious risk of
   having to enter ALFs or day programs. And when individuals with SMI reenter the
   community, the lack of case management further compounds their inability to secure
   services needed to avoid placement in ALFs and day programs.

   People with SMI need case management to coordinate the various services so they can find
   and maintain community-based housing and work. Effective case managers also help
   people with SMI transition from facilities to the community with appropriate services. But
   many Nebraskans with SMI receive no or limited case management. Some ALFs have
   never had a case manager visit a resident at the ALF. Some people with SMI are assigned a
   case manager
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  "Univ. of Neb. Coll. of Pub. Health, Nebraska Behavioral Health Needs Assessment 100-01 (Sept.
  2016),https://app l .unmc.edu/PublicAffairs/TodaySite/images/siteimages/BHStudy10 l l .pdf.

  "Community Support providers are expected to perform case management functions-including benefits
  applications, arranging medical appointments, and getting people to those appoinµnents-in addition to their
  core responsibilities of helping people with SMI live at home and work, and providing active rehabilitation
  and support interventions when an individual is in crisis. See 471 Neb. Admin. Code§ 35-004.0lA
  (describing Community Support service components).

  through their MCO. But MCO case managers are typically minimally involved with their
  clients. Hospital staff try to alert MCO case managers when people with SMI are admitted
  during a mental health crisis. But the MCO case managers often respond after the person
  has already discharged, or do not respond at all. Other providers have similar challenges
  contacting MCO case managers. Without a case manager who is familiar with the
  individual's preferences, service history, and community-based options, hospital staff
  typically refer the individual for ALF or other group housing instead of referring the
  person to permanent supportive housing, ACT, or other community-based services. The
  State is in the process of adding several services; including care coordination for some
  individuals with SMI living in ALFs. This positive step, without more, does not ensure that
  individuals with SMI who wish to transition from ALFs and day programs will receive the
  services they need to live and work in integrated, community settings.

  Limits on Crisis Response Services

  Nebraska's community-based crisis response services for people with SMI are, along with
  other community-based services, ooderdeveloped. In large areas of the State, police
  officers are often the first responders to mental health crises. When police officers respond
  to a mental health crisis, they may bring the person to a hospital or crisis center or arrest
  the person and charge them with a nuisance crime like loitering or disturbing the peace.
  Some jurisdictions in Nebraska have tried to make crisis response services more available,
  for example, by establishing mental health co-responder programs that pair behavioral
  health workers with law enforcement to respond to mental health crises. But these local
  efforts--concentrated in cities- are insufficient to plug the holes in the State's crisis
  response services.

  Impact on Nebraskans with SM/

  Nebraska's administration of behavioral health services keeps many individuals with SMI
  segregated in ALFs and day programs or in the community but at serious risk of
  segregation.
  For example, the capacity of ALF and day programs far exceeds the capacity of supported
  employment providers in the State. Indeed, State-commissioned reports have repeatedly
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  cited the need to expand access to supported employment services. 35 Yet the number of
  adults with SMI receiving supported employment services in the state has remained static
  for many years, as has the number of supported employment providers. 36 The State
  routinely authorizes community-based services just long enough for individuals with SMI
  to achieve stability living

  "Technical Assistance Collaborative, Nebraska Olmstead Plan Evaluation 9, 20-21 (Dec. 15,
  2021),https://nebraskalegislature.gov/FloorDocs/107/PDF/Agencies/Health_and _Human_ Services _Depart
  ment_of/708_2 02l l2 l 5-142757.pdf (noting the State's overarching goal of promoting employment for
  people with disabilities); Univ. of Neb. Coll. of Pub. Health, Nebraska Behavioral Health Needs
  Assessment 100-01 (Sept. 2016),
  https://app I .unmc.edu/PublicAffairs/TodavSite/imalles/siteimages/BHStudvl 01 I pdf; U.S. Dep't of Health
  and Hum. Servs., Ctr. For Mental Health Servs., Substance Abuse and Mental Health Servs. Admin.,
  Employment Development Initiative: Fiscal Year 2011 & 2012 Projects 17-19 (June 6, 2013),
  https://www.nasmhpd.org/sites/default/files/20 l 3 ED! .gdf.

  "Compare Liu, Heng-Hsian N., Policy and practice: an analysis of the implementation of supported
  employment in Nebraska 10 (2011) (unpublished Ph.D. dissertation, Univ. of Nebraska),
  ht.tps://digitaicommons.unl.edu/psvchdiss/30/, with Neb. Response to Dep't of Justice Request for
  Information (Oct. 3, 2022) (on file)

  at home or in their new jobs before terminating the service. By suddenly cutting off
  community- based services, Nebraska places people with SMI at serious risk of mental
  health decompensation and institutionalization. While these services should be aimed at
  supporting recovery, many people with SMI need varying levels of support over time and
  services must be available to meet those ongoing needs. 31 Like ACT, the supported
  employment services that Nebraska covers should be available for as long as necessary to
  assist individuals with SMI who have long-term support needs. 38 lnstead, the State generally
  only offers these individuals facility-based services.

  2. Nebraska Fails to Ensure that its Behavioral Health Service System Provides
  Covered Services in Integrated Settings.

  Nebraska fails to ensure that its State agencies, contractors (Managed Care Organizations
  and Regions), and service providers provide community-based services so that adults with
  SMI can live at home and work. Instead, Nebraska's system pushes individuals with SMI
  into ALFs and day programs. As discussed above, the State is responsible for
  administering its Medicaid and other services for people with SMI in a manner consistent
  with the ADA' s integration mandate. Yet Nebraska administers behavioral health services,
  including supported employment services, through various funding streams and multiple
  departments and contractors, in ways that favor ALF and day program services over
  community-based options. The entities within the behavioral health service system operate
  in silos. There is limited information sharing and service coordination across the State
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  agencies, Managed Care Organizations (MCOs), Regions, and service providers that
  Nebraska uses to authorize and provide behavioral health services.

  Nebraska's failure to ensure that its covered services are available in integrated settings
  results in unnecessary segregation. The Regions and the MCOs routinely funnel people
  with SMI to ALFs and day programs because the State has underdeveloped community-
  based services. Thus, thousands of people with SMI spend their days cloistered in
  segregated ALFs

  "See, e.g., U.S. Dep't of Health and Hum. Servs., Ctr. For Mental Health Servs., Substance Abuse and
  Mental Health Servs. Admin., Executive Order: Saving Lives Through Increased Support for Mental and
  Behavioral Health Needs Report 15 (Dec. 2020), tltps://www.samhsa uov/sites/default/files/saving-lives-
  mental-behavioral-health- needs.pdf ("A primary principle [of mental health services] must be the
  recognition that mental illness and SUDs [substance use disorders] are chronic, relapsing illnesses and, for
  those with more severe conditions, will require ongoing care. For many, this will take the form of ongoing
  case management and long-term care.").

  "U.S. Dep't of Health and Hum. Servs., Substance Abuse and Mental Health Servs. Admin, Ctr. for Mental
  Health Servs., Maintaining Fidelity to ACT: Current Issues and Innovations in Implementation 17-18
  (2023) httDs://store.samhsa.uov/si tes/default/fi !es/pc-p:23-06-05-003. pdf (supported employment services
  should be "continuous and time-unlimited" and "integrat[ed] with mental health services"). See also U.S.
  Dep't of Labor, Office of Disability Emp't Policy, Competitive Integrated Employment (CIE}, Mental
  Health, https://www.dol .uov/agencies/odep/pro 0 Tarn-areas/cie (last visited April 17, 2024) (increasing
  competitive integrated employment for individuals with SMI includes combining supported employment
  services with mental heal~ services to support life needs that must be addressed to pursue employment); JPS
  Employment Center, JPS Practice and Principles, https://ipsworks.on:dindex.pho/documents:'ips-practice-
  and-mincioles/ (last visited April 17, 2024) (one of the eight principles oflndividualized Placement and
  Support (JPS), a supported employment model for people with SMI, is time-unlimited support: "Job
  supports ... continue for as long as each worker wants and needs the support.").




  and day programs instead of receiving the services they need to live and work in the
  community. Many more are at serious risk of unnecessary segregation.

  Because the State's system operates in silos, Nebraska does not effectively gather and
  share information or coordinate entities to keep people with SMI from falling through the
  cracks and into institutions. For example, Nebraska does not consistently and accurately
  gather and analyze data about Nebraskans with SMI. Since Nebraska lacks information
  about its citizens with SMI, the State cannot determine which services these individuals
  need to leave or avoid entering ALFs and day programs. Nor does the State gather,
  analyze, or act on data about its community-based provider network's capacity to meet the
  needs of adults with SMI. There is a high demand for community-based services. But the
  State fails to identify individuals for whom community-based services are appropriate and
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  preferred and ensure sufficient community-based provider capacity. Instead, the system
  defaults to segregated settings.

  Impact on Nebraskans with SM/

  By failing to ensure the provision of behavioral health services in the community with
  effective oversight, the State has fostered a routine, system-wide practice of referring
  individuals who could receive services in the community to segregated ALFs and day
  programs instead. Indeed, behavioral health service providers across the system, including
  institutional and community-based providers, cite ALFs and day programs as the main
  service options for Nebraskans with SMI. Almost any need for community-based services
  triggers referral to an ALF-from challenges taking medications at home to discharging
  from LRC after years of hospitalization. Once admitted, ALF residents often enter day
  programs, too. See Section IV.A, above.

  V. Nebraska Could Remedy These Violations

  Nebraska could remedy these violations without fundamentally altering its behavioral
  health service system. 39 Nebraska already has a statutory goal of providing greater access to
  community-based services and improved outcomes for people with SMI. 4°Changes like
  those below, built on Nebraska's existing behavioral health service system, would
  reasonably modify the system by expanding community-based alternatives to treatment in
  segregated settings, allowing more Nebraskans with SMI to live and work in the
  community. 41

 _ "Public entities are required to make reasonable modifications to their services, programs, and activities to
   avoid discriminating against people with disabilities, 28 C.F .R. § 3 5.130(b)(7)(i), as long as the
   modifications are not a fundamental alteration, Olmstead, 527 U.S. at 603, 607.-

  "Neb. Rev. Stat. § 71-810(l)(a) ("[DBH] shall encourage and facilitate the statewide development and
  provision of an appropriate array of community-based behavioral health services and continuum of care for
  the purpose□ of providing greater access to such services and improved outcomes for consumers of such
  services.").

  •1   Radaszewski v. Maram, 383 F.3d 599, 611-12 (7"'Cir. 2004) (providing existing services in the community
  is a reasonable modification); Henrietta D. v. Bloomberg, 331 F.3d 261, 280-81 (2d Cir. 2003) (changes
  and increased access to existing services are reasonable modifications); Guggenberger v. Minn_, 198 F.
  Supp. 3d 973, 1030 (D. Minn. 2016) (providing existing Medicaid waiver services to eligible people is a
  reasonable modification); Haddad v. Arnold, 784 F. Supp. 2d 1284, 1304-05 (M.D. Fla. 2010); Messier v.
  Southbury Training Sch., 562 F. Supp. 2d 294, 344-45 (D. Conn. 2008).


   First, Nebraska could expand access to its existing community-based services like
   Community Support, ACT, case management, and permanent supportive housing, and
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  ensure sufficient provider capacity so that Nebraskans with SMI can receive the services
  they need to transition to, or remain in, the community. The State should authorize services
  to fill the day-to- day needs of individuals with SMI. Case managers should follow their
  clients throughout the State's behavioral health service system, so that clients receive
  consistent, continuous, and timely information and service coordination.

  Second, Nebraska could offer supported employment services, including benefits
  planning, to every person with SMI receiving State-administered behavioral health services
  who expresses an interest in working. Nebraska could streamline its approval and funding
  processes for supported employment services so that people with SMI experience
  continuous and seamless service delivery. Supported employment service authorization
  and funding should continue for as long as the person needs supported employment
  services to pursue their employment goals.

  Third, Nebraska could ensure that services it covers for individuals with SMI, regardless of
  whether Nebraska uses contracted or licensed entities to authorize or connect individuals to
  the service, are available and accessible in the community. This could involve enforcing
  existing contracts requiring that necessary services be provided in the community.

  Fourth, Nebraska could administer its behavioral health service system to communicate
  and coordinate across State agencies and contracted entities. DBH could serve as the
  State's hub for information and technical support relating to behavioral health services,
  including employment services, for people with SMI. The State should develop a process
  for collecting and analyzing accurate, up-to-date information about Nebraskans with SMI
  and their service needs and preferences, and the State's provider network capacity.

   Fifth, Nebraska could identify people with SMI in ALFs and day programs who may be
  open to living and working in the community. Nebraska could educate these individuals
  about community-based options and provide transition planning to people who want to
  move. Transition planning should start with the presumption that people with SMI can live
  and work in the community with the right services in place. Transition planning should be
  person-centered, and identify and arrange the services the person needs to move to, live,
  and work in the community.

   VI. Conclusion

   We would like to work cooperatively with you to resolve the Department's findings. We
   hope to enter settlement negotiations with Nebraska and agree on changes the State will
   make to remedy the violations. If Nebraska will not negotiate, or if our negotiations fail,
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  the United States may take appropriate action-including filing a lawsuit-to remedy the
  State's ADA violations. 42

  "We will share a copy of this letter with the complaining parties. Under 28 C.F.R. § 35.172(d), a complainant
  may file a private suit at any time under Title II of the ADA, 42 U.S.C. § 12133.




      12. The plaintiff will also show and prove with video recording, audio recording as
           well as pictures of proof of burned of this case by the defendants
           l1ttps://aicbhm~ad.a,_gov/tm,veJ:JtcoJILm.l1tm


    U.S. Department of Justice
   Civil Rights Division
   Disability Rights Section




  Communicating with People Who Are Deaf or Hard
  of Hearing: ADA Guide for Law Enforcement
   Officers


  As a law enforcement officer, you can expect to come into contact with people who
   are deaf or hard of hearing. It is estimated that up to nine percent of the population
   has some degree of hearing loss, and this percentage will increase as the population
   ages.

   Under the Americans with Disabilities Act (ADA), people who are deaf or hard of
   hearing are entitled to the same services law enforcement provides to anyone else.
   They may not be excluded or segregated from services, be denied services, or
   otherwise be treated differently than other people. Law enforcement agencies must
   make efforts to ensure that their personnel communicate effectively with people
   whose disability affects hearing. This applies to both sworn and civilian personnel.
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  Your agency has adopted a specific policy regarding communicating with people who
  are deaf or hard of hearing. It is important to become familiar with this policy.


  Requirements for Effective Communication

  The ADA requires that ...

  Law enforcement agencies must provide the communication aids and services
  needed to communicate effectively with people who are deaf or hard of hearing,
  except when a particular aid or service would result in an undue burden or a
  fundamental change in the nature of the law enforcement services being provided.
  Agencies must give primary consideration to providing the aid or service requested by
  the person with the hearing disability.
  Agencies cannot charge the person for the communication aids or services provided.
  Agencies do not have to provide personally prescribed devices such as hearing aids.
  When interpreters are needed, agencies must provide interpreters who can interpret
  effectively, accurately, and impartially.
  Only the head of the agency or his or her designee can make the determination that a
  particular aid or service would cause an undue burden or a fundamental change in
  the nature of the law enforcement services being provided.

  Your agency's policy explains how to obtain interpreters or other communication aids
  and services when needed.


  Communicating with People Who are Deaf or Hard of Hearing

  Officers may find a variety of communication aids and services useful in different
  situations.

  Speech supplemented by gestures and visual aids can be used in some cases.
  A pad and pencil, a word processor, or a typewriter can be used to exchange written
   notes.
  A teletypewriter (TTY) can be used to exchange written messages over the telephone.
  An assistive listening system or device to amplify sound can be used when speaking
  with a person who is hard of hearing.
  A sign language interpreter can be used when speaking with a person who knows sign
  language.
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  An oral interpreter can be used when speaking with a person who has been trained to
  speech read (read lips). Note: Do not assume that speech reading will be effective in
  most situations. On average, only about one third of spoken words can be
  understood by speech reading.

  The type of situation, as well as the individual's abilities, will determine which aid or
  service is needed to communicate effectively.


  Practical Suggestions for Communicating Effectively

  Before speaking, getthe person's attention with a wave of the hand or a gentle tap on
  the shoulder.
  Face the person and do not turn away while speaking.
  Try to converse in a well-lit area.
  Do not cover your mouth or chew gum.
  If a person is wearing a hearing aid, do not assume the individual can hear you.
  Minimize background noise and other distractions whenever possible.
  When you are communicating orally, speak slowly and distinctly. Use gestures and
  facial expressions to reinforce what you are saying.
  Use visual aids when possible, such as pointing to printed information on a citation
  or other document.
  Remember that only about one third of spoken words can be understood by speech
  reading.
  When communicating by writing notes, keep in mind that some individuals who use
  sign language may lack good English reading and writing skills.
  If someone with a hearing disability cannot understand you, write a note to ask him or
  her what communication aid or service is needed.
  If a sign language interpreter is requested, be sure to ask which language the person
  uses. American Sign Language (ASL) and Signed English are the most common.
  When you are interviewing a witness or a suspect or engaging in any complex
  conversation with a person whose primary language is sign language, a qualified
  interpreter is usually needed to ensure effective communication.
  When using an interpreter, look at and speak directly to the deaf person, not to the
  interpreter.
  Talk at your normal rate, or slightly slower if you normally speak very fast.
  Only one person should speak at a time.
  Use short sentences and simple words.
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  Do not use family members or children as interpreters. They may lack the vocabulary
  or the impartiality needed to interpret effectively.


  What Situations Require an Interpreter?

  Generally, interpreter services are not required for simple transactions - such as
  checking a license or giving directions to a location - or for urgent situations - such as
  responding to a violent crime in progress.

  Example: An officer clocks a car on the highway going 15 miles per hour above the
  speed limit. The driver, who is deaf, is pulled over and is issued a noncriminal
  citation. The individual is able to understand the reason for the citation because the
  officer points out relevant information printed on the citation or written by the officer.

  Example: An officer responds to an aggravated battery call and upon arriving at the
  scene observes a bleeding victim and an individual holding a weapon. Eyewitnesses
  observed the individual strike the victim. The individual with the weapon is deaf.
  Because the officer has probable cause to make a felony arrest without an
  interrogation, an interpreter is not necessary to carry outthe arrest.

  However, an interpreter may be needed in lengthy or complex transactions -such as
  interviewing a victim, witness, suspect, or arrestee - if the person being interviewed
  normally relies on sign language or speech reading to understand what others are
  saying.

  Example: An officer responds to the scene of a domestic disturbance. The husband
  says the wife has been beating their children and he has been trying to restrain her.
  The wife is deaf. The officer begins questioning her by writing notes, but her response
  indicates a lack of comprehension. She requests a sign language interpreter. In this
  situation an interpreter should be called. If the woman's behavior is threatening, the
  officer can make an arrest and call for an interpreter to be available later at the
  booking station.

  It is inappropriate to ask a family member or companion to interpret in a situation like
  this because emotional ties may interfere with the ability to interpret impartially.

  Example: An officer responds to the scene of a car accident where a man has been
   seriously injured. The man is conscious, but is unable to comprehend the officer's
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  questions because he is deaf. A family member who is present begins interpreting
  what the officer is saying.

  A family member or companion may be used to interpret in a case like this, since it is
  an emergency involving an imminent threat to the safety or welfare of an individual
  and no interpreter is available. However, in general, do not expect or demand that a
  deaf person provide his or her own interpreter. As a rule, when interpreter service is
  needed, it must be provided by the agency.

  List your agency's contact information for obtaining an interpreter, an assistive
  listening device, or other communication aid or service here.

     13. The plaintiff also backs up the findings against all defendants in there official
         capacity in the matter of city of Bellevue city it self's says this to help this case
         as such .b11p_s:/Lwww~b_eJJ.e_v1te,_lle.tlinto1.mati_onl'.acta/__owsJLLe.w The Americans
         with Disabilities Act (ADA) prohibits all state and local governmental agencies
         from discriminating against persons with disabilities and from excluding
         participation in, or denying benefits of programs, services or activities to,
         persons with disabilities.


         It is the policy and practice of the City of Bellevue to ensure exceptional public
         service by providing full access to programs, services, and activities for all
         members of the public, including persons with disabilities. The City
         continually strives to eliminate ba~riers that may prevent persons with
         disabilities from access to or participation in City programs, services,
         activities, and facilities.


         For more information about the City's efforts towards ADA compliance,
         please review the ADA Public Notice and ADA Transition Plan available under
         Quick Links on the left, which was approved by the City Council in February
         2013.


         The City of Bellevue shall make reasonable modifications in policies,
         practices, and procedures when the modifications are necessary to avoid
         discrimination on the basis of disability, unless the City can demonstrate that
         ma king the modifications would fundamentally alter the nature of the service,
         program, or activity. If you would like to make a requestfor Reasonable
         Accommodation, please select the City of Bellevue's Reasonable
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        Accommodation or Accommodation Request Form available under Quick
        Links on the left.

        If you would like to submit a grievance, please select the City of Bellevue
        Grievance Policy and Procedure or the ADA Grievance Form available under
        Quick Links on the left.

        The City of Bellevue is committed to preventing or elimination barriers that
        may prevent persons with disabilities from employment opportunities, access
        to City facilities, or participating in programs, activities, and services.




     14. The plaintiff also has found that the defendants of the Bellevue police
        department and its officers have major history of police misconduct as well
        and this is not the first time by high rark officers
        htt~Ll101WW,_b__e_llfillu_e_,oo!Linfill.ma1i®L@_e.n1=r~alen_d_ar1a_lfil0.Hj st/city-of-
        b_eJLe--'il.JB.=s.:taleJlliill.1::J__e_garuing:b_elt.ff•iLu_a::p_oll_c_6.=rJJj_eJ::.all.e_gatim1,5_::_0f:.
        11J.i..s.c.o.ru:1 City of Bellevue Statement Regarding Bellevue Police Chief;
        Allegations of Misconduct
        Bellevue City Attorney Patrick Sullivan has issued the following press release
        regarding Bellevue Police Chief Mark Elbert; allegations of misconduct:
        "September 14, 2017
        Re: Bellevue Police Chief Mark Elbert; allegations of misconduct
        Bellevue, Nebraska - This is a personnel matter which will remain confidential,
        but the BPOA's press release will not lessen the City's focus on investigating
        and disciplining any alleged acts of employee impropriety.
        This also relates to matters in dispute before the Commission of Industrial
        Relations, and notwithstanding the BPOA comments, the City is respecting
        the Commission and will move forward with adjudication through that body
        and not through media comments.
        Further, Chief Elbert has requested to be on administrative leave during the
        investigation. His leave has been granted. Captain Dave Stukenholtz has been
        designated Acting Police Chief.
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      15.       Amend To update              The plaintiff also backs up the
         findings against all defendants in there official capacity in
         the matter of city of Bellevue city
             a. Impression 1. Tiny disc protrusion at the C3-4 level
                does not result in significant spinal canal or neural
                foraminal stenosis. 2. Otherwise unremarkable MRI
                spine.
                Narrative

   REASON FOR EXAM:Cervicalgia. Neck pain and left arm
   numbness. DISCUSSION: Comparison:None. Technique:
   Multiplanar multisequence imaging of the cervical spine
                  \


   without contrast. Findings: Nonenhanced MRI evaluation of the
   cervical spine demonstrates normal alignment of the anterior
   and posterior elements without evidence of significant
   subluxation. Cervical vertebral body l1eights are maintained.
   Marrow signal is benign. Alignment at the craniocervical
   junction is normal. The visualized portions of the posterior fossa
   including the cerebellar tonsils are normal. No abnormal signal
   is identified within the cervical spinal cord. No syrinx is noted.
   No cervical epidural fluid collection is identified. C1-C2:
   Normal C2-3: Normal C3-4: There is a tiny central disc
   protrusion whicl1 only minimally indents the ventral thecal sac
   without abutting or there is uncovertebral joint spurring. Facets
   are normal. No spinal canal or neural foraminal stenosis is
   noted. C4-5: Norn1al C5-6: Normal C6-7: Normal C7-T1: Normal
   The visualized neck soft tissues are unremarkable. 1,. ii"-i: .;.::::,k,: 1
   : Negative cervical spine.
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  REASON FOR EXAM: Neck pain DISCUSSION: Two views of the cervical spine.
  Vertebral bodies are normal in stature and alignment. lntervertebral disc spaces
  are maintained. There is no fracture, subluxation, or destructive lesion. The
  prevertebral soft tissues and pulmonary apices are unremarkable.

  Planned Procedures ENDOSCOPIC RELEASE CARPAL TUNNEL
  Performed by Gangadasu Reddy and Megan Kucks Anesthesia
  Preprocedure Evaluation Tin Tran at 8/6/2024 8:07 PM

               Review of Systems and Medical History

                Patient summary reviewed. Labs reviewed.

               Patient has a negative history of anesthetic complicati<

                Pulmonary

               (+) Patient has a positive history of asthma. (+) Patient I
               history of sleep apnea. Patient uses CPAP. Patient has
               history'of cigarette smoking (Former, quit 2017 after 40

                Neu ro/Psych

                (+) Patient has a positive history of headaches. (+) PatiE
                positive psychiatric history (PTSD, OCD), bipolar disorc
               depression, anxiety.

                Comments: Right carpal tunnel syndrome

                (+) substance abuse (Sober since 2017), cocaine used
               fentanyl use detected, methamphetamines use detect
                oxycodone use detected,
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             (+) Patient has a positive history of alcohol use (H/o EtOH use·
             disorder, sober since 2017) :

             Cardiovascular
             Exercise tolerance is 4-10 METS.(+) Patient has a positive history
             dysrhythmias (Incomplete RBBB). (+) Patient has a positive histol".
             of hypertension. (+) Patient has a positive history of hyperlipidemi
              ECG reviewed.

             Comments:
              EKG 4/1/24: SB with incomplete RBBB

              GI/Hepatic/Renal

              (+) Patient has a positive history of GERO.

              Comments: S/p gastric bypass

              Endocrine

              Review of endocrine system is negative. OB/GVN

              Not applicable.

              Rheum/Musculoskeletal

              (+) Patient has a positive history of arthritis.

              Hematology/Oncology

              Review of hematology/oncology is negative.Patient has a negative
              history of anemia. Patient has a negative history of
              thrombocytopenia. Other
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                Additional Comments:
                Transgender
                Hard of Hearing with Hearing aids

                Anesthesia Physical Exam

                Airway

                Mallampati score: II

                TM distance: >3 FB Neck ROM: full Mouth opening: normal

                Dental

                Dental exam normal. cardiovascular

                PULMONARY BODY HABITUS normal FACIAL HAIR

     Estimated body mass index is 42.76 kg/m 2 as calculated from the followir

     Height as of this encounter: 177.8 cm {5' 1O").

     Weight as of this encounter: 135.2 kg (298 lb).

      There were no vitals taken for this visit.

     Anesthesia Typem General and TIVA

     Anesthesia Plan Mask Multimodal Pain Management Score 3 Induction

     intravenouslnformed ConsentAnesthetic plan and risks discussed with
     patientMedications:
     Medications list was documented, updated, or reviewed

     IMAGING/RESULTS REVIEW
           b.
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      16.       The plaintiff also backs up the findings against all
           defendants in there official capacity in the matter of city of
           Bellevue city anesthesia Postprocedure Evaluation

   Chantal Afuh-Leflore at 8/7/202411 :36 AM Prepare for Your
   Visit

           Want an earlier time?Get on the Wait List

      All questionnaires for this appointment will be available for
      you to answer on Saturday September 07, 2024.

           Directions for CHI Health Clinic Family Medicine -
           lmmanuellmmanuel Hospital - Medical Building One -
           Next to ER. Take elevator C to 3rd 6th floor.6829 N 72nd
           StreetMedical Office Building One Suite 6200

      Omaha, NE 68122

      Phone: (402) 572-3900

      Fax: (402) 572-3793

      Visit lnstructionsBe sure to brjng any paperwork you may
      have received from your surgeon for this visit.

       Please arrive 15 minutes prior to your appointment time with
      all of your medications, a copay if applicable, your insurance
      card, and photo ID. If you have had immunizations within the
      past 6 months outside CHI Health Clinic, please bring a
      record of those as well.

       If patient is age Oto 18 years old in Nebraska or age Oto 17
      years old in Iowa :
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   Minor patient seen without a parent or guardian present:
   Provider permission required (VRC call Must Answer).

      17.    The plaintiff also backs up the findings against all
        defendants in there official capacity in the matter of city of
        Bellevue city ENDOSCOPIC RELEASE CARPAL TUNNEL
        with Gangadasu Reddy Expected on Monday September
         16,2024
        CHI Health Immanuel
      6901      72nd StreetOmaha NE 68122-1709 402-572- 2121
       . This visit cannot be canceled online. To cancel, please
         call 402-572-212
      18.       The plaintiff also backs up the findings against all
         defendants in there official capacitiin the matter of city of
         Bellevue cityAs also Dr Figgy has set surgery on Nov 27 2024 to refix the
        left breast that the defendants willfully and knowingly caused badly injury
         intentionally
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     2CPERIOP-2ND FLOOR
     CLARKSON TOWER PERIOP


     4350 Dewey Ave.
     Clarkson Tower, 2nd Floor
     Omaha NE 68198-1010


     40 2-552-3288




     CAPSULECTOMY-BREAST W ITH
     IMPLANT EXCHANGE
                                 ct




     VAGINOPLASTY - MALE TO FEMALE
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      19. The plaintiff also backs up the findings against all

          defendants in there official capacity in the matter of city of
          Bellevue city did in fact on April 30 2024 intentionally
         Did break the laws of intimidations as well as conflict of interest AS THE LAWS
         OF CITY, STATE, FEDERAL, CIVIL, HUMAN RIGHTS AS WELL AS THE
         DEPARTMENT OF JUSTICE AND THE COURT OF LAWS NO ONE SHALL
         interfere nor intimidate nor shall be a conflict of interest at all of any sort while a
         case is active or they shall plead guilty and be arrested . the plaintiff on 4-30-2024
         in her legal stand by all laws of city state federal ada laws as well as the
         department of justice under the law What does police corruption mean?
  Corruption, in general, is defined as the misuse of power or authority for private gain.
  Therefore, a fitting definition for police corruption might be, the misuse of a police officer's
  power or authority for personal or material gain for himself or others.
         What are the main causes of police corruption?

          Police corruption occurs in departments where an imbalance of power can be
          found. Police corruption can also occur where supervisors are quick to turn their
          heads, where there is an us vs. them mentality, and where resources and funding
          are lacking.
          Types of police corruption can be violent, sexual, or criminal in nature, or all three.
          An officer may accept bribes, coerce confessions, or use excessive force for
          improper gains for himself or others. In order to protect citizens against police
          misconduct and prevent officers from ab~sing the power they are given, there are
          many rules set up in the U.S. Constitution and its amendments. Under the Fourth
          Amendment, authorities cannot search or seize the property of a suspect, or arrest
          him or her, without a specific warrant created for these actions or with probable
          cause, meaning that officers had enough evidence to believe a crime had been
          committed. Police who commit such acts without a warrant or probable cause is
          guilty of illegal search and seizure and/or false arrest.

          In addition, the Fifth Amendment sets in place the need for due process of the law,
          prohibiting unlawful trial and leading to the creation of the Miranda Rights. Every
          suspect arrested must be read their rights by an authority when placed under
          arrest in order to guarantee that he or she knows what they can do and what can
          be used against them during an arrest and trial. Among the rights given by the
          Eighth Amendment, arrestees cannot be subject to excessive bail or fines, and
          cannot be subjected to cruel and unusual punishment, such as torture.

          While these are just some of the laws set to uphold citizens' rights and prevent
          abuses of power by authorities, there are many more detailing further rights.
          Unfortunately, these laws can still be broken and unlawful actions hidden by
          officers of the law. 25-328.
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        Intervention; right; procedure.

          •   Any person who has or claims an interest in the matter in litigation, in the
              success of either of the parties to an action, or against both, in any action
              pending or to be brought in any of the courts of the State of Nebraska, may
              become a party to an action between any other persons or corporations,
              either by joining the plaintiff in claiming what is sought by the complaint, or
              by uniting with the defendants in resisting the claim of the plaintiff, or by
              demanding anything adversely to both the plaintiff and defendant, either
              before or after issue has been joined in the action, and before the trial
              commences. 2. Procedure
          •   For a court as a preliminary matter to permit intervention as a matter ofright, the
              intervenor must plead some interest in the subject matter of the litigation to give
              him or her standing in court, describing the ultimate facts evidencing the
              intervenor's interest in the matter of litigation; otherwise, the intervenor is a mere
              interloper and wholly incompetent t<? challenge the contentions of the opposing
              parties. Carroll v. Gould, 308 Neb. 12; 952 N.W.2d 1 (2020).

          •    Where no motion is filed under Neb. Ct R. Pldg. § 6-1112, a hearing and ruling on a
               complaint to intervene is not required any more than it would be for any other
               complaint, though the Supreme Court has indicated that a court may exercise sua
               sponte its authority to exclude from the case an intervenor whose pleadings do not
               disclose a direct interest in the matter in litigation. Carroll v. Gould, 308 Neb. 12,
               952 N.W.2d 1 (2020).
          •   •Intervention after judgment cannot be obtained as a matter of right under this
               section. Leave to inteivene after the entry of a final decree is not allowable as a
               matter of right and should seldom be granted, but equity sometimes requires a
               departure from the general rule; however, the burden of persuasion in such a case
               is a heavy one. Jeffrey B. v. Amy L., 283 Neb. 940, 814 N.W.2d 737 (2012) .
          •
          •   May become party to suit without leave of court. Spalding v. Murphy, 63 Neb. 401,
              88 N.W. 489 (1901).
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     20. The plaintiff also backs up the findings against all defendants

         in there official capacity in the matter of city of Bellevue city
         did in fact on April 30 2024 intentionally tampered with
         evidence willing and knowing of conflict 2s-922. 25 CFR § 11.440-
         Tampering with or fabricating physical evidence.§ 3-501.7. Conflict of interest;
         current clients.      [5] Unforeseeable developments, such as changes in
         corporate and other organizational affiliations or the addition or
         realignment of parties in litigation, might create conflicts in the midst of a
         representation, as when a company sued by the lawyer on behalf of one
         client is bought by another client represented by the lawyer in an unrelated
         matter. Depending on the circumstances, the lawyer may have the option
         to withdraw from one of the representations in order to avoid the conflict.
         The lawyer must seek court approval where necessary and take steps to
         minimize harm to the clients. See Rule 1.16. The lawyer must continue to
         protect the confidences of the client from whose representation the lawyer
         has withdrawn. See Rule l.9(c).
 Tampering with physical evidence; penalty; physical evidence, defined.
 (1) A person commits the offense of tampering with physical evidence if, believingthatan official
 proceeding is pending or about to be instituted and acting without legal right or authority, he or she
 (b) Knowingly makes, presents, or offers any false physical evidence with intent that it be introduced
 in the pending or prospective official proceeding.

 (2) Physical evidence, as used in this section, shall mean any article, object, document, record, or other
 thing of physical substance. (3) Tampering with physical evidence is a Class IV felony, except that if
 such offense involves a pending criminal proceeding which alleges a violation of another offense
 classified:

 (a) As a Class II misdemeanor or a lower classification or a violation of a city or village ordinance, the
 offense is a Class I misdemeanor; or

 (b) As a Class II felony or a higher classification, the offense is a Class II felony.

 Source
            •    Laws 1977, LB 38, § 207:
            •    Laws 2019. LB496, § 3.
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 Annotations
          •    The crime of tampering with physical evidence, as defined by subdivision (1)(a) of this
               section, does not include mere abandonment of physical evidence in the presence of law
               enforcement. State v. Lasu, 278 Neb. 180, 768 N.W.2d 447 (2009).
           • To conceal or remove physical evidence, within the meaning of subdivision (1) (a) of this
               section, is to act in a way that will prevent it from being disclosed or recognized. State v.
               Lasu, 278 Neb. 180, 768 N.W.2d 447 (2009).
    •   What Are the Penalties for Tampering With Evidence?
    •   In Nebraska, because tampering with physical evidence is a Class IV Felony, those charged
        could face:
    •   Up to 2 years in prison, and
    •   A fine of up to $10,000.
    •   There are only narrow exceptions to the felony charge. The Nebraska destroying evidence law
        deals with offenders swiftly and harshly.
          •
    21.     The plaintiff also backs up the findings against all
       defendants in there official capacity in the matter of city of
       Bellevue city did in fact on April 30 2024 intentionally

 Investigations and Prosecutions
 The Department of Justice ("The Department") vigorously investigates and, where the
 evidence permits, prosecutes allegations of Constitutional violations by law enforcement
 officers. The Department's investigations most often involve alleged uses of excessive
 force, but also include sexual misconduct, theft, false arrest, and deliberate indifference to
 serious medical needs or a substantial risk of harm to a person in custody. These cases
 typically involve police officers, jailers, correctional officers, probation officers,
 prosecutors, judges, and other federal, state, or local law enforcement officials. The
 Department's authority extends to all law enforcement conduct, regardless of whether an
 officer is on or off duty, so long as he/she is acting, or claiming to act, in his/her official
 capacity.

 In addition to Constitutional violations, the Department prosecutes law enforcement
 officers for related instances of obstruction of justice. This includes attempting to prevent
 a victim or witnesses from reporting the misconduct, lying to federal, state, or local
 officials during the course of an investigation into the potential misconduct, writing a false
 report to conceal misconduct, or fabricating evidence.

 The principles of federal prosecution, set forth in the United States Attorneys' Manual
 ("USAM"), require federal prosecutors to meet two standards in order to seek an
 indictment.
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 First, the government must be convinced that the potential defendant committed a federal
 crime. Second, the government must also conclude that the government would be likely to
 prevail at trial, where the government must prove the charges beyond a reasonable doubt.

       The federal criminal statute that enforces Constitutional limits on
       conduct by law enforcement officers is 18 U.S.C. § 242. Section
       242 provides in relevant part:"Whoever, under color of any law,
       ... willfully subjects any person ... to the deprivation of any rights,
       privileges, or immunities secured or protected by the Constitution
       or laws of the United States [shall be guilty of a crime]."Section
       242 is intended to "protect all persons in the United States in their
       civil rights, and furnish the means of their vindication." Screws v.
       United States, 325 U.S. 91, 98 (1945) (quoting legislative
       history).

    To prove a violation of§ 242, the government must prove each of
    the following elements beyond a reasonable doubt: (I) that the
    defendant deprived a victim of a right protected by the Constitution
    or laws of the United States, (2) that the defendant acted willfully,
    and (3) that the defendant was acting under color of law. A violation .
    of§ 242 is a felony if one of the following conditions is met: the
    defendant used, attempted to use, or threatened to use a dangerous
    weapon, explosive or fire; the victim suffered bodily injury; the
    defendant's actions included attempted murder, kidnapping or
    attempted kidnapping, aggravated sexual abuse or attempted
    aggravated sexual abuse, or the crime resulted in death. Otherwise,
    the violation is a misdemeanor.

    Establishing the intent behind a Constitutional violation requires
    proof beyond a reasonable doubt that the law enforcement officer
    knew what he/she was doing was wrong and against the law and
    decided to do it anyway. Therefore, even if the government can
    prove beyond a reasonable doubt that an individual's Constitutional
    right was violated,§ 242 requires that the government prove that the
    law enforcement officer intended to engage in the unlawful conduct
    and that he/she did so knowing that it was wrong or unlawful. See
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    Screws v. United States, 325 U.S. 91, 101-107 (1945). Mistake, fear,
    misperception, or even poor judgment does not constitute willful
    conduct prosecutable under the statute.

Physical Assault

 In cases of physical assault, such as allegations of excessive force by an
 officer, the underlying Constitutional right at issue depends on the
 custodial status of the victim. If the victim has just been arrested or
 detained, or if the victim is being held in jail but has not yet been
 convicted, the government must, in most cases, prove that that the law
 enforcement officer used more force than is reasonably necessary to
 arrest or gain control of the victim. This is an objective standard
 dependent on what a reasonable officer would do under the same
 circumstances. "The 'reasonableness' of a particular use of force must
 be judged from the perspective of a reasonable officer on the scene,
 rather than with the 20/20 vision of hindsight." Graham v. Connor, 490
 U.S. 386, 396-97 (1989).

        If the victim is a convicted prisoner, the government must show
        that the law enforcement officer used physical force to punish ,
        retaliate against, an inmate, or otherwise cause harm to the
        prisoner, rather than to protect the officer or others from harm or
        to maintain order in the facility. See Whitley v. Albers, 475 U.S.
        312,319 (1986).

 Deliberate Indifference to a Serious Medical Condition or a Substantial
 Risk of Harm
 Section 242 prohibits a law enforcement officer from acting with deliberate indifference
 to a substantial risk of harm to persons in custody. Therefore, an officer cannot
 deliberately ignore a serious medical condition of or risk of serious harm (such as a risk
 that an inmate will be assaulted by other inmates or officers) to a person in custody. To
 prove deliberate indifference, the government must prove that the victim faced a
 substantial risk of serious harm; that the officer had actual knowledge of the risk of harm;
 and that the officer failed to take reasonable measures to abate it.
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Failure to Intervene
An officer who purposefully allows a fellow_officer to violate a victim's Constitutional
rights may be prosecuted for failure to intervene to stop the Constitutional violation. To
prosecute such an officer, the government must show that the defendant officer was
aware of the Constitutional violation, had an opportunity to intervene, and chose not to do
so. This charge is often appropriate for supervisory officers who observe uses of excessive
force without stopping them, or who actively encourage uses of excessive force but do not
directly participate in them.

https://www.justice.gov/crt/law-enforcernent-1nisconduct
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                   ~ Va\ f 20 4, you submitted paperwork and I later spoke to you on the t e ~ ,epc . . .
               -,~nc-ems with the actions of three Bellevue Police Officers during a contact with you on Aprtt ~ .

                    our concerns regarding the actions of the Bellevue Police Officers during that contact have bNlt
          investigated. The following includes, but is not limited to, information that was reviewed ~ 1llls
          1 vestigation:

                          Verbal statements/ written documents provided by you
                          Statements from the officers involved
                          Witness statement(s)
                           Police reports/recordings and Department documentation
                           Audio/Video recording of incident
                           Department Polley / Nebraska State Statutes

                  The complete investigation has been m,iewed by the officers' DMslon Coowwlder., .l I tMll
          Chief of Police and the Chief of Police. lhe Chief of Police has determined the fnlnas based on tbe
          actions of the officers Involved in this allegation as "Exonerated".

                   I appredate you taking the time to bring this c:oncem to our •ttenaon. • aw
          ·o Sf:r~e the community with courage and integrity. I hope that any future contacts with 8elfNuePolc:a
         Officers will be more positive. If you have a question or concern about police services in the future, please
         contac my office.




       Lieutenant Howard Banks
       Office of Professional Standards
      {402)293-3084
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Section 2. STANDARD OF REVIEW that
the following allegations .are made
 concerning the defendants:


   1. The Nebraska state is guilty by the department of justice findings and the case is
      called state of Nebraska vs department of justice and all other defendants break
      not only the ADA laws but assaulting disabled people as well as the government
                                             1

      corruption and breaking the bill of rights state laws city laws as well as federal laws
      as well as police misconduct and refuse to charge the officers or others that are in
      co-conspiracy government corruption and then allow them to hide behind the tort
      claim to have victims jump and allow them other defendants to file motion to
      dismiss and untruth and lies about the attacks and assaults from cops on citizen
      loops and then suffer when the plaintiff is being wrongful thus this is why they need
      to take action and Marshall law of all the other defendants and the defendant united
                                             '
      states president should hold all defendants in question and in jail as they the truth
      of the plaintiff should come out and be show in court.



   2. On the date of April 30th , 2024, the defendants in official capacity Officer J Haggis
      and Officer D Bafaro Sargent McDaniel unknow LT of Bellevue police did with 100%
      intention refused by law 20-152 1Otimes a ASL interpret for the plaintiff as well as
      handcuff her in the back and not allow her to use her hands



   3. On the date of April 30th, 2024, the defendants in official capacity Officer J Haggis
      and Officer D Bafaro did cause bodily harm injury after the plaintiff was just
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      reaching for her purse for driver license and registries in glove box UNM DR Figgy will
      testy and have medical records and audio recording



   4. On the date of April 30th , 2024, the defendants in official capacity Officer J Haggis
      and Officer D Batara did willing and acknowledged as they walked back behind the
      2011 Kia Sorento ex CERT storm chaser vehicle seeing the decal of medical alert
      signs on her back window of the ADA laws and still refused to follow the Federal,
      city and state law



   5. On the date of April 30th, 2024, the defendants in official capacity Officer J Haggis
      and Officer D Batara Sargent McDaniel did cause property damage ripping out wires
      and messing with Relliott community emergency respond team Inc Ambulance
      causing property damage of value $8,932.12


   6. On the date of April 30th 2024 the defendants in official capacity Officer J Haggis and
      Officer D Batara Sargent McDaniel di~ cause damage to the front end of the 2011
      Kia Sorento Relliott Community Emergency respond team Inc $3,239.21 to the front
      end of the vehicle while violation of the 8th amendment they said it was police policy
      to two unit 187 however that is a lie when there was a other owner present of the
      company to get a other employee to come get it but the officers all refused there for
      the 8th amendment say The Eighth Amendment prohibits certain types of
      punishment: excessive bail, excessive fines, and cruel and unusual punishments.1
      As discussed in more detail in the following essays, these prohibitions were
      intended to protect persons convicted of crimes from government abuses of
      power.2 Viewed broadly, the Eighth Amendment responded to these historically
      grounded concerns about disproportionate or cruel punishments by attempting to
      ensure that punishment is proportioned to both the offender and the offense.3
      What is excessive is also determined by reference to modern standards; the
      Supreme Court has suggested proportionality may evolve over time.4 Out of the
      Eighth Amendment's three clauses, the bar on cruel and unusual punishment has
      been most frequently interpreted by the Supreme Court, likely in part due to
      inherent ambiguities in determining what qualifies as cruel or unusual.5
      The Eighth Amendment generally applies in criminal proceedings, as the most
      common locus of government punishment, but the Supreme Court has held the
       Eighth Amendment's prohibition on excessive fines can apply in civil forfeiture
       proceedings, noting that the text of the amendment is not limited to criminal
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      cases.6 Instead, the Court said the relevant constitutional test is whether the
      government is imposing punishment, focusing on the purpose of a sanction.7 In
      addition, although the Eighth Amendment (like the rest of the Bill of Rights) was
      understood originally to apply only to the federal government, the Supreme Court
      has held its prohibitions were incorporated in the Fourteenth Amendment's Due
      Process Clause, making them applicable to states. There for the officers in the full
      capacity with willing and willful intent violated their owe immunity in this action



   7. On the date of April 30th 2024 the defendants in official capacity Officer J Haggis and
      Officer D Bafaro willing violated the 1st 4th 5th 6th 7th 8th 11 th and 14th amendment as
      the plaintiff asked for a supervisor to come out due to officer J Haggis was conflict
      and has prior history as well as a amendment lawsuit case and was subpoenaed to
      case Cl 23-9723 the both officers refused two times to get a supervisors Then did an
      illegal search and seizure then tried without a warrant touch unit 187 relliott
      community emergency respond team ambulance blue and white lights.



   8. On the date of April 30th 2024 the defendants in official capacity Officer J Haggis
      willing knowing that while lawsuit case is active in Douglas county and he as a
      wittiness and perpetrator to violation of the ADA laws to a prior illegal action of 42
      use 1983 and with an eternal affairs investigation compliant Kowing that he was
      already conflict of interest to the any matter as well as a cease and desist order was
      given to him to stay away from the plaintiff there for retaliation was made due to this
      matters and intimidation to where on the back of unit 187 officer haggis told his
      partner officer Bafafo that they was Gona tow the car. Then as he stated it was
      police policy to tow the car if the owner could not pick it up my boyfriend said he
      would call my mother to pick it up there for the 8th amendment was violated and
      thus the sovereign immunity was revoked by the 14th amendment with along with
      police perjury as well going on based on hearsay and not wanting to know all facts




   9. On the date of April 30th 2024 the defendants in official capacity and Officer J
      Haggins willing violated the 1st 4th 5th 6th 8th 11 th 14th and police misconduct causing
      boldly injury to the excessive force this officer already got a formal complaint on the
      matters on the plaintiff back in February 2024 for violation the ADA department of
      justice laws of police interacting with deaf and hard of hearing people and how he
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         trumped a ticket on the matters the officer on this day ripped so hard and fast the
         plaintiffs left arm ripped the stiches and cis wall of the left breast after asking for
         their licenses and registering and she asked for a supervisor twice speaking to fast
         for the plaintiffs hearing aid tempory implant not to get was said then refused to get
         the supervisor first fearing for her life and safety this officer has been known to pull
         his gun or beat other people and make bogus charges there for Dr figgy will testify
         on these findings as well as the new surgery date has been set the witness
         Makaisten Downing was video camera it the whole time showing proof she was not
         resisting arrest
   1   o. On the date of April 30th, 2024, the defendants in official capacity and Officer D
         Bafaro willing violated the law 20-152 on denied interpret as well acting as medical
         doctor on the plaintiff to illegally assault her as well as kneeing her in her right side



   11. On the date of April 30th 2024 the defendants in official capacity and Officer D
       Bafaro willing violated the 1st 4 th 5 th 6th 8th 11 th 14th amendment willing and with
         police misconduct 42 usc 1983 will being recorded by the plaintiff witness
         Makaisten Downing scream she is hard of hearing and just had surgery that when he
         still was beating the plaintiff on the right side of her while she was laying still and
         not moving at all



   12. On the date of April 3Qlh 2024 the defendants in official capacity and Officer D
         Bafaro willing violated the civil rights of the plaintiff there for the defendant refused
         as the 1st amendment to ask for freedom of speech and there for lead to where the
         officer beat the plaintiff the plaintiff due to the defendants handcuffs being to tight
         and put in the back of her not alone did never damage but also ruptured the left
         breast tit Dr figgy is willing to testify. There for police brutality and police
         misconduct to the extreme to where the sovereign immunity was effective revoked



    13. On the date of April 30th 2024 the defendants in official capacity and Officer D
        Bafaro willing violated 1st amendment threating the plaintiff to arrest for aging
         obstruction of a peace officer her if she did not stop recording while she was live
         steaming on the news page about a traffic collision and tried as the officer was not
         paying no attention to anything else but her and was fix on only her there for he
         decide to reattraction by aging interfering with the 1st amendment rights thus the
         plaintiff has been a legal company under the state of Nebraska for many years
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   14. On the date of Feb 21 2024 defendant in official capacity internal affairs LT Howard
      Banks over the phone was with the video relay caption confessed to the defendant
      Bellevue police department Does Not have to comply with the ADA laws for the deaf
      and hard of hearing that it's more like guidelines and there for that he was not Gana
      do anything to the defend officer J Haggis on his police misconduct then in 48 hours
      (about 2 days) the Nebraska tort claim act was active to where the plaintiff gave
      notice to cease and desist. Then on this date the Defendant launch an illegal
      investigation on the plaintiff and violated non-disclosures contracts as well as then
      contacted the Nebraska deaf and hard of hearing and violated the HIPAA only
      applies to covered entities and their business associates. Stat§ 43-512.06. The
      plaintiff can confirm this with her caption video relay interpret phone of confession,
      but the Defendant wants to say twist saying that i worked for them when she said
      that she was with them as a client there for this action has been violated due to
      when the plaintiff came to the department to file a complaint on officer haggis



   15. On the date of April 30th , 2024, defendant in official capacity internal affairs LT
      Howard Banks took paperwork that was not allowed for him but the chief of
      Bellevue police as the defendant did get subpoenaed to the lawsuit of case that is
      active of Cl 23-9723 there for the conflict when it was address to the chief of police
      of Bellevue there for now the as proof of burned threw video relay phone can
      confirm on may 18th 2024 that he willfully took person mail to and opened it without
      consent and classified information.



   16. On the date of May 18th 2024 defendant in official capacity internal affairs LT
      Howard Banks violated the right and tried take control then threaten the plaintiff
      with defamation while as under the color of freedom of the press as well as officer
      of the law are not protected by the 1st amendmentthat anything and everything can
      and shall be posted there for the conversation of the defendant was posted on a
      news page as well to show that the defendant was willing to not take any action on
      the defendant of officer J Haggis after the defendant willful denied and refused to
      follow the department of justice ADA laws of officers communicating with the ha rd
       of hearing and deaf by federal laws
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   17. The Defendant Bellevue police department in the official capacity is in violation of
      the ADA laws and non-compliance of the FOIA and to this day refuse the plaintiff of
      the equal rights of the law and does not want to follow the Federal, state and city
      law of the ADA laws as well as FOIA laws this has been going on since February 21
      2024 they had gotten the letters and paperwork for as the time clock started of the
      state of Nebraska tort and miscellaneous claim form was given to all defendant that
      time the clock started the plaintiff dose have copies of her own to prove proof of
      burned



   18. The City of Bellevue in the official capacity since February till current times has
      allowed many federal city and state laws to be broken as well, we will disclose more
      information in is complaint as well in detail but as you see how they are responding
      able of all defendants in question as well as malpractice of the bar assation and
      government corruption as well as the proof of email of the confession to not comply
      with legal document of FOIA.


   19. On the date of April 30th , 2024, defendant in official capacity 911 Sarpy dispatch
      hung up on the plaintiff over 6 times while she was in pain and the stitch as well as
      refused under the law 20-152 interpreter the defendants officer haggis, officer
      Bafaro Sargent McDaniel, Bellevue fire and rescue department all show malpractice
      of medical attention and then made it sound as the plaintiff was trying to get out of
      custody after she was being beaten the 911 operators refused to stay online and
      hanged up until she remined them of their policy and regulation as well as the
      federal laws if a citizen was being assaulted or fear of a officer hurting them then the
      dispatcher stayed online till the fire and rescue got there over many times the
      defendants all canceled the interpret and didn't follow the laws policy and
      regulation of the department and laws of the land of federal state and city laws



   20. The defendant officer haggis official capacity, did commit a crime under the
      Nebraska state law, federal law, city law on February 21 2024 on this day he was
      parked on cornhusker and doing a end of quota illegal action and speed trap as he
      observed this matter two car before th~ plaintiff did the same action but speed past
       him as it was a control turn light lane the plaintiff used her turn singles to change
       lanes to the far right there for the defendant didn't go after the others he targeted
       her only and pulled her over as he came to the window she handed him a ADA
       compliance card to alarm him she is deaf and hard of hearing and she was
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      somewhat verbal she had two passengers as this time this time he refused to
      comply with the ADA laws and talked to fast the she had to have her implants read
      what was being said in Japanese the is her primary her secondary is English still in
      college to learn it better but she speak Japanese and American sign he writer her a
      ticket for improper turn and was rude the other officer showed up for back ip and
      refused two time to identify herself the Nebraska law 20-152 is clear and very well
      know 20-152. Deaf or hard of hearing person; arrest; right to interpreter; use of
      statements. Then that later night the plaintiff launched a internal investigation. On
      February 26 2024 the plaintiff sent 5 people subpoenas to sue and be added to
      amend complaint



   21. the defendant officer haggis official capacity, did commit a crime under the
      Nebraska state law, federal law, city law on April 30th, 2024, knowing and willfully on
      this day refused his supervisor as he is a conflict to anything legally around the
      plaintiff case Cl 23-9723 the law say 28-11 o. Statement of rights. A person in the
      State of Nebraska has the right to live free from violence, or intimidation by threat of
      violence, committed against his or her person or the destruction or vandalism of, or
      intimidation by threat of destruction or vandalism of, his or her property regardless
      of his or her race, color, religion, ancestry, national origin, gender, sexual
      orientation, age, or disability. This case is active and the defendants all area aware
      of these actions as well



   22. The defendant he defendant officer Bafaro official capacity, & the defendant officer
       haggis official capacity, did commit a crime under the Nebraska state law, federal
      law, city law on April 30th 2024 knowing and willfully on this day there for by law of
      intimidation CIVIL RIGHTS CONSPIRACY Section 24118 U.S.C. § 241 knowing this action the
      plaintiff asked for superior at said she refused to talk to him due to internal investigation as well
      as the case that officer haggis is in with her prior. As it took ten seconds to drag her out of her
      car after she was reaching for her driver licenses and regsition the defendant assaulted her to
      cause bodily injury ruptured the left breast UNM Dr. Figgy will testify on these matters of
      findings as well as on a video camera to show that



   23. The defendant officer Bafaro official capacity, & the defendant officer haggis official
      capacity, did commit a crime under the Nebraska state law, federal law, city law on
      April 30th 2024 knowing and willfully on this day ripped her arm fast back and yet the
      boyfriend was yelling ( she just had surgery and she hard of hearing the defendant laughed as
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      well as didn't care and refused by law 20-152 interpret for her saying she can comprehend
      what's going on thus the officer then impersonated 38-2052. Physician assistants;
      misrepresentation; penalty.Any person who has not been licensed by the department,
      with the recommendation of the board, and who holds himself or herself out as a
      physician assistant, or who uses any other term to indicate or imply that he or she is
      a physician assistant, shall be guilty of a Class IV felony.
      Source: Laws 1973, LB 101, § 7; R.S.Supp.,1973, § 85-179.10; Laws 1977, LB 39, §
      319; Laws 1985, LB 132, § 7; R.S.1943, (2003), § 71-1,107.21; Laws 2007, LB463, §
      710.38-2053. Physician assistants; negligent acts; liability. Any physician or
      physician groups utilizing physician assistants shall be liable for any negligent acts
      or omissions of physician assistants while acting under their supervision.
      Source: Laws 1973, LB 101, § 14; R.S.Supp.,1973, § 85-179.17; Laws 1985, LB 132, §
      R.S.1943, (2003), § 71-1, 107 .28; Laws 2007, LB463, § 711; Laws 2020, LB755, §
      14.Effective Date: November 14, 2020



   24. The defendant officer Bafaro official capacity, & the defendant officer haggis official
      capacity, did commit a crime under the Nebraska state law, federal law, city law on
      April 30th 2024 knowing and willfully on this day took it upon his liberty to make the call of
      not allowing the plaintiff by law to have her interpret as well as the department of justice laws
      ADA say please see the ada laws that the defendant broke
      bitp.,':hliaLe.bbLe.,.acta..g_o_y_Lo_o:i.a.lla.o_e_attc. .JJtm the law of federal law dose say also
      since the defendant officer haggis Title VI of the Civil Rights Act of 1964 and the
      "OJP Program Statute" Title II of the Americans with Disabilities Act of 1990 and
      Section 504 of the Rehabilitation Act of 1973 18 U.S.C. §§ 241, 242). "Under color of
      law"



   25. The defendant officer Bafaro official capacity, & the defendant officer haggis official
      capacity, did commit a crime under the Nebraska state law, federal law, city law on
      April 30th, 2024, knowing and willfully willing violated the plaintiffs 1st First
      Amendment Congress shall make no law respecting an establishment of religion or
      prohibiting the free exercise thereof; or abridging the freedom of speech, or of the
      press; or the right of the people peaceably to assemble, and to petition the
      Government for a redress of grievances.
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   26. The defendant officer Batara official capacity, & the defendant officer haggis official
       capacity, did commit a crime under the Nebraska state law, federal law, city law on
       April 30th, 2024, knowing and willfully on this day took it upon his liberty 4th
      amendment rights along with her civil rights Fourth Amendment
      The right of the people to be secure in their persons, houses, papers, and effects,
      against unreasonable searches and seizures, shall not be violated, and no Warrants
      shall issue, but upon probable cause, supported by Oath or affirmation, and
      particularly describing the place to be searched, and the persons or things to be
      seized.



   27. The defendant officer Batara official capacity, & the defendant officer haggis official
      capacity, did commit a crime under the Nebraska state law, federal law, city law on
      April 30th , 2024, knowing and willfully on this day took it upon his liberty 5th amendment
      rights along with her civil rights Fifth Amendment
      No person shall be held to answer for a capital, or otherwise infamous crime,
      unless on a presentment or indictment of a Grand Jury, except in cases arising in
      the land or naval forces, or in the Militia, when in actual service in time of War or
      public danger; nor shall any person be subject for the same offence to be twice put
      in jeopardy of life or limb; nor shall be compelled in any criminal case to be a
      witness against himself, nor be deprived of life, liberty, or property, without due
      process of law; nor shall private property be taken for public use, without just
      compensation.



   28. The defendant officer Batara official capacity, & the defendant officer haggis official
      capacity, did commit a crime under the Nebraska state law, federal law, city law on
      April 30th 2024 knowing and willfully on this day took it upon his liberty 8th amendment
      rights along with her civil rights Amendment VIII Excessive bail shall not be
      required, nor excessive fines imposed, nor cruel and unusual punishments
       inflicted. Most often mentioned in the context of the death penalty, the Eighth
      Amendment prohibits cruel and unusual punishments, but also mentions
      "excessive fines" and bail. The "excessive fines" clause surfaces (among other
       places) in cases of civil and criminal forfeiture, for example when property is
      seized during a drug raid.
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   29. The defendant officer Bafaro official capacity, & the defendant officer haggis official
      capacity, did commit a crime under the Nebraska state law, federal law, city law on
      April 30th 2024 knowing and willfully on this day took it upon his liberty 11 th
      amendment rights along with her civil, rights 11th Amendment Amendment XI The
      judicial power of the United States shall not be construed to extend to any suit in
      law or equity, commenced or prosecuted against one of the United States by
      citizens of another state, or by citizens or subjects of any foreign state.



   30. The defendant officer Bafaro official capacity & the defendant officer haggis official
      capacity, did commit a crime under the Nebraska state law, federal law, city law on
      April 30th 2024 knowing and willfully on this day took it upon his liberty 14th
      amendment rights along with her civil rights Amendment XIV Section 1.All persons
      born or naturalized in the United States, and subjectto the jurisdiction thereof, are
      citizens of the United States and of the state wherein they reside. No state shall
      make or enforce any law which shall abridge the privileges or immunities of citizens
      of the United States; nor shall any state deprive any person of life, liberty, or
      property, without due process of law; nor deny to any person within its jurisdiction
      the equal protection of the laws.



   31. The defendant officer Bafaro official capacity, & the defendant officer Bafaro official
      capacity, & the defendant officer haggis official capacity, did commit a crime under
      the Nebraska state law, federal law, city law on April 30th 2024 knowing and
      willfully on this day took it upon his liberty the matter as well 28-109. Terms,
      defined. For purposes of the Nebraska Criminal Code, unless the context otherwise
      requires:



   32. The defendant officer Bafaro official capacity, & the defendant officer haggis official
      capacity, did commit a crime under the Nebraska state law, federal law, city law on
      April 30th 2024 knowing and willfully on this day took it upon his liberty As well as
      conspire of government corruption bttp..s_:LL1i..v_\.'\l\N_.,Lu.s1ic..e_,gmiusllib1J_elpJJlD.m1ae::.
      .o__oJ_aba:p_o_U_c_e..::o.1flc_e1=-sentenced..::f_rnuc!.:-_c_0J)_s_pj..ra.cy 28-202.
      Conspiracy, defined; penalty. The plaintiff has video proof from her boyfriend as
      well as her unit 187 CERT vehicle plus medical files and doctor figgy UNM and DR
      POND CHI willing to testify against the defendants
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   33. The defendant officer Bafaro official capacity, & the defendant officer haggis official
      capacity, did commit a crime under the Nebraska state law, federal law, city law on
      April 30 th 2024 knowing and willfully on this day I-7.Search and seizure. The right of
      the people to be secure in their persons, houses, papers, and effects against
      unreasonable searches and seizures shall not be violated; and no warrant shall
      issue but upon probable cause, supported by oath or affirmation, and particularly
      describing the place to be searched, and the person or thing to be seized. Searches
      and seizures must not be unreasonable. Searches without a valid warrant are per se
      unreasonable, subject only to a few specifically established and well-delineated exceptions. State
      v. Rocha, 295 Neb. 716,890 N.W.2d 178 (2017).



   34. The defendant officer Bafaro official capacity, & the defendant officer haggis official
      capacity, did commit a crime under the Nebraska state law, federal law, city law on
      April 30th 2024 knowing and willfully then did not comply with the ADA laws for
      disabled people Nondiscrimination on the Basis of Disability by Public
      Accommodations and in Commercial Facilities section 502 of the Rehabilitation Act
      of 1973. 2BJJ~S_,__c.,_z9.2__ 42 U_,_SL_._4l5.1 et seq. , 42 U .S.,_C__,_J__2.13-4JcJ, l21lIBJc}, g title
      Ill, 28 CFR 36,103, provides the following:
      (a} Rule of interpretation. Except as otherwise provided in this part, this part shall
      not be construed to apply a lesser standard than the standards applied under title V
      of the Rehabilitation Act of 1973 (2,.9JJ,S.C. 791} or the regulations issued by Federal
      agencies pursuant to that title. (c) Other laws. This part does not invalidate or limit
      the remedies, rights, and procedures of any other Federal, State, or local laws
      (including State common law) that provide greater or equal protection for the rights
      of individuals with disabilities or individuals associated with them. The plaintiff can
      go on whate the defendants broke of the laws in this matter of the page for more on
      violated the plaintiff rights of laws
       https: I /VJWv11..,Jeslern Lregiste...L.gill!Ld_o..c__uments/2010/0_9.Ll5..12QJ_O..::
      21.B2.4Ln..OJJ..dj.s.c.r:lmina.ti.o. .n=-.O_fr:_the..::r1ELSiS.:..Oi::dls. .a..bili...t¥.:b. ;it-..P..Ll.b..Lic-=-a.GC...OJil...rn..QCia.tio..o.S-=-
      .ao_d.:..ifr.G.O..IDmerc.i.al::1a...clli.tj.e_ s.




   35. The defendant officer Bafaro official capacity, & the defendant officer haggis official
       capacity, did commit a crime under the Nebraska state law, federal law, city law on
       April 30th 2024 knowing and willfully on this day took it upon his liberty the defendant
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      officer Bafaro official capacity, & the defendant officer haggis official capacity, did
      commit a crime under the Nebraska state law, federal law, city law on April 30th
      2024 knowing and willfully on this day took it upon his liberty as well take the time to
      understand knowing this action of law 42 use 1983 police misconducted was in play
      Every person who, under color of any statute, ordinance, regulation, custom, or
      usage, of any State or Territory or the District of Columbia, subjects, or causes to be
      subjected, any citizen of the United States or other person within the jurisdiction
      thereof to the deprivation of any rights, privileges, or immunities secured by the
      Constitution and laws, shall be liable to the party injured in an action at law, suit in
      equity, or other proper proceeding for redress, except that in any action brought
      against a judicial officer for an act or omission taken in such officer's judicial
      capacity, injunctive relief shall not be granted unless a declaratory decree was
      violated or declaratory relief was unavailable. For the purposes of this section, any
      Act of Congress applicable exclusively to the District of Columbia shall be
      considered to be a statute of the Di~trict of Columbia



   36. the defendant officer Bafaro official capacity, & the defendant officer haggis official
      capacity, did commit a crime under the Nebraska state law, federal law, city law on
      April 30th 2024 knowing and willfully on this day took it upon assaulted a disabled person§
      53a-61a. Assault of an elderly, blind, disabled or pregnant person or a person with intellectual
      disability in the third degree: Class A misdemeanor: One year not suspend able (d) Assault of an
      elderly, blind, disabled or pregnant person or a person with intellectual disability in the third
      degree is a class A misdemeanor and any person found guilty under this section shall be
      sentenced to a term of imprisonment of one year which shall not be suspended or reduced.



   37. the defendant officer Bafaro official capacity, & the defendant officer haggis official
      capacity, did commit a crime under the Nebraska state law, federal law, city law on
      April 30th 2024 knowing and willfully on this day took it upon 14-32.1. Assaults on
      individuals with a disability; punishments.(a} For purposes of this section, an "individual
      with a disability" is an individual who has one or more of the following that would
      substantially impair the ability to defend oneself:(1) A physical or mental disability,
      such as a decreased use of arms or legs, blindness, deafness, intellectual
      disability, or mental illness.
      2) An infirmity. (b) through (d) Repealed by Session Laws 1993 (Reg. Sess., 1994), c.
      767, s. 31, effective October 1, 1994. (e} Unless the conduct is covered under some
      other provision of law providing greater punishment, any person who commits any
      aggravated assault or assault and battery on an individual with a disability is guilty
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      of a Class F felony. A person commits an aggravated assault or assault and battery
      upon an individual with a disability if, in the course of the assault or assault and
      battery, that person does any of the following:
      (1) Uses a deadly weapon or other means of force likely to inflict serious injury or
      serious damage to an individual with a disability.
      (2) Inflicts serious injury or serious damage to an individual with a disability. (3)
      Intends to kill an individual with a disability. (f) Any person who commits a simple
      assault or battery upon an individual with a
      disability is guilty of a Class A 1 misdemeanor. (1981, c. 780, s. 1; 1993, c. 539, ss.
      15, 1139; 1994, Ex. Sess., c. 24, s.14(c}; 1993 (Reg. Sess., 1994), c. 767, s. 31; 2006-
      179, s. 1; 2018-47, s. 4(m).}


   38. the defendant officer Bafaro official capacity, & the defendant officer haggis official
      capacity, did commit a crime under,the Nebraska state law, federal law, city law on
      April 30th, 2024, knowing and willfully on this day took it upon of police perjury 81-
      1414.19.Law enforcement officers; list on website, when; challenge; procedure (3)
      Beginning July 1, 2022, any time a law enforcement officer voluntarily surrenders
      such officer's certification, has such certification revoked, or is adjudicated by the
      council to have engaged in serious misconduct, the council shall notify the
      commission within thirty days after such surrender, revocation, or adjudication. As
      well as 42 USC 1983 police misconduct of the resisting arrest to have the chance to
      assault and beat the plaintiff knowing she is hard of hearing legally



   39. the defendant officer Bafaro official capacity, & the defendant officer haggis official
      capacity, did commit a crime under the Nebraska state law, federal law, city law on
      April 30th , 2024, knowing and willfully on this day took it upon to commit willing and
      willful action on the plaintiff hate crime as wel the plaintiff has video of proof to show this
      action 18 U.S.C. §249 says, "Whoever willfully causes bodily injury to someone or,
      through using a firearm, a firearm, a dangerous weapon, or an explosive or
      incendiary device, attempts to cause bodily injury to anyone, because of the actual
      or perceived race, color, religion, or national origin of any person, shall be fined and
      imprisoned for up to ten years or life in prison if death results or the offense
      includes kidnapping, aggravated sexual abuse or an attempt to kill." 18 U.S.C. 249
      makes it a felony to commit either of the acts above against victims based on their
       actual or perceived association with the following:Their specific race, color,
       religion, or national origin in general; OR Their religion, national origin, gender,
       sexual orientation, gender identity, or disability IF the action involves crossing state
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      lines or affects interstate or foreign commerce. This provision covers hate crimes
      across state boundaries where individual state laws would only cover crimes within
      their respective state WHAT ARE THE RELATED FEDERAL LAWS? 18 U.S. Code
      Chapter 13 lists the federal statutes dealing with civil rights violations, which
      include the following: 18 U.S.C. § 241 -this stature makes it a crime to conspire to
      injure, suppress, threaten, or intimidate any person in the United States into being
      unable to exercise or enjoy their constitutional rights;18 U.S.C. § 248-this statute
      prohibits blocking access to reproductive health services using threats or force,
      intentionally causing injury or damaging clinic property. WHAT ARE THE PENALTIES
      FOR VIOLATING 16 U.S.C. 249? The penalties for violating 18 U.S.C. § 249 will
      depend on the specific circumstances of each case, but they can be pretty severe.
      In general, anyone who is convicted of a federal hate crime under this law can be
      sentenced to:
      Imprisonment for up to 1Oyears; or
      A fine of up to $250,000.
      However, in certain conditions, the maximum sentence for this hate crime may be
      extended to life imprisonment. This is the case if the crime involves any of the
      following: ,
      Kidnapping;
      Attempted kidnapping;
      Aggravated sexual assault;
      Attempted aggravated sexual assault;
      Attempted murder; The death of anyone as a result of the crime;



   40. The defendants City of Bellevue in official capacity
       Bellevue Officer J Haggis in official capacity,
      Officer D. Bafaro in official capacity,
      LT Howard Banks in official capacity,
      Sargent McDaniel in official capacity
      City of Papillion C/O Sarpy County Jail in official capacity,
      Sarpy County sheriff correction officer
       Sargent Bank in official capacity ,911 Sarpy County Dispatch in the official
      capacity
       in official capacity Fail to follow the FOIA laws and has been given plenty of notice
      to do so as requested by the state law FOIA Under the Nebraska Public Records Law
      § 84-712 et seq., I am requesting an opportunity to inspect or obtain copies of

       public records that [Describe the records or information sought with enough detail
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      for the public agency to respond. Be as specific as your knowledge of the available
      records will allow. But it is more important to describe the information you are
      seeking. Knowing this action of violation violates the 14th amendment which leads
      to all defendants tort claim act revoked as they break the law as well as the rules
      say if they fail to comply they make many jump loops or excuses to follow the law
      which say they cannot Since 1967, The Freedom of Information Act (FOIA(opens in a
      new tab)) allows the public to request records from federal agencies, which must
      disclose any information requested unless it falls under one of nine exemptions. All
      50 states and the District of Columbia have similar statutes.
      It is important to note that individual states may have their own FOIA laws that
      provide additional access to information and may have different requirements and
      exemptions.
      To comply with the law, promote transparency, operate efficiently, and build public
      trust, it is essential that government agencies know their own state's individual
      FOIA requirements.
      Mandated agencies that fail to comply with a FOIA request are opening themselves
      up to several potential consequences, and none of these are good.
      Agencies beholden to the Act that should be aware of the risks associated with non-
      compliance include: Cities Universities Counties/State/Federal Agencies Special
      Districts Public Safety Agencies Now that we have identified the types of agencies
      covered by the Act, let us look at what you can expect to happen if you or
      yourorganization fails to properly comply with a FOIA request.
      What Can Happen If Your Agency Fails to Comply with a FOIA Request?
      There are several things that can happen if you or your organization fail to properly
      comply with a FOIA request:
      Personal and Agency Litigation-Failure to comply with a FOIA request can result in
      a lawsuit being filed against you or your agency to compel the release of the
      requested information. The court can order that you or your agency provide the
      requested information and may also require payment for any attorney fees and
      court costs accrued.
      Fines and Sanctions - Both your agency and you personally may be subject to fines
      and other sanctions if found to have acted in bad faith or willfully withheld
      information. Job Loss-Whether this is the result of being fired or resigning, from the
      clerk to the city attorney, all the way up to the mayor, failure to comply with a FOIA
      request has the potential to cost you your position.
      Personal Stress- Failure to meet a FOIA request can cause personal stress for a
      variety of reasons. As requests can be time-consuming and complex, they can
      easily cause government employees to feel overwhelmed. Also, instances where a
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      request is denied or delayed can cause staff to feel frustrated or disappointed in
      their ability to serve the public as effectively as they would have liked.
      Embarrassment-Failure to comply with FOIA requests can also lead to being
      called out on social media, potentially damaging your agency's reputation, and
      eroding public trust in the government.
      Now that we have looked at some of the things that can happen if your organization
      fails to comply with a FOIA request let us now consider some of the most common
      ways that agencies fail to achieve compliance.
      Make Complying with FOIA Requests Simpler Than Ever
      Next Request software makes FOIA request intake, processing, and release an
      intuitive and painless experience. Request a demo to see Next Request in action
      and get started. Ways That Agencies May Not Be Properly Complying With the FOIA
      There are several ways that agencies can be non-compliant, which include but are
      not limited to:
      On Purpose-It could be because an agency has a particularly vexatious requester,
      or because compliance with the request would open the agency up to significant
      litigation that could be worse than the potential penalties. Whatever the reason,
      sometimes agencies and individual staff members consciously make the decision
      to act against FOIA requirements.
      Missed Records Request- It may be an honest mistake or the result of
      carelessness; however, it is important that agencies do not let records requests slip
      through the cracks, which is why effective processes should be put in place to deal
      with them systematically.
      Failure to Redact Sensitive Information - Redacting sensitive information before a
      public record has been released is the responsibility of the agency and those
      involved in the public records request process, and failure to do so is likely to result
      in action against you or your organization. Again, it is important to become familiar
      with the laws that govern your agency, as requirements can be quite different from
      state to state.
      Missing Deadlines for Supplying Requested Information-Something as simple as a
      missed deadline can cause non-compliance when it comes to a public records
      request.
      Inefficient Payment Processing-When a payment is required, inefficient payment
      processing can slow down the delivery of requested information, indirectly causing
      non-compliance with a FOIA request. If the agency is not able to process the
      payment in a timely manner, it may miss the deadline for responding.Failure of
      Inter-Agency Units-Clerks and other government agency employees do their best
      to respond to public records requests but sometimes can be let down by a separate
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      unit responsible for helping respond to public records requests. This is one of the
      dangers of having a decentralized process.Lack of Accessibility- In order to comply
      with FOIA requests, it is common sense that requesters with disabilities have the
      ability to make information requests in the first place. Depending on the laws
      affecting your agency's public records requests process, you may have to make
      further considerations, such as language accessibility. The plaintiff now has asked
      and emailed as well as demanded many times over 23 times the FOIA on all dates in
      the complaint thus to prove the truth of police perjury and police misconduct police
      brutality as well as ADA laws broken and bodily injury by police and how it was
      prementidated and intimidation on a disabled person




   41. The defendants City of Bellevue in official capacity
      Bellevue Officer J Haggis in official capacity,
      Officer D. Bafaro in official capacity,
       LT Howard Banks in official capacity,
      Sargent McDaniel in official capacity City of Papillion C/O Sarpy County Jail in
      official capacity,
      Sarpy County sheriff correction officer Sargent Bank in official capacity,
      911 Sarpy County Dispatch in the official capacity State of Nebraska C/O County A
      on April 30th 2024 and current times in fact still have commited the crime and cover
      up of hate crime of the defendant officer Bafaro official capacity, & the defendant
      officer haggis official capacity, did commit a crime under the Nebraska state law,
      federal law, city law on April 30th 2024 knowing and willfully on this day took it upon
      14-32.1. Assaults on individuals with a disability; punishments.(a) For purposes of this
       section, an "individual with a disability" is an individual who has one or more of the
      following that would substantially impair the ability to defend oneself:(1) A physical
       or mental disability, such as a decreased use of arms or legs, blindness, deafness,
       intellectual disability, or mental illness.
       2} An infirmity. (b) through (d) Repealed by Session Laws 1993 (Reg. Sess., 1994), c.
       767, s. 31, effective October 1, 1994. (e) Unless the conduct is covered under some
       other provision of law providing greater punishment, any person who commits any
       aggravated assault or assault and battery on an individual with a disability is guilty
       of a Class F felony. A person commits an aggravated assault or assault and battery
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      upon an individual with a disability if, in the course of the assault or assault and
      battery, that person does any of the following:
      (1) Uses a deadly weapon or other means of force likely to inflict serious injury or
                                            I
      serious damage to an individual with a disability.
      (2) Inflicts serious injury or serious damage to an individual with a disability. (3)
      Intends to kill an individual with a disability. (f) Any person who commits a simple
      assault or battery upon an individual with a disability is guilty of a Class A1
      misdemeanor. (1981, c. 780, s.1; 1993, c. 539, ss.15, 1139; 1994, Ex. Sess., c. 24,
      s. 14(c); 1993 (Reg. Sess., 1994), c. 767, s. 31; 2006-179, s. 1; 2018-47, s. 4(m).) The
      defendant officer Bafaro official capacity, & the defendant officer haggis official
      capacity, did commit a crime under the Nebraska state law, federal law, city law on
      April 30th, 2024, knowing and willfully on this day took it upon of police perjury81-
      1414.19.Law enforcement officers; list on website, when; challenge; procedure (3)
      Beginning July 1, 2022, any time a law entorcement officer voluntarily surrenders
      such officer's certification, has such certification revoked, or is adjudicated by the
      council to have engaged in serious misconduct, the council shall notify the
      commission within thirty days after such surrender, revocation, or adjudication. As
      well as 42 USC 1983 police misconduct of the resisting arrest to have the cha nee to
      assault and beat the plaintiff knowing she is hard of hearing legally




   42. the defendant officer Bafaro official capacity, & the defendant officer haggis official
      capacity, did commit a-crime under the Nebraska state law, federal law, city law on
      April 30th, 2024, knowing and willfully on this day took it upon to commit willing and
      willful action on the plaintiff hate crime as wel the plaintiff has video of proof to show this
      action 18 U.S.C. §249 says, "Whoever willfully causes bodily injury to someone or,
      through using a firearm, a firearm, a dangerous weapon, or an explosive or
      incendiary device, attempts to cause bodily injury to anyone, because of the actual
      or perceived race, color, religion, or national origin of any person, shall be fined and
      imprisoned for up to ten years or life in prison if death results or the offense
      includes kidnapping, aggravated sexual abuse or an attempt to kill." 18 U.S.C. 249
      makes it a felony to commit either of the acts above against victims based on their
      actual or perceived association with the following:Their specific race, color,
      religion, or national origin in general; OR Their religion, national origin, gender,
      sexual orientation, gender identity, or disability IF the action involves crossing state
      lines or affects interstate or foreign commerce. This provision covers hate crimes
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      across state boundaries where individual state laws would only cover crimes within
      their respective state WHAT ARE THE RELATED FEDERAL LAWS? 18 U.S. Code
      Chapter 13 lists the federal statutes dealing with civil rights violations, which
      include the following: 18 U.S.C. § 241 -this stature makes it a crime to conspire to
      injure, suppress, threaten, or intimidate any person in the United States into being
      unable to exercise or enjoy their constitutional rights;18 U.S.C. § 248-this statute
      prohibits blocking access to reproductive health services using threats or force,
      intentionally causing injury or damaging clinic property. WHAT ARE THE PENALTIES
      FOR VIOLATING 16 U.S.C. 249?The penalties for violating 18 U.S.C. § 249will
      depend on the specific circumstances of each case, but they can be pretty severe.
      In general, anyone who is convicted of a federal hate crime under this law can be
      sentenced to:
      Imprisonment for up to 1Oyears; of A fine of up to $250,000.
      However, in certain conditions, the maximum sentence for this hate crime may be
      extended to life imprisonment. This is the case if the crime involves any of the
      following:
      Kidnapping;
      Attempted kidnapping;
      Aggravated sexual assault;
      Attempted aggravated sexual assault;
      Attempted murder; The death of anyone as a result of the crime;




   43. The defendant Correction officer Sarpy County Sargent BANK official capacity, did
      commit a crime under the Nebraska state law, federal law, city law on April 30 th
      2024 knowing and willfully on this day took it upon her liberty willfully knowing and
      hatefully 18 U.S.C. 249 makes it a felony to commit either of the acts above against
      victims based on their actual or perceived association with the following: Their
      specific race, color, religion, or national origin in general; OR Their religion, national
      origin, gender, sexual orientation, gender identity, or disability IF the action involves
      crossing state lines or affects interstate or foreign commerce. This provision covers
      hate crimes across state boundaries where individual state laws would only cover
      crimes within their respective state as she took the plaintiffs hearing aids and as
      she said tp the plaintiff (stop playing your hard of hearing or ill throw you in a cell for
      hours until you are willing to talk normal. As this action also violated the policy of
      Sarpy County sheriff's department under accommodation) The she ripped off the
      tempory jawbone Cochlear device but did not search her bra to where if she did she
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      would have found the other device mic the translates to Japanese/English thus the
      plaintiff was forced to read the lips and halfway understand and speak verbally the
      best she could understand until she was bonded out and was yelling over the phone
      to speak and could hear there for till her boyfriend showed up at the time 3:32 then
      the Sargent got scared the plaintiff was sign launge and told the plaintiff boyfriend
      they took her implants and hearing aids and said she was fake it to remember and
      write down the Sargent name to file the lawsuit and the boyfriend did after make
      contact and then as the Sargent got scared she closed the window bay so the
      plaintiff could not communicated with someone that new ASL


   44. The defendant Correction officer Sarpy County Sargent BANK official capacity, did
      commit a crime under the Nebraska state law, federal law, city law on April 30th,
      2024, knowing and willfully on this day took it upon her liberty willfully knowing
      discriminated and violated the Prison rape elimination act laws The regulations also require
      agencies to make individualized housing and program placements for all transgender and
      intersex individuals.,.,This includes assignment oftransgender and intersex individuals to
      male or female facilities. Any policy that mamJates placement of transgender and intersex
      individuals based solely on a person's genital characteristics or gender designation on state
      issued identification presents a.clear PREA violation. Any policy or practice that determines
      facility, housing, work or bed assignments solely on the basis of an indi- vidual's actual or
      perceived LGBTI status violates PREA. What To Look For Policies requiring genital searches
      by staff solely to determine the genital characteristics of a transgender or intersex person are
      prohibited by PREA. Regardless of where transgender and intersex individuals are housed,
      any policy or practice that forces transgender or intersex individuals to shower in group
      shower settings violates PREA. • Policies or practices that treat transgender and intersex
      individuals as the sex of their housing assignment for purposes of triggering cross-gender
      search protections. • Policies and practices that do not provide for an individualized
      determination of cross-gender search protections for transgender and intersex individuals
      Any protective custody policy that does not have clear time limits and procedures for
      documenting the use of protective custody for vulnerable prisoners violates PREA's mandate.
      Any protective custody policy that limits or otherwise restricts access to programs, work
      assignments, educational opportunities and/or other privileges should be reviewed for PREA
      compliance. Any involuntary placement in protective custody or administrative segregation
      solely on the basis of one's actual or perceived LGBTI status or gender expression is
      inconsistent with the final PREA standards.The plaintiff was forced even thou her gender on
      her drivers linceses says FEMALE the defendant correction officer Sargetn Bell put her as male
      was gona place her illegally violated her and rape her in a male unit as the laws of PREA
      SHOWS AND DOSE EXPLAIN NOT TO BY LAW IBE PLAINTIFF FOLLOWED THE THE PREA LAW
      AND ACTIVED TO PROTECT HER RIGHTS AND BONDED OUT FOR $500.00 AS WELL AS
      FOLLOWED THE HUMAN RIGTHS AS WELL DOCUMENTED FOR ACLU Advocate for policies that
      eliminate the use of prolonged involuntary protective custody.
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      • Advocate for clear policies on the availability of programming and services to all individuals
      housed in restrictive settings including voluntary protective custody and involuntary
      protective custody.
      • Monitor reports by transgender prisoners that they are being placed involuntarily in
      protective custody or other restrictive housing setting based solely on their gender identity or
      expression. Advocate for clear guidelines on searches oftransgender individuals including
      prohibitions on any searches for the sole purpose of examining or determining a transgender
      or intersex person's genital characteristics.
      American Civil Liberties Union
      • Sample language: "Under no circumstances shall any search be conducted solely for the
      purpose of determining a prisoner or detainee's genital characteristics.
      • Advocate for policies that allow transgender and intersex individuals to identify upon intake
      the gender of the officer that they would feel safest searching them.
      • Sample language: "If a prisoner bas been identified as transgender or intersex, be or she
      shall be asked at intake to indicate bis or her preference as to the gender of the officer that
      will perform searches in the event searches are required, and that preference will be honored
      absent exigent circumstances."
      Advocate for the agency to remove any policies that require transgender individuals to
      automatically be treated as the gender of their housing assignment for the purposes of
      triggering cross-gender search protections.
      Advocate for policies that permit all transgender and intersex individuals to access private
      showers.
      Strict limits on the use of protective custody
      The PREA regulations strictly regulate the use of protective custody (separation from others
      to address a current need for protection). This regulation arises from the serious concern that
      protective custody in jails, prisons and juvenile detention centers is often synonymous with
      isolation or solitary confinement so that individuals subject to it are frequently harmed
      or "punished" as a result of their vulnerable status. Under PREA prisoners cannot be placed in
      "involuntary segregated housing'' unless (1) an assessment of all available alternatives is
      made AND (2) a determination bas been made that no alternative means of separation is
      available (and this determination must be made within the first 24 hours ofinvoluntary
      segregation).44 Under the PREA regulations, involuntary segregated housing should generally
      not exceed 30 days.45 When prisoners are placed in protective custody, they must be given
      access to "programs, privileges, education, and work opportunities to the extent possible."46
      Though agencies are given significant latitude with restrictions because of the "to the extent
      possible" qualification, the nature of, reason for and duration of any restrictions to program,
      privilege, education and
      work opportunities must be documented.47
      The regulations also prohibit agencies from "plac[ing] lesbian, gay, bisexual, transgender, or
      intersex inmates in dedicated facilities, units, or wings solely on the basis of such
       identification or status, unless such placement is in
      a dedicated facility, unit, or wing established in connection with a consent decree, legal
       settlement, or legal judgment for the purpose of protecting such inmates."48 In juvenile
      facilities, no such placement based solely on LGBTI status may be made regardless of prior
      legal settlements or judgments. This includes placements in particular units or wings,
       including placement in protective custody or other isolated setting. Where such placement is
       made voluntarily it should be considered permissible under this standard.
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      Sample language:"Transgender individuals may be identified during admission/intake based
      on:
      A statement that be or she is transgender, is 'trapped in the wrong body,' or is really a
      different sex than bis or her birth sex;
      A request to be called by a name that is not traditionally associated with bis or her birth sex;3
      PREA • Advocacy Guide American Civil Liberties Union Any statements in arrest reports/jail
      or court records indicating the person is transgender or that the police were unsure of the
      person's sex."
      • No one should inquire about an individual's medical transition, genital characteristics or
      surgical status unless necessary for a medical evaluation.
      Advocate for policies that trigger regular and individualized assessments for the placement
      and program assignments of transgender and intersex individuals. This means that
      transgender women must be considered for placement in women's facilities and transgender
      men for placement in men's facilities.
      Individual assessments should also include an individual's sense of bis or her own safety in
      different placement options (i.e., male vs. female facilities, general population, protective
      custody). Sample Language: "A transgender or intersex individual shall be provided with a
      form or screening questionnaire to be conducted or filled out in private that will allow the
      person to select the following:
      A preferred name,A preferred pronoun,Wbere the person would feel safest being housed;The
      sex of staff that the person would feel safest performing searches and/or urine
      testing."Monitor individual placements that are based solely on an individual's genital
      characteristics and report such placements and the underlying policies and practices to
      auditors. Searches and supervision of transgender individuals.
      The PREA regulations prohibit any search that is conducted for the sole purpose of
      determining an individual's genital status.37 All cross-gender pat, strip and cavity searches
      are subject to strict guidelines under PREA but restrictions on cross- gender pat searches of
      female individuals do not go into effect until August 2015.38 Even though agencies are not
      required to be in compliance with all search provisions, all agencies should be taking steps to
      implement policies consistent with the cross-gender pat and strip search prohibitions prior to
      the 2015 effective date. Under the regular effective dates for PREA compliance, agencies
      are prohibited from conducting cross-gender strip and
      4 PREA • Advocacy Guidecavity searches except in exigent circumstances or when performed
      by a medical practitioner.39 Agencies are also required to effectively train staff to conduct
      professional and respectful searches of transgender and intersex persons.40 PREA further
      mandates that facilities implement policies to ensure that individuals are able to shower and
      undress without being viewed by staff of the opposite gender and that staff of the opposite
      gender announce themselves prior to entering any housing area.41 Agencies are required to
      provide transgender and intersex individuals with access to private showers in all
      circumstances.42
      The PREA regulations do not offer clear guidance on what constitutes a cross-gender search or
      cross-gender viewing for transgender and in~rsex individuals. The PREA Resource Center
      identifies three policy options
      for conducting searches oftransgender and intersex individuals: "1) searches conducted only
      by medical staff; 2) searches conducted by female staff only, especially given there is no
      prohibition on the pat-searches female staff can perform (except in juvenile facilities); and 3)
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      asking inmates/residents to identify the gender of staff with whom they would feel most
      comfortable conducting the search."43
      ENDNOTES 1 Prison Rape Elimination Actof2003 (PL 108-79), codified at42 U.S.C. §§ 15601
      et. Seq. 2 For data collected, see Prison Rape Elimination Act (Sexual Violence in Correctional
      Facilities), Bureau ofJustice Statistics (last visited November 18, 2013), available at
      http://www.bjs.gov/index. cfm?ty=tp&tid=20 (listing Bureau of Justice Statistics data
      gathered since the act's passage). 3 Nat'l Prison Rape Elimination Comm'n., Nat'l Prison Rape
      Elimination Comm'n Rep. 1 Oune 2009), available at https://www.
      ncjrs.gov/pdffilest/226680.pdf.
      4 See Press Release, Department ofJustice, Justice Department Releases Final Rule to Prevent,
      Detect and Respond to Prison Rape (May 17, 2012), available at
      http://www.justice.gov/opa/pr/2012/ May/12-ag-635.html (summary of regulations).
      5 National Prison Rape Elimination Commission, Report 73 Oune 2009) (hereinafter
      Commission Report); A. Beck et al., Sexual Victimization in Jails and Prisons Reported by
      Inmates, 2008-0914-15 (Bureau of Justice Statistics, Aug. 2010), available at http://
      bjs.ojp.usdoj.gov/content/pub/pdf/svpjri0809.pdf; V. Jenness et al., Violence in California
      correctional facilities: An empirical examination of sexual assault (Center for Evidence-Based
      Corrections 2009); 167- 68; J.M. Grant et al., Injustice at Every Turn: A Report of the National
      Transgender Discrimination Survey 167-68 (Washington: National Center for Transgender
      Equality and National Gay and Lesbian Task Force, 2011), available at
      http://endtransdiscrimination.org/PDFs/ NTDS_Report.pdf.
      6 42 U.S.C. 15607 (b) (2003). See also Memorandum from the President of the United States
      Implementing the Prison Rape Elimination Act (May 17, 2012), available at
      http://www.whitehouse.gov/the-press-office/2012/05/17/presidential-memorandum-
      implementing-prison-rape-elimination-act.
      7 42 U.S.C.15607 (e)(2) (2003). States must also audit state facilities every three years. See 28
      C.F.R. §§ 115.93, 115.193, 115.293, 115.393, 115.401, 115.402, 115.403, 115.404, 115.405,
      115.501 (2012), available at]illJ1Jj__~~r..9gTmn.uv...dJ.s..,L.preg final rule.pm. 8
      28 C.F.R. §§ 115.401(b). 9 28 C.F.R. §§ 115.401(a).10 42 U.S.C.15607(c)(2); 28 C.F.R. §§
      115.501(a). 11 28 C.F.R. §§ 115.11, 115.111, 115.211, 115.311. 12 See PREA Standards, supra
      note 4, at §115(A). 13 Id. 14 Id. 15 PREA Resource Center, "Audit Process" http://www.
      prearesourcecenter.org/audit/audit-process (last visited November 18, 2013).16 28 C.F.R. §
      115.86(2), 28 C.F.R. § 115.186(2), 28 C.F.R. § 115.286(2), 28 C.F.R. § 115.386(2). 17 2013 Colo.
      Legis. Serv. Ch.171 § 17-1-115.7 (West).18 S.B. 653, 82d Leg., Reg. Sess. (Tex. 2011).19
      Conn. Gen. Stat. § 18-81cc (Conn. 2012). Bill text available at
      http://www.cga.et.(!ov/2012£snp/chap325.htm#Sec18-81cc.htm. 20 S.B. 716, 2013-2014 Leg.,
      Reg. Sess. (Cal. 2013).21 S.B. 1394, 2013 Leg., 236th Sess. (N.Y. 2013). 22 H.B. 585, 2013 Gen.
      Assemb., Reg. Sess. (N.C. 2013). 23 H.B. 990, 83d Leg., Reg. Sess. (Tex. 2013); see also H.B.
      3634, 83d Leg., Reg. Sess. (Tex. 2013). 24 S.B. 33, 77th Leg., Reg. Sess. (Nev. 2013).
      25 S.B. 526, 51st Leg. Sess., 1st Sess. (N.M. 2013). 26 S.B. 427, 80th Leg., Reg. Sess. (W. Va.
      2012). 27 See Alexander v. Sandoval, 532 U.S. 275, 291 (2003) (holding that, in the absence of
      explicit authorization by Congress, no private right of action is created simply by statute). 42
      U.S.C. § 15602(3)(7) (2003). 28 28 C.F.R. § 115.5 29 28 C.F.R. § 115.41(b); 28 C.F.R. § 115.241
      (b); 28 C.F.R. § 115.341(a). 30 28 C.F.R. § 115.41(d)(7). 3128 C.F.R. § 115.42 (a)
      32 28 C.F.R. § 115.42 (b) 33 28 C.F.R. § 115.42 (c) ("In deciding whether to assign a
      transgender or intersex inmate to a facility for male or female inmates, and in making other
      housing and programming assignments, the agency shall consider on a case-by-case basis
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       whether a placement would ensure the inmate's health and safety, and whether the placement
       would present management or security problems."). 7 PREA • Advocacy Guide34 Id. 3 5 28 36
       28 37 28 38 28 39 2840 28 412842 28
       C.F.R. § 115.42 (d). C.F.R. § 115.42 (e). C.F.R. § 115.15 (e) C.F.R. § 115.15 (b) and 28 C.F.R.
       §115.215(b) C.F.R. § 115.15 (a) C.F.R. § 115.15 (t) C.F.R. § 115.15 (d). C.F.R. § 115.42 (t). 43
       PREA Resource Center, "Frequently Asked Questions," http://
       www.prearesourcecenter.org/faq#n1069 Oast visited November 18, 2013). 44 28 C.F.R. §
       115.43 (a). 45 28 C.F.R. § 115.43 (c). 46 28 C.F.R. § 115.43 (b). 47 28 C.F.R. § 115.43 (b). 48 28
       C.F.R. § 115.42 (g)

46. The defendant Correction officer Sarpy County Sargent Bank official capacity did
commit a crime under the Nebraska state law, federal law, city law on April 30th, 2024,
knowing and willfully on this day took it upon her liberty willfully knowing broke the Sarpy County
Sheriff department policy, regulation, merit and code of conduct. On merit page 27 18. GENDER BASED
HIRING The Commission recognizes that the Sheriffs Office may, on occasion, have gender based hiring
needs which are generally related to the County jail requirements. During any gender based hiring, the
Sheriffs Office must comply with current Nebraska law and anti-discrimination laws. Accordingly, the
following procedures will apply to any gender-based hiring process:
https://www.sarpv.gov/DocumentCenter/View/3633/Sarpv-Countv-Merit-Comm-BvLaws-luly-
2021?bidid= on the Sarpy County policy and regulation page
https: / /v,:vvvv.sa rpy.goxLDocumen tCenter /View/ 2422 / Personnel-Poli cies--Procedures-Manual

        Page 3 DISABILITY POLICY STATEMENT
        Sarpy County is committed to equality of opportunity and freedom from discrimination for all
        employees, applicants for employment and customers regardless of any disability an individual
        may have.
        Please refer to the County 'Americans with Disability Act Policy' available on the Human
        Resources Webpage.
        Page 33 DISABILITY POLICY STATEMENT
        5. Sarpy County is committed to equality of opportunity and freedom from discrimination for all
        employees, applicants for employment and customers regardless of any disability an individual
        mayhave.
        Please refer to the County 'Americans with Disability Act Policy' available on the Human
        Resources Webpage.
        Employees are expected to disclose waste, fraud and corruption to appropriate authorities.
        Employeesshalladheretoalllawsandregulationsthatmandateequalopportunity and treatment
        regardless of race, color, religion, sex, national origin, age, disability or maritastatus.
        Page 35 Federal law requires that Sarpy County notify the federal government of any
        convictions in violation of our policy. Federal law further requires Sarp1r County to impose
        sanctions, which may include discharge for any violation of the provisions of this notice or
        policy.
        Page 37 DISCRIMINATORY & HARASSMENT POLICY
        Please refer to the County Policy available on the Human Resources Webpage.
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        This action has happened before of a sheriff deputy getting terminated for violation and charged
        please see Wheeler v. Coty. of Sarpy
        SARPY COUNTY
        CIVIL SERVICE PERSONNEL RULES AND REGULATIONS
        Rule 7 Regulation 1: Discipline
        M. Lying, making false statements, or being purposely deceptive;
        P. Discrimination or harassment based in whole or in part on race, color, sex,
        religion, age, disability, or national origin, or any other protected group which
        manifests itself in the form of comments, jokes, printed material, and/or
        unwelcome sexual advances, requests for sexual favors, or other verbal or
        physical conduct of a sexual nature;
        R. Failure to abide by or violate these Rules, Personnel Policy Bulletins, or any
        other County/departmental policies;

47. The defendant Correction officer Sarpy County Sargent BANK official capacity, did
commit a crime under the Nebraska state law, federal law, city law on April 30th 2024,
knowing and willfully on this day took it upon her liberty willfully knowing violated the state law of
20-152 20-152.Deaf or hard of hearing person; arrest; right to interpreter; use of statements. Whenever
a deaf or hard of hearing person is arrested and tak~n into custody for an alleged violation of state law
or local ordinance, the appointing authority shall procure a licensed interpreter for any interrogation,
warning, notification of rights, or taking of a statement, unless otherwise waived. No arrested deaf or
hard of hearing person otherwise eligible for release shall be held in custody solely to await the arrival
of a licensed interpreter. A licensed interpreter shall be provided as soon as possible. No written or oral
answer, statement, or admission made by a deaf or hard of hearing person in reply to a question of any
law enforcement officer or any other person having a prosecutorial function may be used against the
deaf or hard of hearing person in any criminal proceeding unless (1) the statement was made or elicited
through a licensed interpreter and was made knowingly, voluntarily, and intelligently or (2) the deaf or
hard of hearing person waives his or her right to an interpreter and the waiver and statement were
made knowingly, voluntarily, and intelligently. The right of a deaf or hard of hearing person to an
interpreter may be waived only in writing. The failure to provide a licensed interpreter pursuant to this
section shall not be a defense to prosecution for the violation for which the deaf or hard of hearing
person was arrested.



48. The defendant Lt Howard Banks eternal affairs official capacity on February 21 2024 and May 18 th
2024 did commit a crime and illegal action on the plaintiff by doing a illegal background check on the
plaintiffs' clients without proper consent when the plaintiff came to Mr Banks to file a formal complaint
on the defendant officer haggis in official capacity 48-202.Public employer; applicant; disclosure of
criminal record or history; limitation (a) Law enforcement agency means an agency or department of
this state or of any political subdivision of this state which is responsible for the prevention and
detection of crime, the enforcement of the penal, traffic, or highway laws of this state or any political
subdivision of this state, and the enforcement of arrest warrants. Law enforcement agency includes a
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police department, an office of the town marshal, an office of the county sheriff, the Nebraska State
Patrol, and any department to which a deputy state sheriff is assigned as provided in section 84-106;
The plaintiff did not authorize to be invest aged when the plaintiff did a formal complaint on the
defendant officer haggis the plaintiff was not the one under investigation at all due to the complaint lead
to violation of the ada laws and as the defendant LT Howard Banks on the Caption vidoe relay phone did
say and will show proof of the transcrips says ( the bellevue police department dose not have to comply
with the ADA compliance card its more like guidelines and it is not a law at all there for they dont have
to follow it) but however the ADA laws the oversea the department is the department of justice and they
say this




 U.S. Department of Justice
 Civil Rights Division
 Disability Rights Section



         Communicating with People Who Are Deaf or Hard of Hearing: ADA Guide forLaw
       . Enforcement Officers




        As a law enforcement officer, you can expect to come into contact with people who are deaf or
        hard of hearing. It is estimated that up to nine percent of the population has some degree of
        hearing loss, and this percentage will increase as the population ages.
        Under the Americans with Disabilities Act (ADA), people who are deaf or hard of hearing are
        entitled to the same services law enforcement provides to anyone else. They may not be
        excluded or segregated from services, be denied services, or otherwise be treated differently
        than other people. Law enforcement agencies must make efforts to ensure that their personnel
        communicate effectively with people whose disability affects hearing. This applies to both sworn
        and civilian personnel.
        Your agency has adopted a specific policy regarding communicating with people who are deaf or
        hard of hearing. It is important to become familiar with this policy.
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Requirements for Effective CommunicationThe ADA requires that ...

       Law enforcement agencies must provide the communication aids and services needed to
       communicate effectively with people who are deaf or hard of hearing, except when a particular
       aid or service would result in an undue burden or a fundamental change in the nature of the law
       enforcement services being provided.
       Agencies must give primary consideration to providing the aid or service requested by the
       person with the hearing disability.
       Agencies cannot charge the person for the communication aids or services provided.
       Agencies do not have to provide personally prescribed devices such as hearing aids.
       When interpreters are needed, agencies must provide interpreters who can interpret effectively,
       accurately, and impartially.
       Only the head of the agency or his or her designee can make the determination that a particular
       aid or service would cause an undue burden or a fundamental change in the nature of the law
       enforcement services being provided.Your agency's policy explains how to obtain interpreters
       or other communicationaids and services when needed.

       Communicating with People Who are Deaf or Hard of Hearing

       Officers may find a variety of communication aids and services useful in different situations.
       Speech supplemented by gestures and visual aids can be used in some cases.
       A pad and pencil, a word processor, or a typewriter can be used to exchange written notes.
       A teletypewriter (TTY) can be used to exchange written messages over the telephone.
       An assistive listening system or device to amplify sound can be used when speaking with a
       person who is hard of hearing.
       A sign language interpreter can be used when speaking with a person who knows sign language.
       An oral interpreter can be used when speaking'with a person who has been trained to speech
       read (read lips). Note: Do not assume that speech reading will beeffective in most situations. On
       average, only about one third of spoken words can be understood by speech reading.
       The type of situation, as well as the individual's abilities, will determine which aid or service is
       needed to communicate effectively.

       Practical Suggestions for Communicating Effectively

       Before speaking, get the person's attention with a wave of the hand or a gentle tap on the
       shoulder.
       Face the person and do not turn away while speaking.
       Try to converse in a well-lit area.
       Do not cover your mouth or chew gum.
       If a person is wearing a hearing aid, do not assume the individual can hear you.
       Minimize background noise and other distractions whenever possible.
       When you are communicating orally, speak slowly and distinctly. Use gesturesand facial
       expressions to reinforce what you are saying.
       Use visual aids when possible, such as pointing to printed information on a citation or other
       document.
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      Remember that only about one third of spoken words can be understood by speech reading.
      When communicating by writing notes, keep in mind that some individuals who use sign
      language may lack good English reading and writing skills.
      If someone with a hearing disability cannot understand you, write a note to ask him or her what
      communication aid or service is needed.
      If a sign language interpreter is requested, be sure to ask which language the person uses.
      American Sign Language (ASL) and Signed English are the most common.
      When you are interviewing a witness or a suspect or engaging in any complex conversation with
      a person whose primary language is sign language, a qualified interpreter is usually needed to
      ensure effective communication.
      When using an interpreter, look at and speak directly to the deaf person, not to the interpreter.
      Talk at your normal rate, or slightly slower if you normally speak very fast.
      Only one person should speak at a time.
      Use short sentences and simple words.
      Do not use family members or children as interpreters. They may lack the vocabulary or the
      impartiality needed to interpret effectively. What Situations Require an Interpreter?
      Generally, interpreter services are not required for simple transactions - such as checking a
      license or giving directions to a location - or for urgent situations - such as responding to a
      violent crime in progress.
      Example: An officer clocks a car on the highway going 15 miles per hour above the speed limit.
      The driver, who is deat is pulled over and is issued a noncriminal citation. The individual is able
      to understand the reason for the citation because the officer points out relevant information
      printed on the citation or written by the officer.
      Example: An officer responds to an aggravated battery call and upon arriving at the scene
      observes a bleeding victim and an individual holding a weapon. Eyewitnesses observed the
      individual strike the victim. The individual with the weapon is deaf. Because the officer has
      probable cause to make a felony arrest without an interrogation, an interpreter is not necessary
      to carry out the arrest.
      However, an interpreter may be needed in lengthy or complex transactions - such as
      interviewing a victim, witness, suspect, or arrestee - if the person being interviewed normally
      relies on sign language or speech reading to understand what others are saying.
      Example: An officer responds to the scene of a domestic disturbance. The husband says the wife
      has been beating their children and he has been trying to restrain her. The wife is deaf. The
      officer begins questioning her by writing notes, but her response indicates a lack of
      comprehension. She requests a sign language interpreter. In this situation an interpreter should
      be called. If the woman's behavior is threatening, the officer can make an arrest and call for an
      interpreter to be available later at the booking station.
       It is inappropriate to ask a family member or companion to interpret in a situation like this
      because emotional ties may interfere with the ability to interpret impartially.
      Example: An officer responds to the scene of a car accident where a man has been seriously
      injured. The man is conscious, but is unable to comprehend the officer's questions because he is
       deaf. A family member who is present begins interpreting what the officer is saying.
      A family member or companion may be used to interpret in a case like this, since it is an
       emergency involving an imminent threat to the safety or welfare of an individual and no
       interpreter is available. However, in general, do not expect or demand that a deaf person
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        provide his or her own interpreter. As a rule, when interpreter service is needed, it must be
        provided by the agency.
        List your agency's contact information for obtaining an interpreter, an assistive listening device,
        or other communication aid or service here.




        There for on the date in question of Febuary 21 2024 was in violation as well as the nebraska
        law 20-152 says 20-152.
        Deaf or hard of hearing person; arrest; right to interpreter; use of statements. Whenever a deaf
        or hard of hearing person is arrested and taken into custody for an alleged violation of state law
        or local ordinance, the appointing authority shall procure a licensed interpreter for any
        interrogation, warning, notification of rights, or taking of a statement, unless otherwise waived.
        No arrested deaf or hard of hearing person otherwise eligible for release shall be held in custody
        solely to await the arrival of a licensed interpreter. A licensed interpreter shall be provided as
        soon as possible. No written or oral answer, statement, or admission made by a deaf or hard of
        hearing l?erson in reply to a question of any law enforcement officer or any other person having
        a prosecutorial function may be used against the deaf or hard of hearing person in any criminal
        proceeding unless (1) the statement was made or elicited through a licensed interpreter and
        was made knowingly, voluntarily, and intelligently or (2) the deaf or hard of hearing person
        waives his or her right to an interpreter and the waiver and statement were made knowingly,
        voluntarily, and intelligently. The right of a deaf or hard of hearing person to an interpreter may
        be waived only in writing. The failure to provide a licensed interpreter pursuant to this section
        shall not be a defense to prosecution for the violation for which the deaf or hard of hearing
        person was arrested.
        Thus the plaintiff on this date was in fact violated



 49. The defendant Lt Howard Banks eternal affairs official capacity on February 21 2024 did commit a
 crime and illegal action on the plaintiff by doing a illegal by violated the 1st amendment the defendant
 willful knowing and spitful called non-discloser clients of the plaintiff to confirm sources which would
 lead to freedom of the press as the the plaintiff is a legal freelancer news reporter for uspresscorps.org
 and have been for over 5 years as well as violated the company 1st amendment relliott company critic
 worldwide news inc as well as relliott community emergency respond team news Inc as been operating
 since 2017 in the state of Nebraska and Iowa area the law of the press protecting the press without a
 proper warrent or a concent form thus is subject to pentaly by fredral law Amdt1. 7.10.1 Overview of
 Regulation of the Media Media organizations, such as newspapers, must comply with generally
 applicable laws although such laws may have incidental effects on the exercise of free speech rights.1
 The Supreme Court has, for example, affirmed that government may apply labor and antitrust laws
 to media organizations.2 The First Amendment may, however, inhibit government's ability to enact
 laws that target or impact a particular medium.3 The constitutional treatment of the media depends
 on several factors, including the specific medium being regulated.4 While each form of media tends
 to present its own peculiar problems, the basic principles enshrined in the First Amendment do not
 apply to different forms of media with- any less force.5 Further, the Supreme Court has suggested
 there is no distinction between media and nonmedia speakers within a particular medium for First
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 Amendment purposes.6 Accordingly, whether a particular media regulation is constitutional
 frequently depends on the application of general free speech principles, rather than media-specific
 principles or principles that relate only to the freedom of the press. 7

 Before radio and television became commonplace in American households, government regulation of
 media focused on print media. The growth of broadcast media precipitated a change in the focus of
 federal media regulation. The Supreme Court has recognized that broadcast media may be subject to
 different First Amendment protections than print media.8 In the absence of characteristics that
 justify different First Amendment treatment, the Supreme Court analyzes restrictions on media
 using the same tools it uses generally to assess rest;rictions on speech, such as the use of strict or
 intermediate scrutiny to assess content-based or content-neutral regulations.9

         Amc!t'l 9.'l o·.,;erlie,:11 of Freedorn of th,:J f::Jrss:s First Amendment:
        Congress shal.l make no law respecting an establishment ofreligion, or prohibiting the free
        exercise thereof; or abridging the freedom of speech, or of the press; or the right of the
        people peaceah'ly to assemble, and to petition the Governmentfor a redress of grievances.
        Some have raised the question of whether the Free Speech Clause and the Free Press Clause are
        coextensive, with respect to protections for the media. A number of Supreme Court decisions
        considering the regulation of media outlets analyzed the relevant constitutional protections
        without significantly differentiating between the two clauses. ·1 In one 1978 ruling, the Court
        expressly considered whether the institutional press is entitled to greater freedom from
        governmental regulations or restrictions than are non-press individuals, groups, or associations.
        Justice Potter Stewart argued in a concurring opinion: That the First Amendment speaks
        separately of freedom of speech and freedom of the press is no constitutional accident; but an
        acknowledgment of the critical role played by the press in American society. The Constitution
        requires sensitivity to that role, and to the special needs of the press in performing it
        effectively.2But, in a plurality opinion, Chief Justice Warren Burger wrote: The Court has not yet
        squarely resolved whether the Press Clause confers upon the 'institutional press' any freedom
        from government restraint not enjoyed by all others.3 The plurality ultimately concluded that the
        First Amendment did not grant media the privilege of special access to prisons.4
        Several Supreme Court holdings firmly point to the conclusion that the Free Press Clause does not
        confer on the press the power to compel government to furnish information or otherwise give the
        press access to information that the public generally does not have.5 Nor, in many respects, is the
        press entitled to treatment different in kind from the treatment to which any other member of the
        public may be subjected.6 The Court has ruled that [g]enerally applicable laws do not offend the
        First Amendment simply because their enforcement against the press has incidental effects. 7 At
        the same time, the Court has recognized that laws targeting the press, or treating different
        subsets of media outlets differently, may sometimes violate the First Amendment.8Further, it
        does seem clear that, to some extent, the press, because of its role in disseminating news and
        information, is entitled to heightened constitutional protections-that its role constitutionally
        entitles it to governmental sensitivity, to use Justice Potter Stewart's word.9
        Amdt1 .9.2 Protection of Confidentiai Sm:rces First Amendment:
        Congress shal.l make no law respecting an establishment of religion, or prohibiting the free
        exercise thereof; or abridging the freedom of speech, or of the press; or the right of the
        people peaceably to assemble, and to petition the Governmentfor a redress of grievances.
        News organizations have claimed that the First Amendment compels a reporter's privilege: an
        exception to the ancient rule that every citizen owes to his government a duty to give what
        testimony he is capable of giving. 'i The Court rejected the argument for a limited exemption
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      permitting reporters to conceal their sources from a grand jury and to keep confidential certain
      information they obtain and choose at least for the moment not to publish in Branzburg v.
      Hayes.2 Emphasizing the importance of the grand jury in creating a [f]air and effective law
      enforcement [system] aimed at providing security for the person and property of the
      individual, the Court concluded the public interest in ensuring effective grand jury proceedings
      overrode the consequential, but uncertain, burden on news gathering that would result from
      requiring reporters to respond to relevant grand jury questions.3 Not only was it uncertain to
      what degree confidential informants would be deterred from providing information, said Justice
      Byron White for the Court, but the conditional nature of the alleged reporter's privilege might not
      mitigate the deterrent effect, eventually leading to claims for an absolute privilege. Confidentiality
      could be protected by the secrecy of grand jury proceedings and by the experience of law
      enforcement officials in themselves dealing with informers. Difficulties would arise as well in
      identifying who should have the privilege and who should not. But the principal basis of the
      holding was that the investigation and exposure of criminal conduct was a governmental function
      of such importance that it overrode the interest of reporters in avoiding the incidental burden on
      their newsgathering activities occasioned by such governmental inquiries.4
      The Court observed that Congress, as well as state legislatures and state courts, are free to adopt
      privileges for reporters.5 As for federal courts, Federal Rule of Evidence 501 provides that the
      common law generally governs a claim of privilege.6 The federal courts have not resolved whether
      the common law provides a journalists' privilege. 7
      Nor does the status of an entity as a newspaper (or any other form of news medium) protect it
      from issuance and execution on probable cause of a search warrant for evidence or other material
      properly sought in a criminal investigation, the Court held in Zurcher v. Stanford Daily.8 The
      press had argued that to permit searches of newsrooms would threaten the ability to gather,
      analyze, and disseminate news, because searches would be disruptive, confidential sources would
      be deterred from coming forward with information because of fear of exposure, reporters would
      decline to put in writing their information, and internal editorial deliberations would be exposed.
      The Court thought that First Amendment interests were involved, but it seemed to doubt that the
      consequences alleged would occur. It observed that the built-in protections of the warrant clause
      would adequately protect those interests and noted that magistrates could guard against abuses
      when warrants were sought to search newsrooms by requiring particularizations of the type,
      scope, and intrusiveness that would be permitted in the searches.

      Am9t1 .9.3 Access to Government Places and Papers Amdt1 .9.3 Access to Government
      Places and Papers

       First Amendment:
      Congress shall make no law respecting an establishment of religion, or
      prohibiting the free exercise thereof; or abridging the freedom ofspeech, or
      ofthe press; or the right ofthe people peaceably to assemble, and to petition
      the Government for a redress of grievances.
      Conflict between constitutional rights is not uncommon. One difficult conflict to
      resolve is the conflict between a criminal defendant's Fifth and Sixth Amendment
      rights to a fair trial and the First Amendn1ent's protection of the rights to obtain
      and publish information about defendants and trials. Convictions obtained in the
      context of prejudicial pre-trial publicity': and during trials that were media
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      spectaculars2 have been reversed, but the prevention of such occurrences is of
      paramount importance to the governmental and public interest in the finality of
      criminal trials and the successful prosecution of criminals. However, the
      imposition of gag orders preventing press publication of information directly
      confronts the First Amendment's bar on prior restraints,3although the courts
      have a good deal more discretion in preventing the information from becoming
      public in the first place.4
      When the Court held that the Sixth Amendment right to a public trial did not
      guarantee access of the public and the press to pre-trial suppression hearings,5
      the decision raised questions concerning the extent to which, if at all, the speech
      and press clauses protected the public and the press in seeking to attend the trials
      themselves.6 In a split ruling in Richmond Newspapers v. Virginia, the Court
      held that the First Amendment protected the right of access to criminal trials
      against the wishes of the defendant. 7
      Chief Justice Warren Burger pronounced the judgment of the Court, but his
      opinion was joined by only two other Justices.8 The Chief Justice emphasized the
      history showing that trials were traditionally open. This openness, moreover, was
      no quirk of history but an indispensable attribute of an Anglo-American trial.9 He
      explained that this characteristic flowed from the public interest in seeing
      fairness and proper conduct in the,administration of criminal trials; the
      therapeutic value to the public of seeing its criminal laws in operation, purging
      the society of the outrage felt at the commission of many crimes, convincingly
      demonstrated why the tradition had developed and been maintained.1 oThus, the
      opinion concluded that a presumption of openness inheres in the very nature of a
      criminal trial under our system ofjustice.-11 Ultimately, the plurality ruled that in
      the context of trials ... the First Amendment guarantees of speech and press,
      standing alone, prohibit government from summarily closing courtroom doors
      which had long been open to the public at the time that amendment was
      adopted. -1 ~I
      Justice William Brennan, joined by Justice Thurgood Marshall, followed a
      different route to the same conclusion. He argued that rather than solely
      protecting individual communications, the First Amendment ... has a structural
      role to play in securing and fostering our republican system of self-government.13
       He argued that in order to secure robust public debate and other civic behavior,
      the First Amendment must also ensure that debate is informed, protecting not
       only communication itself but also ... the indispensable conditions of
       meaningful communication. ·14
      Two years later, the Supreme Court articulated a standard for determining when
       the government's or the defendant's interests could outweigh the public right of
       access. Globe Newspaper Co. v. Superior Court15 involved a statute, unique to
       one state, that mandated the exclusion of the public and the press from trials
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      during the testimony of a sex-crime victim under the age of 18. For the Court,
      Justice William Brennan wrote that the First Amendment guarantees press and
      public access to criminal trials, both because of the tradition of openness i 6 and
      because public scrutiny of a criminal trial serves the valuable functions of
      enhancing the quality and safeguards of the integrity of the factfinding process, of
      fostering the appearance of fairness, and of permitting public participation in the
      judicial process. The right recognized by the Court was not absolute; instead, in
      order to close all or part of a trial government must show that the denial is
      necessitated by a compelling governmental interest, and [that it] is narrowly
      tailored to serve that interest.17 The Court was explicit that the right of access
      was to criminal trials, 12 leaving open the question of the openness of civil trials.
      The Court next applied and extended the right of access in several other areas of
      criminal proceedings, striking down state efforts to exclude the public from voir
      dire proceedings, from a suppression hearing, and from a preliminary hearing.
      The Court determined in Press-Enterprise T19 that historically voir dire had been
      open to the public, and that [t]he presumption of openness may be overcome
      only by an overriding interest based on :findings that closure is essential to
      preserve higher values and is narrowly tailored to serve that interest.20 No such
      :findings had been made by the state court, which had ordered closed, in the
      interest of protecting the privacy interests of some prospective jurors, forty-one
       of the forty-four days of voir dire in a rape-murder case. The trial court also had
      not considered the possibility ofless restrictive alternatives, for example, in
       camera consideration of jurors' requests for protection from publicity. In Waller
       v. Georgia,2 ·1 the Court held that under the Sixth Amendment any closure of a
      suppression hearing over the objections of the accused must meet the tests set
       out in Press Enterprise,22 and noted that the need for openness at suppression
       hearings may be particularly strong because the conduct of police and prosecutor
       is often at issue.23 And, in Press Enterprise Il,24 the Court held that there is a
       similar First Alnendment right of the public to access most criminal proceedings
       (here a preliminary hearing) even when the accused requests that the
       proceedings be closed. Thus, an accused's Sixth Amendment-based request for
       closure must meet the same stringent test applied to governmental requests to
       close proceedings: there must be specific :findings ... demonstrating that first,
       there is a substantial probability that the defendant's right to a fair trial will be
       prejudiced by publicity that closure would prevent, and second, reasonable
       alternatives to closure cannot adequately protect the defendant's fair trial
       rights.25 Openness of preliminary hearings was deemed important because, •
       under California law, the hearings can be the final and most important step in the
       criminal proceeding and therefore may be the sole occasion for public
       observation of the criminal justice system, and also because the safeguard of a
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        jury is unavailable at preliminary hearings.26Thus the defendant willful violated
        the bill of rights an the plaintiff can show proof as well that Lt Howard Banks in
         official capacity did break the law to lead the investigation to terminate in favor of
         government corruption to cover up the defendant officer haggis that committed a
         crime and state and federal law violation

 50. The defendant Lt Howard Banks eternal affairs official capacity on February 212024, April 30th
 2024 and May 18th, 2024, did commit a crime and illegal action on the plaintiff by doing hate crime to
 allowed the defendant officer Bafaro official capacity, & he defendant Lt Howard Banks eternal
 affairs official capacity didnt not stop and did encouger the attack but not doing a proper
 investigation as well to where the first hate crime then the second hate crime was on april
 30th 2024 18 U.S.C. §249 says, "Whoever willfully causes bodily injury to someone or,
 through using a firearm, a firearm, a dangerous weapon, or an explosive or incendiary
 device, attempts to cause bodily injury to anyone, because of the actual or perceived race,
 color, religion, or national origin of any person, shall be fined and imprisoned for up to ten
 years or life in prison if death results or the offense includes kidnapping, aggravated sexual
 abuse or an attempt to kill." 18 U.S.C. 249 makes it a felony to commit either of the acts
 above against victims based on their actual or perceived association with the
 following:Their specific race, color, religion, or national origin in general; OR Their religion,
 national origin, gender, sexual orientation, gender identity, or disability IF the action
 involves crossing state lines or affects interstate or foreign commerce. This provision
 covers hate crimes across state boundaries where individual state laws would only cover
 crimes within their respective state WHAT ARE THE RELATED FEDERAL LAWS? 18 U.S.
 Code Chapter 13 lists the federal statutes dealing with civil rights violations, which include
 the following: 18 U.S.C. § 241 -this stature makes it a crime to conspire to injure,
 suppress, threaten, or intimidate any person in the United States into being unable to
 exercise or enjoy their constitutional rights; 18 U.S.C. § 248 this statute prohibits blocking
 access to reproductive health services using threats or force, intentionally causing injury
 or damaging clinic property. WHAT ARE THE PENALTIES FOR VIOLATING 16 U.S.C. 249?
 The penalties for violating 18 U.S.C. § 249 will depend on the specific circumstances of
 each case, but they can be pretty severe. In general, anyone who is convicted of a federal
 hate crime under this law can be sentenced to:

         Imprisonment for up to 1Oyears; or
         A fine of up to $250,000.
         However, in certain conditions, the ma~imum sentence for this hate crime may be
         extended to life imprisonment. This is the case if the crime involves any of the
         following:
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         Kidnapping;
         Attempted kidnapping;
         Aggravated sexual assault;
         Attempted aggravated sexual assault;
         Attempted murder; The death of anyone as a result of the crime;


 51. The defendant Lt Howard Banks eternal affairs official capacity he defendant Lt Howard Banks eternal
 affairs official capacity and Sargent Mcdanial On the date of may 2024-June 2024 did commit a
 crime knowing and willful on the date of april 30th 2024 and May 18th 2024
                                                                          I
                                                                            when a active
 lawsuit is in Douglas county to this day by judge Molly Kean due to the same things that this
 whole case now is about case number Cl 23-9723 these defendants was service with duce
 subpoenas to testify why they are violating the i;!da laws civil rights human rights as well as
 1st 4th 5th 6th 8th 11 th 14th amendment rights thus the defendant willfully knowing this did in
 fact infringed intimintadtion 28-110.Statementofrights.

         A person in the State of Nebraska has the right to live free from violence, or intimidation by
         threat of violence, committed against his or her person or the destruction or vandalism of, or
         intimidation by threat of destruction or vandalism of, his or her property regardless of his or her
         race, color, religion, ancestry, national origin, gender, sexual orientation, age, or disability. 8-
         311.08.
         Unlawful intrusion; photograph, film, or record image or video of intimate area; distribute or
         make public; penalty; court; duties; registration under Sex Offender Registration Act; statute of
         limitations.
         (1) It shall be unlawful for any person to knowingly intrude upon any other person without his
         or her consent in a place of solitude or seclusion. Violation of this subsection is a Class I
         misdemeanor. A second or subsequent violation of this subsection is a Class IV felony. 28-1310.
         Intimidation by telephone call or electronic communication; penalty. (1) A person commits the
         offense of intimidation by telephone call or electronic communication if, with intent to
         intimidate, threaten, or harass an individual, the person telephones such individual or transmits
         an electronic communication directly to such individual, whether or not conversation or an
         electronic response ensues, and the person: (a) Uses obscene language or suggests any obscene
         act;
         (b) Threatens to inflict physical or mental injury to such individual or any other person or
         physical injury to the property of such individual or any other person; or
         (c) Attempts to extort property, money, or other thing of value from such individual or any other
         person.
         (2) The offense shall be deemed to have been committed either at the place where the call or
         electronic communication was initiated or where it was received.
         (3) Intimidation by telephone call or electronic communication is a Class III misdemeanor.
         (4) For purposes of this section, electronic communication means any writing, sound, visual
         image, or data of any nature that is received or transmitted by an electronic communication
         device as defined in section 28-833.
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        42 U.S.C. § 3631 Section 3631 makes it unlawful for an individual to use force or threaten to use
        force to injure, intimidate, or interfere with, or attempt to injure, intimidate, or interfere with,
        any person's housing rights because of that person's race, color, religion, sex, handicap, familial
        status or national origin. Thus judge Molly Kean is aware of the actions as of June 18th
        2024 at 2pm when the plaintiff did alert her about he assault actions



 52. the defendant Sargent Mcdanial capacity o April 30th 2024, did commit a crime and illegal action on
 the plaintiff by doing hate crime to allowed the defendant officer Bafaro official capacity, & he
 defendant Lt Howard Banks eternal affairs official capacity

         didn't not stop and did encouger the attack but not doing a proper investigation as
        well to where the first hate crime then the second hate crime was on April 30th 2024
         18 U.S.C. §249 says, "Whoever willfully causes bodily injury to someone or, through
         using a firearm, a firearm, a dangerous weapon, or an explosive or incendiary
         device, attempts to cause bodily injury to anyone, because of the actual or
         perceived race, color, religion, or national origin of any person, shall be fined and
         imprisoned for up to ten years or life in prison if death results or the offense
         includes kidnapping, aggravated sexual abuse or an attempt to kill." 18 U.S.C. 249
         makes it a felony to commit either of the acts above against victims based on their
         actual or perceived association with the following: Their specific race, color,
         religion, or national origin in general; OR Their religion, national origin, gender,
         sexual orientation, gender identity, or disability IF the action involves crossing state
         lines or affects interstate or foreign commerce. This provision covers hate crimes
         across state boundaries where individual state laws would only cover crimes within
         their respective state WHAT ARE THE RELATED FEDERAL LAWS? 18 U.S. Code
         Chapter 13 lists the federal statutes dealing with civil rights violations, which
         include the following: 18 U.S.C. § 241-this stature makes it a crime to conspire to
         injure, suppress, threaten, or intimidate any person in the United States into being
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         prohibits blocking access to reproductive health services using threats or force,
         intentionally causing injury or damaging clinic property. WHAT ARE THE PENALTIES
         FOR VIOLATING 16 U.S.C. 249?The penalties for violating 18 U.S.C. § 249will
         depend on the specific circumstances of each case, but they can be pretty severe.
         In general, anyone who is convicted of a federal hate crime under this law can be
         sentenced to:
         Imprisonment for up to 1Oyears; or
         A fine of up to $250,000.
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           However, in certain conditions, the maximum sentence for this hate crime may be
           extended to life imprisonment. This is the case if the crime involves any of the
           following:
           Kidnapping;
           Attempted kidnapping;
           Aggravated sexual assault;
           Attempted aggravated sexual assault;
           Attempted murder; The death of anyone as a result of the crime;



 52. The defendants all allowed to break the federal state laws As well as all the defendants
 City of Bellevue in official capacity

 Bellevue police department in official capacity, capacity, Sarpy County Jail in official
 capacity, Aimee C Bataillon in official capacity,

 Bellevue Officer J Haggis in official capacity, Officer D. Bafaro in official capacity,

 LT Howard Banks in official capacity, Sargent McDaniel in official capacity, Sargent Bank

 Did violated the plaitiffs rights and broke the laws Transgender rights and law of
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 9:'.'o20.nati_oo__a_t_0to_2llo_rigjn. of action since the defendants result of the actions of all the
 defendant's law is§ 3-504.1. Truthfulness in statements to others shall Lie in this claim
 and will hide behind the tort claim act as well as untruthful statement to get out of their
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 actions they caused. As well as all the defendants Nebraska, County Attorney Office in
 official capacity, State Attorney Brandi Lang in in official capacity



 53. City of Bellevue in official capacity Bellevue police department in official capacity,
 Sarpy County Jail in official capacity,

 Aimee C Bataillon in official capacity,Bellevue Officer J Haggis in official capacity,

 Officer D. Bafaro in official capacity, LT Howard Banks in official capacity, Sargent
 McDaniel in official capacity, will try to file a motion to dismiss to their tort Claim act all the
 Defendant City("City") and respectfully submits its Brief in Support of the Motion to
 Dismiss filed in the above captioned action pursuant to Neb. Ct. R. Pldg. § 6-1112(b)(1) and
 Neb. Ct. R. Pldg. § 6- 1112(b)(6). In support thereof, the City states to the Court: A
 complaint, to survive when confronted with a motion to dismiss, must "allege sufficient
 facts, accepted as true, to state a claim to relief that is plausible on its face." Doe v. Bd. of
 Regents of University of Nebraska, 280 Neb. 492, 506, 788 N.W.2d 264, 278 (2010). Factual
 allegations are "plausible if they suggest the existence of the element and raise a
 reasonable expectation that discovery will reveal evidence of the element or claim." Id. at
 506. "[A] court must assume that pleaded facts, as distinguished from Legal conclusions,
 are true as alleged and must give the pleading the benefit of any reasonable inference from
 the facts alleged, but cannot assume the existence of a fact not alleged, make factual
 findings to aid the pleading, or consider evidence which might be adduced at trial."
 Hamilton v. City of Omaha, 243 Neb. 253, 559 (1993). law is§ 3-504.1. Truthfulness in
 statements to others In the course of representing a client a lawyer shall not knowingly:
 Misrepresentation

 54. all the defendants ,Sargent Bank in official capacity, Sarpy county jail in official
 capacity, ,Sarpy county sheriffs department in official capacity, did in fact cause a crime
 action and violated the rights of the plaintiff in the matters of these action and laws of
 PREA in the state of Nebraska htt_p_s_;Jl..lgb.1QfiltL_OJ.glb_ar-news/tiproje...c1/_illl_::1rnns. ge~
 housing-policies/ as the laws are clear in the matter as well as PREA NE Transgender
 Housing PoliciesNE Transgender Housing Policies December 14, 2022 NebraskaSTATE

 Please note that the Nebraska Department of Correctional Services publishes Prison Rape
 Elimination Act (PREA) audits to its website that include summaries of certain relevant
 policies. For example, please see: Nebraska Department of Corrections Prison Rape
 Elimination Act (PREA) Audit Report: Adult ~risons and Jails, Nebraska State Penitentiary,
 final audit date July 7, 2021. To put in a public records request for policies related to
 housing transgender inmates you may email DCS.PublicRecords@nebraska.gov.
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 Policy: Nebraska Department of Correctional Services Policy No. 203.11, Sexual
 Assault/Abuse, revised July 31, 2023. (Link unavailable}E. PREA Standard Secured Facility
 115.15 a-f / Community Facilities 115.215 a-f Limit To Cross Gender Viewing And Searches
 6. NDCS will recognize the gender of an inmate based on the legal classification of that
 inmate as listed on their birth certificate as it is recorded on the inmate's birth state. When
 a transgender inmate has been approved to change their birth certificate to reflect how the
 inmate identifies and the birth certificate has been changed, and the NDCS has received
 an official copy of the new birth certificate, the inmate may be approved to have a pat
 search and a safety search conducted by the appropriate team member. However, if an
 inmate has undergone gender transformation surgery but has not changed their gender on
 their birth certificate, the inmate's reproductive organs may be a factor in NDCS gender
 designation of the inmate (as determined by the initial medical screening) .Q. PREA
 Standard Secure Facility 115.42 a-g / Community Facility 115.242 a-g Use of Screening
 Information 2. In deciding whether to assign a transgender or intersex inmate to a facility
 for male or female inmates, and in making other housing and programming assignments,
 N DCS shall consider on a case-by-case basis whether a placement would ensure the
 inmates health and safety, and whether the placement would present management or
 security problems. 3. Placement and programming assignments for each transgender or
 intersex inmate shall be reassessed at least twice each year and shall consider any threats
 to safety experienced by the inmate. The PREA compliance manager will also complete an
 in person assessment and submit a written report that will be maintained in the inmate's
 file indicating a review was conducted 4. A transgender or intersex inmate's own view with
 respect to the inmate's own safety shall be given serious consideration.

 5. Transgender and intersex inmates shall be given the opportunity to shower separately
 from other inmates.6. NDCS shall not place lesbian, gay, bisexual, transgender or intersex
 inmates in dedicated facilities, units, or wings solely on the basis of such identification or
 status, unless such placement is in a dedicated facility, unit, or wing established in
 connection with a consent decree, legal settlement, or legal judgment for the purpose of
 protecting such inmates.Policy: Nebraska Department of Correctional Services Policy No.
 201.03, Identification of Potential Aggressors and Victims/Survivors, July 31, 2023. (Link
 unavailable)!. SCREENING PROCEDURES (PREA standard Secure facilities -115.41 a-c/
 Communityfacilities-115.241 a-c) All inmates shall be assessed during an intake
 screening at reception facilities and upon each transfer to another facility for their risk of
 being sexually assaulted, sexually abused or sexually harassed by other inmates and/or
 their potential to be sexually abusive or sexually harassing toward other inmates. This
 screening shall take place within 72 hours of arrival at the facility and be conducted using
 an objective screening instrument. NDCS shall implement appropriate controls on the
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 dissemination of this information within facilities in order to ensure sensitive information is
 not exploited to an inmate's detriment by staff or other inmates. VI. USE OF SCREENING
 INFORMATION PREAASSESSMENT (PREAStandard Secure Facility 115.42 a-g/
 Community Facility 115.242 a-g Use of Screening Information (PREA Assessment) A.
 Facilities will utilize information from the PREA screening assessment to inform housing,
 bed, work, education and program assignments with the goal of keeping those inmates
 who are at high risk of being sexually victimized from those who are at high risk of being
 sexually abusive. The institution's physical plant, staffing levels, size, and number of
 programs and services, as well as activity schedules, will determine the extent to which
 separation is possible or contacts minimized. Computer tracking of high-risk inmates
 within an institution may be utilized. Facilities will make individualized determinations
 about how to ensure the safety of each inmate. (ACl-3D-10, ACl-3D-12) B. In deciding
 whether to assign a transgender or intersex individuals to a facility for male or female
 inmates, and in making other housing and programming assignments, NDCS shall
 consider on a case-by-case basis whether a placement would ensure the individuals
 health and safety, and whether the placement would present management or security
 problems. C. Placement and programming assignments for each transgender or intersex
 individual shall be reassessed at least twice each year with a new PREA screening
 assessment completed and shall consider any threats to safety experienced by the
 inmate. The PREA Compliance Manager will also complete an in-person assessment and
 submit a written report that will be maintained in the individuals file indicating a review was
 conducted. D. A transgender or intersex individuals own views with respect to the inmate's
 own safety shall be given serious consideration. E. Transgender and intersex individuals
 shall be given the opportunity to shower separately from other inmates. F. NDCS shall not
 place lesbian, gay, bisexual, transgender or intersex individuals in dedicated facilities,
 units, or wings solely on the basis of such identification or status, unless such placement
 is in a dedicated facility, unit, or wing established in connection with a consent decree,
 legal settlement, or legal judgment for the purpose of protecting such individuals.



 55. The Defendants in official capacity Auto Body authority towing and impound INC in
 official capacity did in fact cause damage to 2011 kia Sorento a nit-theft system break
 booster causing the whole front end of total cost after NOT Dis-engamend by dragging the
 car up on their flatbed tow truck the emergency ambulance of relliott community
 emergency respond team news Inc. But as they broke the 8th amendment of charges of
 illegally towing while the plaintiffs boyfriend Makaisten Downing told them he would call
 her god mother to get the company vehicle and the defendant Officer Haggis said no its
 police department policy to tow a car however that is false due to 8th amendment prohibits
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 extra fees or cost thus this matter alone cost of damages $8,922.93 the lower ball joints on
 both sides damaged tire rods had to be replaced the driver side rotor damage and replaced
 all new break pads



 Thus, the law is very clear about damages anc:tthe company along with the defendants of
 city of Bellevue and defendants Bellevue police department refuse to comply with
 Nebraska has strong laws regarding this issue. In regions with strong legislation on
 towing practices, if a vehicle is damaged during the towing or storage process, the tow
 company is typically required to reimburse the owner for damages. Robust regulations
 prioritize consumer protection, and strong legislation often includes provisions that hold
 towing companies accountable for any damages incurred during the towing or storage of
 a vehicle. This may involve clear guidelines for reporting and documenting damages, and
 the legislation may stipulate that the tow company is responsible for covering the costs
 of repairs or compensation for the diminished value of the vehicle. Nebraska has strong
 laws regarding this issue. In regions with strong legislation on towing practices, tow truck
 operators are typically required to maintain insurance coverage. Robust regulations
 establish clear standards for insurance types and coverage limits, ensuring that tow truck
 operators carry adequate insurance to protect the interests of consumers and third
 parties. Strong legislation may mandate liability insurance, cargo insurance, and other
                        '
 relevant coverage to mitigate financial risks in the event of accidents, property damage,
 or injuries. These requirements aim to protect the public and uphold the financial
 responsibility of tow truck operators. As a note, the owner is entitled to reimbursement
 and damages. Predatory towing is a nationwide issue, where profit-seeking property
 owners and towing companies tow cars without the owner's consent. Protections are
 crucial to prevent individuals from being taken advantage of. We've identified key
 safeguards and evaluated their implementation in Nebraska. Based on our criteria,
  Nebraska receives a grade of C+. If you believe that you have been towed illegaly
 contact a local attorney or your attorney general. To sum up all the laws that we have
  reviewed check out our overview. If you are intersted to read more go to the Nebraska
  legislatures laws on towing Revised Statutes Chapter 60 - MOTOR VEHICLES. See what
 steps to take when you have been towed.

 There for the defendant by law is required to pay the damages but hides being the
 immunity of the defendant Bellevue police department
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 56. The defendant Honda cars of Bellevue Dealership C/O Caitlin Staub sales consultant,
 Stephania Clapper receptionist, on April 30th 2024 did in fact intended as well as
 acknowledged willfully as well as indented to post false allegation about the plaintiff on
 Facebook page called Bellevue 411 uncensored (mostly) to get public attention on a
 issues that has caused defamation of charter, hate crime of gender-sexual ordination,
 and disability discrimination, Cyber bullying, cyber harassment, Stalking Hearsay
 Slander, violation of social media handbook privacy of policy as well as Nebraska state
 laws say 20-203. Invasion of privacy; trespass or intrude upon a person's solitude. Any
 person, firm, or corporation that trespasses or intrudes upon any natural person in his or
 her place of solitude or seclusion, if the intrusion would be highly offensive to a
 reasonable person, shall be liable for invasion of privacy. while on company business
 time. https://www.hondacarsofbellevue.com/privacy-policy/ as the company is respond
 able of there employees at this time thus their own policy and regulation stay this
 Dispute Resolution, Arbitration Agreement, Class Action Waiver

 Initial Dispute Resolution Procedure

 Notice of Dispute, Requirement to Attempt to Resolve Disputes Informally.

 By visiting the Sites and/or using the Services you and Dealership agree that if there is any
 controversy, claim, action, proceeding, demand, or dispute arising out of or related to your visit to the
 Sites, use of the Services, or the breach, enforcement, interpretation, or validity of this Privacy Policy
 or any part of it (hereinafter "Dispute"), both you and we shall first try in good faith to resolve such
 Dispute informally by providing written notice to ij,e other party describing the facts and
 circumstances of the Dispute and allowing the receiving party thirty (30) calendar days in which to
 respond to or resolve the Dispute. Notice shall be sent to us at ATTN: 510 Fort Crook Road North
 Bellevue, NE 68005 , and to you at the address or email we have on file for you. Both you and the
 Dealership agree that this dispute resolution procedure is a condition precedent that must be
 satisfied before initiating any litigation or filing any claim against the other party. This notice and
 informal resolution requirement will not apply to the extent it is prohibited by law.


 Arbitration, Class Action Waiver.

 IF ANY DISPUTE CANNOT BE RESOLVED BY THE ABOVE INITIAL DISPUTE RESOLUTION
 PROCEDURE, WE BOTH AGREE THAT THE DISPUTE WILL BE DECIDED BY BINDING
 ARBITRATION ON AN INDIVIDUAL BASIS.

 This means that if you and we have a Dispute that is not resolved in the informal process described in
 section 3.1 above, we both agree to resolve it through arbitration. Arbitration means that a neutral
 third party will hear both sides and make a decision. This is different from a court trial, where a judge
 or jury hears the case in a formal court setting and makes a decision. We both agree not to sue each
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 other in court.


 This arbitration agreement is governed by the Federal Arbitration Act (9 U.S.C. §§ 1-16). The
 arbitration will be before a single arbitrator and the arbitrator's decision will be final and binding on
 both of us.

 The arbitration will be held pursuant to the rules of the American Arbitration Association - Consumer
 Arbitration Rules (if you are a business, the American Arbitration Association - Commercial
 Arbitration Rules will apply instead} (as applicable, the "Rulesn). You can access a copy of the rules at
 www.adr.org/rules. The Rules provide the steps required to start an arbitration case.

 This arbitration agreement does not apply to Disputes that you or we bring against the other party
 that are within the jurisdiction of small claims court. If the amount in controversy of a Dispute in small
 claims court exceeds the jurisdiction of the small claims court, that Dispute will be subject to this
 arbitration agreement.

 Class action waiver. We both agree that any Dispute will be handled individually. This means that you
 or we cannot join together with other people who have a similar problem to bring a single case
 against the other party. You also cannot be part of a class action lawsuit (or class action arbitration)
 against us, and we cannot be a part of a class action lawsuit (or class action arbitration) against you.


 By using our Services, and visiting our Site, you agree to this arbitration agreement and class action
 waiver. If you do not agree, please do not use our Services or visit our Site.

 If any part of this arbitration agreement and/or class action waiver is found to be invalid or cannot be
 enforced, the rest of the arbitration agreement and class action waiver will still apply. The arbitrator
 will decide if any part is invalid or cannot be enforced.

 Other Arbitration Agreements

 In the event of a conflict between this arbitration agreement and any other arbitration agreement
 between you and the us, such as an arbitration agreement contained in a retail installment sale
 contract, purchase order, lease agreement, or repair estimate (hereinafter "Other Arbitration
 Agreement"), the terms of the Other Arbitration Agreement shall govern and prevail in each instance.


 Venue And Choice Of law

 This Privacy Policy has been made in, and shall be construed in accordance with the laws of Nebraska
 without giving effect to any conflict of law principles. Any disputes or claims not subject to the
 arbitration provision discussed above shall be resolved by a court located in that state and you agree
 and submit to the exercise of personal jurisdiction of such courts for the purpose of litigating any
 such claim or action.
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 If any part of this Privacy Policy is found to be invalid or cannot be enforced, the rest of the Privacy
 Policy will still apply.



     1. The defendant Honda cars of Bellevue lawyer Schworer motor company policy will
         be attach for there privacy that is on there official website as well as there company
         policy however the policy and regulation that the human resource dose would find
         there motion to dismiss to be very much overruled in this manner of perjury 28-915.
         Perjury; subornation of perjury; penalty.(1) A person is guilty of perjury if, in any (a)
         official proceeding he or she makes a false statement under oath or equivalent
         affirmation, or swears or affirms the truth of a statement previously made, when the
         statement is material and he or she does not believe itto be true or (b) official
         proceeding in the State of Nebraska he or she makes a false statement in any
         unsworn declaration meeting the requirements of the Uniform Unsworn Foreign
         Declarations Act under penalty of perjury when the statement is material and he or
         she does not believe it to be true. Perjury is a Class Ill felony.(2) A person is guilty of
         subornation of perjury if he or she persuades, procures, or suborns any other
         person to commit perjury. Subornation of perjury is a Class Ill felony. As their own
         handbook for employees is highly Strick as well as the three website on all parties of
         dealership dose state the fact MY NOT USE PERSONAL SOCIAL MEIDA as this has
         happen while they was on the clock there for the defendants handbook policy and
         regulation dose show that the defendants are fully respond able of any actions
         caused as there rules policy, regulation and guidelines are iron tight

     1. Social Media

         We are committed to supporting your rights to interact knowledgeably and socially on the
         internet through blogging and in social media. Social media can be a fun and rewarding
         way to share your life and opinions with family, friends and co-workers. However, use of
         social media also presents certain risks and carries certain responsibilities. To assist you
         in making responsible decisions about your use of social media, we have established
         these guidelines.

         Guidelines

         "Social media" includes all means of communicating or posting information or content of
         any sort on the Internet, including to your own or someone else's web log or blog, journal
         or diary, personal web site, social networking or affinity web site, web bulletin board or a
        _chat room, whether or not associated or affiliated with the Company, as well as any other
         form of electronic communication.
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      The same principles and guidelines found in Company policies and three basic beliefs
      apply to your activities online. Ultimately, you are solely responsible for what you post
      online. Before creating online content, consider some of the risks and rewards that are
      involved. Despite disclaimers, your online posts can result in members of the public
      forming opinions about the Company, its dealerships, employees, partners, products and
      you. Keep in mind that conduct that adversely affects your job performance, the
      performance of co-workers or otherwise adversely affects customers, suppliers, people
      who work on behalf of the Company or its legitimate business interests is prohibited.

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      Know and follow the rules

      Carefully read these guidelines, and the Confidential Information, Equal Employment
      Opportunity, Electronic Communications and No Harassment policies, and ensure your
      postings are consistent with these policies. Even when blogging or engaging in social
      media on your own time on your personal device, you are subject to all the Company's
      policies and procedures. Inappropriate postings that may include discriminatory remarks,
      harassment, bullying, and threats of violence or similar inappropriate or unlawful conduct
      will not be tolerated.

      Be respectful

      Always be fair and courteous to co-workers, customers, suppliers or third parties who
      work on behalf of the Company. Also, keep in mind that you are more likely to resolve
      work related complaints by speaking directly with your co-workers or by utilizing our
      Problem Solving Policy than by posting complaints to a social media outlet.
      Nevertheless, if you decide to post complaints or criticism, avoid using statements,
      photographs, video or audio that reasonably could be viewed as malicious, obscene,
      discriminatory, threatening, intimidating; that disparage customers, employees or
      suppliers, or that might constitute harassment or bullying. Examples of such conduct
      might include offensive posts meant to intentionally harm someone's reputation or posts
      that could contribute to a hostile work environment based on race, sex, disability, religion
      or any other status protected by law or company policy.

       Please honor the privacy rights of our cus~omers and employees by obtaining their
       permission before writing about or posting pictures of them and understand that doing so
       without their express permission might be a breach of their privacy and confidentiality.

       Be honest and accurate

       Make sure you always are honest and accurate when posting information or news, and if
       you make a mistake, correct it quickly. Be open about any previous posts you have
       altered. Use privacy settings where appropriate. Remember that the Internet archives
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      almost everything; therefore, even deleted postings can be searched. Never post any
      information or rumors that you know to be false. Never ask anyone to post any
      information that you know to be false or not honest.

      Post only appropriate and respectful content

      Maintain the confidentiality of the Company's trade secrets and proprietary, private and
      confidential information. Trade secrets may include information regarding the
      development of systems, processes, products, knowledge and technology. Confidential
      and proprietary information includes, but is not limited to, customer information,
      information about products, sales, finances, pricing, number of products sold, number of
      employees, company strategy, internal reports and communications, and any other
      information that has not been publicly released by the Company.

      Do not create a link from your blog, website or other social networking site to a
      Company website without identifying yourself as a Company employee.

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      You should always be clear that you are expressing your personal opinions. Never
      represent yourself as a spokesperson for Company. If the Company is subject to the
      content you are creating, be clear and open about the fact that you are an employee and
      make it clear that your views do not represent those of the Company, co-workers,
      customers, suppliers or people working on behalf of the Company. If you do publish a
      blog or post online related to the work you do or subjects associated with the Company,
      make it clear that you are not speaking on behalf of the Company. It is best to include a
      disclaimer such as "The postings on this site are my own and do not necessarily reflect
      the views of the Company."

      Do not promote or sell any product or service that would compete with any of the
      Company's products or services without permission in writing from your Regional Vice
      President. This includes, but is not limited to, new or used vehicles, parts, service or any
      other products sold by the Company.

      Using social media at work

      Refrain from using social media on work time or on equipment we provide, unless it is
      work-related as authorized by your manager or other member of management and is
      consistent with the Electronic Communications Policy. Do not use the Company's email
      addresses to register on social networks, biogs or other online tools utilized for personal
      use.

       Creating a Social Media Profile
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      If you would like to use your social media account for generating business for the
      dealership by identifying your employment status, you may do so. However, if you do
      create your own social media account in which any logos, pictures, statements or any
      other information that would identify Group 1 Automotive, Inc. or any of its dealerships
      or other affiliated entities are included in such site, please include the following
      disclaimer conspicuously on the site:

      All opinions, beliefs and representations posted by me on this site are mine exclusively
      and do not reflect the position of my employer, or any other person employed by my
      employer or any of its affiliates and are hereby disclaimed by my employer.

      Company policy strictly prohibits employees from using their own social media account
      to communicate their personal beliefs, opinions or any other position, controversial or
      otherwise, in a manner that could be construed by the reader as being the beliefs,
      opinions or positions of or supported by Group 1 Automotive, Inc. or any of its affiliated
      companies.

      This is necessary since Google optimizes most social media channels. Google will pick
      up your individual posts that utilize key terms as those of your dealership in the search
      results alongside our Company account,. This creates confusion to the consumer and
      creates the following issues for our Company:

          1. Dilutes the visibility of our Company social media page, thus causing confusion
             and frustration for customers trying to connect directly with us;
          2. We cannot control content that is posted away from our Company account;

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          3. Uncensored content can offend and incite our customer base causing lost revenue
              opportunities; and
          4. Our Company cannot provide customer support if a customer in need of our
              services connects with the wrong social media account.

      Retaliation is prohibited

       You are encouraged to report violations of this policy. The Company prohibits retaliation
       against any employee for reporting a possible deviation from this policy or for
       cooperating in an investigation. Any employee who retaliates against another employee
       for reporting a possible deviation from this policy or for cooperating in an investigation
       will be subject to disciplinary action, up to and including termination.

       Media contact

       You should not speak to the media on the Company's behalf but should direct all media
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       inquiries to your General Manager or the highest-level management employee if you are
       at a non- dealership location (for example, Director or Regional Manager). The Company
       will designate a spokesperson to respond to the media so that no misinformation is
       provided.

       For more information

       If you have questions or need further guidance, please contact your Human Resources
       Representative.

       Solicitation - Distribution Policy
       To prevent distractions and unwanted solicitation, the solicitation by an employee of
       another employee for the support of any organization is prohibited during the working
       time of any employee involved. In addition, the distribution of advertising materials,
       handbills or other literature always is prohibited in all working areas and sales areas. E-
       Mail, fax machines, and voice mail may nqt be used to advertise or solicit employees
       during the working time of any employee involved. As examples, non-working time
       would be lunch or break time and a non-working area would be the break room. Non-
       employees are prohibited from soliciting employees or distributing materials for any
       cause or purpose on Company premises. Only third parties who have been invited to
       enter our premises and who have business to transact with the Company are authorized to
       enter and be on our premises. All other third parties shall be considered trespassers and
       be subject to removal.

    2. The plaintiff now is asking for the judge to see the defendants are lieing under oath
       to get out of a lawsuit due to the fact on this day there employee drove the plaintiff
       off the road and was drive road rage ad the plaintiff did call 911 and then the
       defendants unknow employee fled form i80 to us75 to chandler road to where on
       chandler road caused a other diver to be pushed off the road to flee from to the
       defendants loction as the plaintiff did in fact find him to where the unknow
       employee false reported to the police about what really happen while the defendant
       was on the phone with 911 and then the other defendants went upon hearsay and
       attacked the plaintiff. If it woild please the courts 60-6,213.
       Reckless driving, defined. 60-6, 140. Following vehicles; restrictions. (1) The driver of
       a motor vehicle shall not follow another vehicle more closely than is reasonable and
       prudent, and such driver shall have due regard for the speed of such vehicles and
       the traffic upon and the condition of the roadway. 28-907.False reporting; penalty.
       The unknow employee that lied to the officer also did a hate crime action 28-111.
       Enhanced penalty; enumerated offenses.Any person who commits one or more of
       the following criminal offenses against a person or a person's property because of
       the person's race, color, religion, ancestry, national origin, gender, sexual
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         orientation, age, or disability or because of the person's association with a person
         of a certain race, color, religion, ancestry, national origin, gender, sexual
         orientation, age, or disability shall be punished by the imposition of the next higher
         penalty classification than the penalty classification prescribed for the criminal
         offense, unless such criminal offense1is already punishable as a Class 18 felony or
         higher classification: Manslaughter, section 28-305; assault in the first degree,
         section 28-308; assault in the second degree, section 28-309; assault in the third
         degree, section 28-31 O; terroristic threats, section 28-311.01; stalking, section 28-
         311.03; kidnapping, section 28-313; false imprisonment in the first degree, section
         28-314; false imprisonment in the second degree, section 28-315; sexual assault in
         the first degree, section 28-319; sexual assault in the second or third degree,
         section 28-320; sexual assault of a child, sections 28-319.01 and 28-320.01; arson
         in the first degree, section 28-502; arson in the second degree, section 28-503;
         arson in the third degree, section 28-504; criminal mischief, section 28-519;
         unauthorized application of graffiti, section 28-524; criminal trespass in the first
         degree, section 28-520; or criminal trespass in the second degree, section 28-521.

         SourceLaws 1997, LB 90, § 3;
         Laws 2006, LB 1199, § 2; aws 2009, LB63, § 3.
         AnnotationsvThe phrase "because of" requires the State to prove some causal
         connection between the victim's association with a person of a certain sexual
         orientation and the criminal act. State v. Duncan, 293 Neb. 359, 878 N.W.2d 363
         (2016}.
         The unknow employee threw liquid at the plaintiff car strucking her passage in the
         face and body while the window was down and saying ( move the fuck out of the way
         fagots you don't belong hear) then the unknow defendant employee cut off the
         plainitf and lock there breaks to cause a false car wreck collision 60-6,244.

 Motor vehicles; brakes; requirements. To where the plaintiff would rear end them as the
 safety system that has been set up the yellow blue and white light detected this and turned
 on while the plaintiff slammed on her break while she was going the same direction as he
 was to AMMCO and tire plus to make sure that he didn't cause no more damage thus as
 the defendant is aiding and bedding a fugitive in this manner to where the defendant lied to
 the officer and twisted the story to be arrested made a deflation charter statement and
 said the the plaintiff was pretending to be a officer of the law which the plaintiff is not She
 is a relliott Emergency respond team storm chaser as her company is legit threw the
 Nebraska sectary which led to the officers believing in hearsay and assaulting the plaintiff
 illegally.
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    3. If the judge would see there is a hate crime action and bodily injury that leads back
       to where it all started HONDA CARS OF BELLUVE DEALERSHIP AND THE
       DEFANDANTS OF BELLEUVE POLICE DEPARTMENT and if the judge over looks
       these action of hate crime then we ask why is there any judges in the world thus as
       the 8-206. Prosecuting for aiding and abetting. A person who aids, abets, procures,
       or causes another to commit any offense may be prosecuted and punished as if he
       were the principal offender.
       All the plaintiff wants is proper justice as the defendant policy and regulation and
       code of conduct is Strick in this manner
       To allow them to get off this lawsuit shows that anyone can do a hate crime, road
       rage aid and abetting lying to the police to false arrest some else and almost have
       police murder someone else on this manner 28-915.01. False statement under oath
       or affirmation; penalty; applicability of section. 3-504.1. Truthfulness in statements
       to others.


         In the course of representing a client a lawyer shall not knowingly:


         (a) make a false statement of material fact or law to a third person; or


         (b) fail to disclose a material fact to a third person when disclosure is necessary to
       avoid assisting a criminal or fraudulent act by a client, unless disclosure is
       prohibited by Rule 1.6.


       As well as the defendant HONDA CARS OF BELLUVE DEALERSHIP by there own
       policy, regulations and employee handbook are fully respondale of there employee
       actions while they are on the clock due to no cellphone usage while on clock an
       invasion of privacy
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 57. The defendants State of Nebraska in official capacity

 County Attorney Office in official capacity

 City of Bellevue in official capacity

 Bellevue police department in official capacity,

 Papillion Police Department in official capacity

 Sarpy County Jail in official capacity,

 Aimee C Battalion in official capacity,

 Bellevue Officer J Haggis in official capacity,

 Officer D. Batara in official capacity,

 LT Howard Banks in official capacity,

 Sargent McDaniel in official capacity,

 did now on the date of Aug 1st 2024 2pm confess and commit a crime of tampering with
 evidence Is Tampering with Evidence a Felony?



 Tampering or destroying evidence can gravely impact a criminal justice case. Therefore the
 Nebraska statute that defines the act of tampering with evidence also states that
 tampering with physical evidence is a Class IVfelpny. 28-922. Tampering with physical
 evidence; penalty; physical evidence, defined.

 As well as interfering with investigation 25-328. Intervention; right; procedure.

 Any person who has or claims an interest in the matter in litigation, in the success of either
 of the parties to an action, or against both, in any action pending or to be brought in any of
 the courts of the State of Nebraska, may become a party to an action between any other
 persons or corporations, either by joining the plaintiff in claiming what is sought by the
 complaint, or by uniting with the defendants in resisting the claim of the plaintiff, or by
 demanding anything adversely to both the plaintiff and defendant, either before or after
 issue has been joined in the action, and before the trial commences. As well Confession to
 break any laws that don't apply to policy or state laws as they are swore officers of the laws and
 have to follow all laws bill of rights federal laws ADA laws conditional laws and rights Civil rights
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 there for please see pictuere of there confession and please see attachment of picture rto prove the
 officers as well as other defendants was infact on a active lawsuit prior to this one when the attack
 happen.




                        SECTION 3
 WHEREFORE, THE PLAINTIFF RESPECTFULLY REQUESTS
 THE FOLLOWING RELIEF: Amended
         Relief Demanded:
          1) The plaintiff pray of the following relief of maximum allowable by law
         for personal injury relief,


         2) The plaintiff pray of the following relief of All persons and officers
         involved in the arrest be on leave without pay while being investigated
         by the courts The person that did the hit and run then hide at Honda
         dealer ship and arrest the white truck man for this issue then arrest
         warrants shall be issued by law



         3) The plaintiff pray of the following relief of formal public apology on all
         news outlets and social media possible for the wrongfully done arrest
         by all parties. Furthermore, it's to be noted that by law

         4) The plaintiff pray of the following relief of The maximum allowable by
         law of personal Property Damage by law

         5) The plaintiff pray of the following relief of The maximum allowable by
         law of defamation of character by lawy


         6) The plaintiff pray of the following relief of Maximum allowable by law
         of emotional, physical, mental stress by law
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       7) The plaintiff pray of the following relief of an awarded of
       compensatory damages in the amount shown according of proof by law

       8) The plaintiff pray of the following relief of such further and other relief
       as this court deems just and proper by law

       9) The plaintiff pray of the following relief of of punitive Damages by law


       10) The plaintiff pray of the following relief of under FBI/BIA to Arrest the
       officers that allowed the hit and run hate crime and as well as 42 usc
       1983 and police brutality by law


       11) The plaintiff pray of the following relief of that all lawyer that are
       involved in this case that are covering up government corruption be
       reported and stripped of there bar associations licenses under
       malpractice of untruth and perjury to allow such crime to happen by law

       12) The plaintiff pray of the following relief of mental abuse for she
       suffers now living in fear of officers going to kill her due to her disability
       bylaw

       13) The plaintiff pray of the following relief of all defendants by judges
       orders go into special training and work close to the Nebraska deaf and
       hard of hearing commission and then take ASL classes as well as live 6
       months as deaf and communicate to live in the footsteps of the plaintiff
       life by law


       14) The plaintiff pray of the following relief of to pay all medical costs of
       there reason ability and any full recovery needs met by the court by law
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       15) The plaintiff pray of the following relief of to arrest officer haggis in
       official capacity Officer D. Bafaro in official capacity LT Howard Banks in official
      capacity, LT Howard Banks in official capacity Sargent McDaniel in official capacity
      Correstion officer Sargent Banks by law


      16) The plaintiff pray of the following relief to have proper justice by a
      judge to see that the ada laws apply to this case knowing and willing to
      fair hearing and trial by law


      17) The plaintiff pray of the following relief for help of trauma therapy for
      the plaintiff by law


       18) The plaintiff pray of the following relief of to pay of loss wages while
       haven to miss work of all three jobs and loss of clients by law


       19) The plaintiff pray of the following relief on the Honda cars of
       Bellevue to take full reasonability due to the policy regulations and
       employee handbook code of there employee while they are on the clock
       as well as hand over the employee to the police that ran her off the road
       hit and run and false reported to police and terminate the employees
       that defamation of charter misgender hate crime and slander her on
       Face book while on company tim'e by law


       20) The plaintiff pray of the following relief from the defendant Auto Body
       authority towing and impound INC in qfficial capacity of illegal towing that is
       not authorized by owner consent as well as she has a handicap placard
       to where she was parked all damage done by not disengagement of
       auto theft system brake booster that had to all be replaced plus rental
       car reimbursement from enterprise as well as rental fee of illegal
       position of taken the car without owner consent as well as
       reimbursement of fees plaintiff had to pay for illegal action as they was
       acting in full capacity as officer contract. By law
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      21) The plaintiff pray of the following relief civil rights violations by law


      22) The plaintiff pray of the following relief human rights violations by
      law


      23) The plaintiff pray of the following relief LGBTQA rights violation by
      law


      24) The plaintiff pray of the following relief state laws violation Ada law
      interpret violations by law


      25) The plaintiff pray of the following relief federal laws ADA rights
      violated for interpret by law


      26) The plaintiff pray of the following relief of malpractice denial of
      medical assts by law


      27) The plaintiff pray of the following relief FIOA request non
      compliance by law


      28) The plaintiff pray of the following relief sexual assault PREA LGBTQA
      law violation by law


      29) The plaintiff pray of the following relief HEPPA Law violations by law


      30) The plaintiff pray of the following relief invasion of privacy by law


      31) The plaintiff pray of the following relief by law


       32) The plaintiff pray of the following relief tampering, intimidation,
       retaliation, discrimination, bias, hate, sex, gardener, disability and ethic
       code laws violated by law
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         33) The plaintiff pray of the following relief police perjury maximum by
         law



         34) The plaintiff pray of the following relief police brutality maximum by
         law


         35) The plaintiff pray of the following relief taken away accommodations
         hearing devices ADA requirement by law


         36) The plaintiff pray of the following relief take all information down off
         the internet of the plaintiff by law


         37) The plaintiff pray of the following relief to hand over all defendants
         to the FBI/ BIA for proper jurisdiction arrest




          Section 4 exhibits as well for all
 Witness, documents, recordings
    1.   Dr Figgy
    2.   Dr pond
    3.   Dr krysty newmyer
    4.   All CHI medical records that i will attach to this complaint to show proof
    5. All UNM medical records that i will attach to this complaint to show proof
    6. tire plus are w!lling to testify that i was not resisitign and being beaten includin the
        manager and 6 other that was there on 4-30-2024
    7. employees of Honda the posted the Face book and pictures
    8. Makaestin downing boyfriend
    9. Unit 187 4 videosrecordings and audio
    1O. Video and audio recording of the police body camera as well as UNM Emergency
         room camera how officers refused to let MS Yukie sign laungue the interpret
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    11. The tow yard Video and pictures to show proof the Kia Was illegal token there by
        officers Haggis
    12. Correction officers of Sa pry county
    13.ASL interpretJermery3436 UMN
    14. All doctors At Bellevue emergency room

 All fire department and emt of Bellevue to Boyer, Tyler Firefighter Brittain, Mitch
 Firefighter Cieslik, John
 Firefighter Day, Jeffrey
 Firefighter Doran, Kyle
 Firefighter Doyle, Michael
 Firefighter Duckwort, Phillip
 Firefighter Fisher, Adam
 Firefighter Foster, Jordon
 Firefighter Fouts, Cody
 Firefighter Guido, Giavonni
 Firefighter Guido, Salvatore
 Firefighter Hansen, Joshua
 Firefighter Harris, Adam
 Firefighter Hoins, Gabriel
 Firefighter Hubbard, Grant
 Firefighter Hurd, Travid
 Firefighter Jobe, Chris
 Firefighter Kallhoff, Bandon
 Firefighter Lee, George
 Firefighter Lessig, John
 Firefighter Lomax, Andy
 Firefighter Mainelli, Aaron
 Firefighter Matthies, Grant
 Firefighter Maw, Dustin
 Firefighter McDonnell, Connor
 Firefighter Newquist, Randy
 Firefighter O'Brien, Ty
 Firefighter Pechar, Jordan
 Firefighter Petersen, Chuck
 Firefighter Peterson, Joshua
 Firefighter Pineta, Arnoldo
 Firefighterr Richardson, Brendon
 Firefighter Robinson, Jim
 Firefighter Robison, Jeff
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 Firefighter Sanders, Keith
 Firefighter Schenck, Nathan
 Firefighter Schliep, Trevis
 Firefighter Sempeck, Jacob
 Firefighter Simon, Nicholas
 Firefighter Smith, Dalton
 Firefighter Spencer, Aaron
 Firefighter Wilkinson, Tyler
 Firefighter Ceballo, Max
 Captain Engelman, Evan
 Captain Fowler, Travis
 Captain Gibilisco, Anthony
 Captain Herting, Russ
 Captain Johnson, Zane
 Captain Martin, Adolph
 Captain Nawrocki, Troy
 Captain Rogers,Anthony
 Captain Strachota, Kurt
 Captain Zink, Jeremy
     15. All Videos and audio of officer's body cameras units of Bellevue police
    16. 911 Sarpy County dispatch over 4 yearlong calling and asking to asst or give
        updated on car wrecks or more phone number4028501498/3252121891/402-941-
        4949/402-673-6516
    17. The congress of Nebraska testify about assaulting a disabled person
    18. Jim Pillen governor of Nebraska their diversity of protecting the disabled people and
        policy or anit government corruption
    19. Mayor of papillon about the policy on disabled people
    20. Mayor of Bellevue law and policy on disabled people
    21. United states president Joe Biden how he passed a law to protect against anti-
        government corruption, police misconduct as well as stop hate crime
    22. CEO owner Relliott community emergency respond team Sasuke Crawford
    23. Dates of different police units of Bellevue police department
    24. Dats and videos of Sarpy County units 2 years long
    25. Dougals county 911 dispatch over 5 years long see section 18 for numbers
    26. Omaha police department police units' recordings over 5 years long
    27. Sisseton lake travers all Tribe council that voted yes on hate crime and other that
        will testify on may 29, 2024
    28. Lt Avary Jenson
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    29. Attached Tort Claim Complaints that they refused to acknowledge or investigate on
       my behalf. That has passed over 6 months of the wait time
    30. Letter from the ADA of department of justice and state general attorney office
    31.Jermy Omaha office Of Nebraska commission Deaf and hard of hearing
    32. Ashley Omaha office Of Nebraska commission Deaf and hard of hearing
    33. Judicial ADA Office for interpreters Pam D,
    34. Please see the picture below that will show what the officers are supposed to follow
       as they are sworn in


 Exhibits of proof of pictures

                                        NEBRASKA LAW ENFORCEMENT OFFICER
                                                 CODE OF ETI-tlCS


            As a tav, enforcemen l o f ficer . nly fundamental duty ,s 10 serve tho con1muntty . to safeguard lives
            and prop rty to protect the innocent against doceµllon 1he w ak against oppression or
            1nt1m1dat1on ond the pe.:lcetuf against v,otence or disorder . and to respec t the Const1tut1ona1
            rights of all to hbeny equahty and 1us1ice         t recogn1J'e the badge o f n1y office r1s a symbol of
            public ra, t h . and I accept It as a pubhc ttus t to be hold so long as I am t rue to l he ethics or law
            en force1nent serv,ce      I n furtherance o f these duhes I hereby adoi,t and accept t he f0Uow1ng
            code o f conduct

                     f shall conduct ,nyself at all hfTtes , n a manner that does not damage or have the ltkely
                     result of damagi ng o r bnng1ng the public 1m.1ge . ,ntegnty. or reputation o f rny anency or
                     nlyseU int o d i scr edi t or d1srespee1

                     t shall not possess or consun,e atcohohc bevori'lges on duty o r while ,n uniform o n duty
                     or off duty except as expre.ssly required tor t he la,vful oerformance o f rny dut ies Nor
                     sh-111 t unlawfully possess sett consurne us .. or assist 1n the use of any illegal or
                     unal,thorized drugs or medications on duty or off duty

                     I shr11II not engag 1n a ,,y dlegnl or unlawful horassment or 1nttn11dat1on of another nor
                     shalt I pemilt personal Pf'8Jud,ces Poh11ca1 b liofs an1mos111 s or friendships to influen ce
                     niy deos1ons

                    I shc1II nol lie. give f alse tes ttmony. give m1slead1ng 1nfom,a11on or falsify wn tt on or ve rbaf
                    conunu rucat ,ons 11, o ff,c,al repOf"ts or 1n my actions wi th another person or mgan12at,on
                    when ,t ,s reasonable to expec t that such 1nfounat1on may be retied upon bocause of my
                    POSilton o r aff1hat1on with n1y ayency

                    I shall w ill fully observe and obey the la,vful verbal and written rules . duti es . policies
                    p r ocedu r es. and prach ces o f n1y agency           I shall also subor d i nat e niy per son al
                    pre ferences and work pnon lles to 1he tawful verbal and wr,ttcn rules . duties pohc1es
                    procedur es and practices of m          agency    t shall v1UfuJly pef'form all Ja\Yful du11es and
                    tasks assigned b          supervtsory and or superior-ranked personnel             Direct : ac1t or
                    construc t,ve re f usa l to do so 1s 1nsubord1nat1on

                    I shall obey the conslltutionat cn n11nal and c1v1l laws of t he c ity . coun t y state . and
                    feaern l governmen t  I w ,11 nov r engage ,n acts of corruption or bribery nor ""'II l
                    c ondone such acts b other law enforcement officers

            I certif y thnt I have read the above law enfor cement o ff i cer code o 1 conduct I 1nd1        te that I am
            full y a w a r e o f each section o f lhe codo nnd by s1gn1ng below 1n d ,c.., t e tha t t agree 10 abide by
            l he code o f co n duct

            Print Name _ __ __ _ _ _ __ __ _ _ _ __ __ _ __


            Signa t ure _ _ __ _ _ __ _ __ _ __ _ _ __ _ __ _ _ __ _


            Notary _ _ _ _ __ _ __ _ _ __ _ __ _ _ __ _ _ _ __ __ _                     Date _ __ __ _ __ _ _
                                                        (Seal)
            TC - 9 11                                                                                   03/202 1
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  PSA: White Kia Sorento driving around trying to pull people
  over and impersonating a cop. My coworker was smart and
  actually called 911 to report him. The Kia followed him from
  the Chandler exit to work. Good job by the Bellevue police
  department finding the guy and getting him ott the streets.          ,..,..   H11.                     Con 11 <Pt         \.-)   cl   nd

  Edit: Kia is blocked by the fire truck.
                                                                     ·• •       You and 105 others

                                                                   Most recent          v


                                                                                Yukie Soto-Elliott
                                                                                This whole statement is not true

                                                                                                  the real truth is posted with the
                                                                                white truck information and the real truth the
                                                                                owner is not in jail and gots the company car
                                                                                back she is filed a complaint on the officers as
                                                                                well as she w ill be filled deflation of charter she
                                                                                will be upload her unit car to show the proof of
                                                                                this guy attack her and throwing things at her car
                                                                                and causing almost a car wreck



                                                                                Kelli Kubacak Eagen
                                                                                Very scary! Especially for young drivers who may
                                                                                not realize it's not an actual cop .



                                                                                Shawn M Jackson
                                                                                What is the p ie supposed to show? There's
                                                                                definitely no White Kia Sorrento in it .



                                                                                       Caitlin Staub


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                                                                    Top contributor
                                                                    What the heck!



                                                                    Will Gumm
                                                                    Top contributor
                                                                    Good job all around.
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                                                                             L kc          Reply
       Jackie Grant
       Great job BPD !!                                             Stu Trotter
                                                                    Top contributor
                                                                    Good job

  'c   Joe Blackstad
       Top contributor
       Wtaf
              L1k~     Reply


       Sydney Snider                                                         L ,c          Reply
       Top contributor
                           whaaaat                                  Stephania Clapper
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       Lori Lynn Schwartman
       Top contributor
       What the heck!



       Will Gumm
       Top contributor
       Good job all around.
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  PSA: White Kia Sorento driving around trying to pull people
  over and impersonating a cop. My coworker was smart and
  actually called 911 to report him. The Kia followed him from
  the Chandler exit to work. Good job by the Bellevue police
  department finding the guy and getting him otf the streets.
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                                                                             Yukie Soto-Elliott
                                                                             This whole statement is not true

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                                                                             will be upload her unit car to show the proof of
                                                                             this guy attack her and throwing things at her car
                                                                             and causing almost a car wreck



                                                                             Kelli Kubacak Eagen
                                                                             Very scary! Especially for young drivers who may
                                                                             not realize it's not an actual cop .



                                                                             Shawn M Jackson
                                                                             What is the pie supposed to show? There's
                                                                             definitely no White Kia Sorrento in it.



                                                                                     Caitlin Staub
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                                                                  Lori Lynn Schwartman
                                                                  Top contributor
                                                                  What the heck!



                                                                  Will Gumm
                                                                  Top contributor
                                                                  Good job all around.
               Like    Reply


        Jackie Grant
        Great job BPD !!                                          Stu Trotter
                                                                  Top contributor
               L,k.    R,    I
                                                                  Good job

  ~-    Joe Blackstad
        Top contributor
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                                                                                     In a Kia though? Did they really think people
  Most recent v                                                                      We're going to fall for that?! •
                                                                                     People are just so unhinged anymore W
           Yukie Soto-Elliott
                                                                                            LI

           This whole statement is not true
                                                                                     Angel Flores
                            the real truth is posted with the                         Wtf
           white truck information and the real truth the                                    .,,              Rep y
           owner is not in jail and gots the company car
           back she is filed a complaint on the officers as                           Berenice Laura Zambrano Mersch
           well as she will be filled deflation of charter she                        Top contributor

           will be upload her unit car to show the proof of                           Why a fire truck and an ambulance though?
           this guy attack her and throwing things at her car                                    -   t:       n:t.µ y

           and causing almost a car wreck
                                                                                             Caitlin Staub
            l,                                                                                                                      he might
                                                                                             have needed medical attention          not sure.
           Kelli Kubacak Eagen
           Very scary! Especially for young drivers who may
           not realize it's not an actual cop.                                       t; Jake Palen
                                                                                             Top contributor
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       "   Shawn M Jackson
           What is the pie supposed to show? There's
           definitely no White Kia Sorrento in it.
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                   Caitlin Staub                                                             California to call 911.
                                                                                                          L    t      P\   '/



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 The Defendants is Nebraska, and their mailing address is last known to be location is and
 can be serviced by the FBI, BIA, U.S Marshall, Sheriff's department, Certified mail USPS,
 Privet Service. Or be served by the courts sheriff department




            1. Dvorak law group LLC C/O 9500 west dodge road ste 100 Omaha Ne 68114
                City of Bellevue in official capacity Bellevue police department in official
                capacity, Aimee C Bataillon in official capacity and city of Bellevue law firm
                office Bellevue Officer J Haggis in official capacity Officer D. Bafaro in official
                capacity LT Howard Banks in official capacity, LT Howard Banks in official
                capacity Sargent McDaniel in official capacity
            2. Papillion Police Department in official capacity & Nebraska county attorney
                office Sarpy County Jail in official capacity, 21 o golden Gate drive #1420
                Papillion NE 68046
            3. Bertolini Schroeder & blount 1620 wilshire drive suite 250 bellevue NE 68005
                C/O Auto Body authority towing and impound INC in official capacity
            4. Gross welch marks clare pc llc 2120 south 72 nd st ste 1500 omaha Ne 68124
                C/O Honda cars of Bellevue



  I declare under penalty of perjury that the foregoing is true and the correct to the best of my
  ability: I, the plaintiff, do require reasonable accommodation. Closed Captions
  in Japanese seem to be best doable by the courts but if the courts can find an
  interpreter using Japanese or Native Sign Language or American sign interpret
  is preferred. AS WELL THE ADA LAWS OF HAVE A DISABLE PERSON IN COURT
  AND THIS CASE THE PLANITIFF NEEDS TO REMIND ALL PARTIES THE LAWS
  ARE DIFFERENT AND BY Accommodation of judication codes they plaintiffs
  rights shall be protected as well as her classified address under the
  INDONESIA witness protection federal law to keep the plaintiff safe from all
  the defendants including the one that hit and ran her off the road that works at
  the Honda cars of Bellevue the lied to the cops

         I declare under penalty of perjury, that the foregoing is true and correct
         to the best of my abilities:
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 Date this is September 3rd 202
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  u re Soto-Elliott

 Po Box 641503

 Omaha NE, 68164

 402-850-1498

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